Case 23-11131-TMH   Doc 75-1   Filed 08/14/23   Page 1 of 107




                        Exhibit A

                         Motion
                CaseCase
                     23-11131-TMH
                         23-11131 Doc
                                   Doc19
                                       75-1Filed
                                               Filed
                                                  08/10/23
                                                     08/14/23Page
                                                               Page
                                                                  1 of242
                                                                        of 107




                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


In re:                                                                     Chapter 11

AMYRIS, INC., et al.,                                                      Case No. 23-11131

                                      Debtors.1                            (Joint Administration Requested)


           MOTION OF THE DEBTORS FOR INTERIM AND FINAL ORDERS (I)
     AUTHORIZING DEBTORS (A) TO OBTAIN POSTPETITION FINANCING AND (B)
    TO UTILIZE CASH COLLATERAL, (II) GRANTING ADEQUATE PROTECTION TO
     PREPETITION SECURED PARTIES, (III) MODIFYING THE AUTOMATIC STAY,
     (IV) SCHEDULING A FINAL HEARING, AND (V) GRANTING RELATED RELIEF

           Amyris, Inc. (“Amyris”) and its affiliated and related above-captioned debtors and debtors

in possession (collectively, the “Debtors” or the “Company”) hereby file this postpetition financing

motion (the “DIP Motion”). In support of the DIP Motion, the Debtors submit (i) the Declaration

of Han Kieftenbeld in Support of the Debtors’ Chapter 11 Petitions and First Day Relief (the “First

Day Declaration”),2 (ii) the Declaration of Lorie Beers in Support of the Motion of the Debtors for

Interim and Final Orders (I) Authorizing Debtors (A) to Obtain Postpetition Financing and (B) to

Utilize Cash Collateral, (II) Granting Adequate Protection to Prepetition Secured Parties, (III)

Modifying the Automatic Stay, (IV) Scheduling a Final Hearing, and (V) Granting Related Relief

(the “Beers Declaration”), and (iii) the Declaration of Steve Fleming in Support of the Motion of

the Debtors for Interim and Final Orders (I) Authorizing Debtors (A) to Obtain Postpetition

Financing and (B) to Utilize Cash Collateral, (II) Granting Adequate Protection to Prepetition

Secured Parties, (III) Modifying the Automatic Stay, (IV) Scheduling a Final Hearing, and (V)


1
  A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
proposed claims and noticing agent at https://cases.stretto.com/amyris. The location of Debtor Amyris Inc.’s principal
place of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street, Suite 100,
Emeryville, CA 94608.
2
    Capitalized terms used but not defined herein shall have the meanings set forth in the Debtors’ First Day Declaration.


178150.2 DOCS_NY:48137.7 03703/001
              CaseCase
                   23-11131-TMH
                       23-11131 Doc
                                 Doc19
                                     75-1Filed
                                             Filed
                                                08/10/23
                                                   08/14/23Page
                                                             Page
                                                                2 of342
                                                                      of 107




Granting Related Relief (the “Fleming Declaration”) filed concurrently herewith and incorporated

herein by reference. In further support of this DIP Motion, the Debtors respectfully represent as

follows:

                               I. SUMMARY OF RELIEF REQUESTED

                 1.         The Debtors seek entry of interim and Final orders, substantially in the form

of the Interim Order attached hereto as Exhibit 1 and a Final order to be submitted at a later date

(respectively, the “Interim Order” and “Final Order” and collectively, the “DIP Orders”):

             (i)        authorizing the Debtors to obtain senior secured postpetition financing on a
superpriority basis (the “DIP Financing”) in an aggregate principal amount of up to $190 million
(the “DIP Loans”) pursuant to the terms and conditions of that certain Senior Secured
Superpriority Debtor in Possession Financing Agreement attached as Exhibit A to the proposed
Interim Order (as the same may be amended, supplemented, restated or otherwise modified from
time to time, the “DIP Credit Agreement”), by and among Debtors (i) Amyris, Inc., Amyris Clean
Beauty, Inc., and Aprinnova, LLC (the “Borrowers”) and the affiliated Debtors and designated
non-Debtor subsidiaries as guarantors (the “Guarantors”) and (ii) and Euagore, LLC (together with
the other lenders from time to time party thereto, the “DIP Lenders”), and Euagore, LLC, as
Administrative Agent (the “DIP Agent” and, together with the DIP Lenders, the “DIP Secured
Parties”).

            (ii)      authorizing the Debtors to execute the DIP Credit Agreement and the other
documents, agreements and instruments delivered pursuant thereto or executed or filed in
connection therewith, all as may be reasonably requested by the DIP Lenders (as the same may be
amended, restated, supplemented or otherwise modified from time to time, and collectively with
the DIP Credit Agreement, the “DIP Documents”);

          (iii)    authorizing the Debtors to consummate the transactions contemplated by
the DIP Documents;

            (iv)       granting to the DIP Lenders the DIP Liens (as defined below) on all of the
DIP Collateral (as defined below) to secure the DIP Facility and all obligations owing and
outstanding under the DIP Documents, and the Interim Order and any Final Order, as applicable
(collectively, the “DIP Obligations”), subject only to prior payment of the Carve-Out (as defined
below);

            (v)        granting superpriority claims pursuant to section 364(c)(1) of the
Bankruptcy Code to the DIP Lenders as well as liens pursuant to section 364(d) of the Bankruptcy
Code, as further described herein, on all prepetition and postpetition property of the Debtors’ estate
and all proceeds thereof (each as defined below));




                                                      2
DOCS_NY:48137.7 03703/001
              CaseCase
                   23-11131-TMH
                       23-11131 Doc
                                 Doc19
                                     75-1Filed
                                             Filed
                                                08/10/23
                                                   08/14/23Page
                                                             Page
                                                                3 of442
                                                                      of 107




         (vi)      authorizing the Debtors to use Prepetition Collateral and Cash Collateral
(each as defined below) (together with the DIP Facility, the “Postpetition Financing
Arrangement”);

          (vii)             authorizing the Debtors to grant adequate protection to the DIP Lenders (as
defined below);

         (viii)      scheduling a hearing (the “Final Hearing”), pursuant to Rule 4001(c)(2) of
the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), to consider entry of the
Final Order; and

             (ix)           granting such other and further relief as this Court deems necessary and just.

                                   II. JURISDICTION AND VENUE

                    2.      The Court has jurisdiction to consider this matter pursuant to 28 U.S.C.

§§ 157 and 1334, and the Amended Standing Order of Reference from the United States District

Court for the District of Delaware, dated February 29, 2012. This is a core proceeding pursuant

to 28 U.S.C. § 157(b). Pursuant to Rule 9013–1(f) of the Local Rules of Bankruptcy Practice and

Procedure of the United States Bankruptcy Court for the District of Delaware (the “Local Rules”),

the Debtors consent to the entry of a Final order by the Court in connection with this matter to the

extent that it is later determined that the Court, absent consent of the parties, cannot enter Final

orders or judgments consistent with Article III of the United States Constitution.

                    3.      Venue is proper before the Court pursuant to 28 U.S.C. §§ 1408 and 1409.

                    4.      The statutory basis for the relief requested herein are sections 105, 361, 362,

363, 364(c)(1), 364(c)(2), 364(c)(3), 364(d)(1), 507 and 552 of Title 11 of the United States Code

(the “Bankruptcy Code”), Rules 2002, 4001, 6003, 6004 and 9013 of the Federal Rules of

Bankruptcy Procedures (the “Bankruptcy Rules”), and Local Rules 4001-2, 9006-1, and 9013.




                                                       3
DOCS_NY:48137.7 03703/001
              CaseCase
                   23-11131-TMH
                       23-11131 Doc
                                 Doc19
                                     75-1Filed
                                             Filed
                                                08/10/23
                                                   08/14/23Page
                                                             Page
                                                                4 of542
                                                                      of 107




                                          III. BACKGROUND

A.      General Background

                 5.         On the date hereof (the “Petition Date”), the Debtors filed voluntary

petitions for relief under chapter 11 of the Bankruptcy Code. The Debtors continue to manage and

operate their businesses as debtors in possession pursuant to sections 1107(a) and 1108 of the

Bankruptcy Code. As of the date of this DIP Motion, no official committee, trustee or examiner

has been appointed in these chapter 11 cases (the “Chapter 11 Cases”).

                 6.         Amyris was founded in 2003 to create a more stable supply of a key anti-

malarial treatment. Through Amyris’ cutting-edge science, artemisinin—the most effective anti-

malarial drug in the world—is now consistently available to treat the deadly disease. Using the

same technological innovations that produced artemesin, Amyris has become the world’s leading

manufacturer of ingredients made with synthetic biology.               Amyris provides sustainable

ingredients that are eco-friendly alternatives to raw material sourced for flavors and fragrances,

sweeteners, cosmetics, pharmaceuticals, and other consumer products.

                 7.         In addition, Amyris operates a family of consumer brands that utilize the

Company’s ingredients to meet the growing demand for sustainable, effective, and accessible

products, including Biossance® (clean beauty skincare), JVN™ (haircare), Rose Inc.™ (clean

color cosmetics), Pipette® (clean baby skincare), OLIKA™ (clean wellness), MenoLabs™

(healthy living and menopause wellness), Stripes™ (menopausal wellness), and 4U by Tia™ (a

new clean haircare line).

                 8.         Through these Chapter 11 Cases, the Debtors seek to implement both an

operational and balance sheet restructuring, address liquidity challenges, and preserve and

maximize value for all stakeholders. In doing so, the Debtors expect to centralize their going-



                                                    4
DOCS_NY:48137.7 03703/001
              CaseCase
                   23-11131-TMH
                       23-11131 Doc
                                 Doc19
                                     75-1Filed
                                             Filed
                                                08/10/23
                                                   08/14/23Page
                                                             Page
                                                                5 of642
                                                                      of 107




forward operations on their core business: developing molecules, manufacturing them at scale, and

commercializing them with partners who are leaders in their markets. Accordingly, the Debtors

plan to exit certain of their consumer brands businesses, with a view to have these brands continue

under new ownership while still leveraging Amyris’s cutting-edge science and technology.

Euagore, LLC, an entity affiliated with Foris Ventures, LLC (“Foris”), has agreed to provide $190

million in debtor-in-possession financing to fund the administration of these Chapter 11 Cases

through the end of 2023. During the initial weeks of these Chapter 11 Cases, the Debtors will

focus on negotiating a consensual restructuring with their key stakeholders. However, given the

Company’s substantial cash burn, if the terms of a consensual restructuring cannot be agreed upon

within the next thirty-five days, the proposed DIP financing contemplates that the Debtors will

promptly seek to sell all or substantially all of their assets as a going concern through these Chapter

11 Cases.

                 9.         Additional information regarding the Debtors’ organizational structure,

business operations, historical revenues and liabilities, and a description of the events precipitating

the filing of the Chapter 11 Cases, is set forth in the First Day Declaration.

B.      Prepetition Secured Debt

        (1)      Foris

                 10.        Pursuant to those certain (i) Amended and Restated Loan and Security

Agreement by and among Amyris, Inc. (“Amyris”), as borrower, Amyris Clean Beauty, Inc.

(“Clean Beauty”), Amyris Fuels, LLC (“Amyris Fuels”), and AB Technologies LLC, as guarantors

(“AB Technologies,” and together with Clean Beauty and Amyris Fuels, the “Subsidiary

Guarantors” or “Subsidiary Grantors,” as applicable herein), and Foris Ventures, LLC (“Foris”),

as lender, dated as of October 28, 2019, as amended by that certain Omnibus Amendment



                                                    5
DOCS_NY:48137.7 03703/001
              CaseCase
                   23-11131-TMH
                       23-11131 Doc
                                 Doc19
                                     75-1Filed
                                             Filed
                                                08/10/23
                                                   08/14/23Page
                                                             Page
                                                                6 of742
                                                                      of 107




Agreement, dated as of June 5, 2023, and as further amended, restated, supplemented or otherwise

modified from time to time, (ii) Amended and Restated Loan and Security Agreement by and

among Amyris, as borrower, the Subsidiary Guarantors, as guarantors, and Foris, as lender, dated

as of September 27, 2022, as amended by that certain Omnibus Amendment Agreement, dated as

of June 5, 2023, and as further amended, restated, supplemented or otherwise modified from time

to time, (iii) Bridge Loan and Security Agreement by and among Amyris, as borrower, the

Subsidiary Guarantors, as guarantors, and Perrara Ventures, LLC (“Perrara”), as lender, dated as

of March 10, 2023, as amended by that certain Omnibus Amendment Agreement, dated as of June

5, 2023, and as further amended, restated, supplemented or otherwise modified from time to time,

(iv) Loan and Security Agreement by and among Amyris, as borrower, the Subsidiary Guarantors,

as guarantors, and Anesma Group, LLC (“Anesma”), as lender, dated as of June 5, 2023, (v) Loan

and Security Agreement by and among Amyris, as borrower, the Subsidiary Guarantors, as

guarantor, and Anjo Ventures, LLC (“Anjo”), as lender, dated June 29, 2023, and (vi) Loan and

Security Agreement by and among Amyris, as borrower, the Subsidiary Guarantors, as guarantors,

and Muirisc, LLC (“Muirisc”), and lender, dated as of August 2, 2023 (all of the foregoing as

further amended, supplemented, amended and restated, or otherwise modified prior to the Petition

Date, the “Foris Prepetition Secured Loans,” and collectively with any other agreements and

documents executed or delivered in connection with the Foris Prepetition Secured Loans, including

the Security Agreements (as defined herein), the “Foris Prepetition Secured Loan Agreements”),

and Foris, Perrara, Anesma, Anjo, and Muirisc (collectively, the “Foris Prepetition Secured

Lenders”), provided prepetition term loans to the Company.

                 11.        As of the Petition Date, the aggregate principal amount outstanding under

the Foris Prepetition Secured Loan Agreements is at least $295,000,000 (plus accrued and unpaid



                                                     6
DOCS_NY:48137.7 03703/001
              CaseCase
                   23-11131-TMH
                       23-11131 Doc
                                 Doc19
                                     75-1Filed
                                             Filed
                                                08/10/23
                                                   08/14/23Page
                                                             Page
                                                                7 of842
                                                                      of 107




nondefault interest, additional fees, costs, expenses, and other obligations as provided under the

Foris Prepetition Secured Loan Agreements) (collectively, the “Foris Prepetition Obligations”),

which Foris Prepetition Obligations have been guaranteed on a joint and several basis by each of

the Subsidiary Guarantors.

                 12.        In connection with the Foris Secured Prepetition Loan Agreements, Amyris

and the Subsidiary Guarantors, as applicable, entered into those certain (i) Security Agreement, by

and between Amyris, the Subsidiary Grantors, and Foris, dated as of September 27, 2022; (ii)

Security Agreement, by and between Amyris, the Subsidiary Grantors, and Perrara, dated as of

March 10, 2023; (iii) Patent Security Agreement, by and between Amyris, the Subsidiary Grantors,

and Foris, dated as of June 5, 2023; (iv) Trademark Security Agreement, by and between Amyris,

the Subsidiary Grantors, and Foris, dated as of June 5, 2023; (v) Security Agreement, by and

between Amyris, the Subsidiary Grantors, and Anesma, dated as of June 5, 2023; (vi) Patent

Security Agreement, by and between Amyris, the Subsidiary Grantors, and Anesma, dated as of

June 5, 2023; (vii) Trademark Security Agreement, by and between Amyris, the Subsidiary

Grantors, and Anesma, dated as of June 5, 2023; (viii) Patent Security Agreement by and between

Amyris, the Subsidiary Grantors, and Perrara, dated as of June 5, 2023; (ix) Trademark Security

Agreement by and between Amyris, the Subsidiary Grantors, and Perrara, dated as of June 5, 2023;

(x) Security Agreement by and between Amyris, the Subsidiary Grantors, and Anjo dated as of

June 29, 2023; (xi) Patent Security Agreement, by and between Amyris, the Subsidiary Grantors,

and Anjo, dated as of June 29, 2023; (xii) Trademark Security Agreement, by and between Amyris,

the Subsidiary Grantors, and Anjo, dated as of June 29, 2023; (xiii) Security Agreement by and

between Amyris, the Subsidiary Grantors, and Muirisc, dated as of August 2, 2023; (xiv)

Trademark Security Agreement, by and between Amyris, the Subsidiary Grantors, and Muirisc,



                                                    7
DOCS_NY:48137.7 03703/001
              CaseCase
                   23-11131-TMH
                       23-11131 Doc
                                 Doc19
                                     75-1Filed
                                             Filed
                                                08/10/23
                                                   08/14/23Page
                                                             Page
                                                                8 of942
                                                                      of 107




dated as of August 2, 2023; (xv) Patent Security Agreement, by and between Amyris, the

Subsidiary Grantors, and Muirisc, dated as of August 2, 2023; and (xvi) Copyright Security

Agreement, by and between Amyris, the Subsidiary Grantors, and Muirisc, dated as of August 2,

2023 (all of the foregoing as further amended, supplemented, amended and restated, or otherwise

modified from time to time, the “Security Agreements”). Pursuant to the Foris Prepetition Secured

Loan Agreements, the Foris Prepetition Obligations are secured by valid, binding, perfected first

priority security interests in and liens (the “Foris Liens”) on the “Collateral,” as defined in the

Security Agreements (the “Prepetition Collateral”).

                 13.        Any and all of the Debtors’ cash, including the Debtors’ cash and other

amounts on deposit or maintained in any account or accounts by the Debtors, including any

amounts generated by the collection of accounts receivable or other disposition of the Prepetition

Collateral existing as of the Petition Date, and the proceeds of any of the foregoing is the Foris

Prepetition Secured Lenders’ cash collateral within the meaning of section 363(a) of the

Bankruptcy Code (the “Cash Collateral”).

        (2)      DSM Finance B.V.

                 14.        Amyris, Inc., is the borrower under that certain Loan and Security

Agreement dated as of October 11, 2022, as amended and restated by that certain Amendment and

Restatement Agreement dated as of December 12, 2022 (as further amended, restated,

supplemented or otherwise modified from time to time, the “DSM LSA”), by and among Amyris,

Inc., certain subsidiaries thereof as guarantors, and DSM Finance B.V. (“DSM BV”), pursuant to

which the Company obtained, among other financial accommodations, term loans in three tranches

consisting of Tranche 1 with principal obligations of $50,000,000, Tranche 2 with principal

obligations of $25,000,000, and Tranche 3 with principal obligations of $25,000,000. As of the



                                                    8
DOCS_NY:48137.7 03703/001
             CaseCase
                  23-11131-TMH
                      23-11131 Doc
                               Doc19
                                   75-1Filed
                                          Filed
                                             08/10/23
                                                08/14/23Page
                                                          Page
                                                             9 of
                                                                1042
                                                                   of 107




Petition Date, the aggregate outstanding principal amount of Tranches 1 and 2 is approximately

$45 million and the aggregate outstanding principal amount of Tranche 3 is approximately $29

million.

                 15.        Pursuant to that certain Security Agreement dated as of October 11, 2022

(as amended, restated, supplemented or otherwise modified from time to time, the “DSM Security

Agreement”), by and among Amyris, Inc., and DSM BV, certain of the Company’s obligations

under the DSM LSA are secured by a lien and security interest in favor of DSM BV in all of

Amyris, Inc.’s rights to any earn-out amounts that may become payable from DSM Nutritional

Products Ltd. to Amyris, Inc., in accordance with Section 3.5 of the Purchase Agreement (as

defined in the DSM Security Agreement) and any and all claims, rights, and interests in any of the

above.

                 16.        Pursuant to that certain Pledge Agreement dated as of December 12, 2022,

by and among Amyris, Inc., and DSM BV, Amyris, Inc., certain of the Company’s obligations

under the DSM LSA are secured by lien and security interest in favor of DSM BV in Amyris,

Inc.’s 69.00% equity interests in Amyris RealSweet, LLC.

                 17.        None of DSM’s collateral or liens (as described above, the “DSM Liens”)

constitute or generate cash collateral within the meaning of section 363(a) of the Bankruptcy Code.

                                   IV. PROPOSED DIP FACILITY

                 18.        As discussed in detail in the First Day Declaration, the Company has

incurred operating losses since its inception, thus requiring a continuing need for equity and debt

capital to sustain operations. Increased operating costs and expenses also burdened the Company.

These factors created a severe liquidity challenge for the Debtors, such that it was necessary for




                                                    9
DOCS_NY:48137.7 03703/001
             CaseCase
                  23-11131-TMH
                      23-11131 Doc
                                Doc19
                                    75-1Filed
                                            Filed
                                               08/10/23
                                                  08/14/23Page
                                                            Page
                                                               10 of
                                                                  1142
                                                                     of 107




the Company to consider a sale of the Company or its assets, a refinancing of its secured debt or

other strategic options, including a chapter 11 bankruptcy filing.

                 19.        The Debtors have filed these Chapter 11 Cases to implement both an

operational and balance sheet restructuring, address liquidity challenges, and preserve and

maximize value. In doing so, the Debtors expect to centralize their going-forward operations on

their core business: developing molecules, manufacturing them at scale, and commercializing them

with partners who are leaders in their markets. Accordingly, the Debtors plan to exit certain of

their consumer brands businesses, with a view to have these brands continue under new ownership

while still leveraging Amyris’s cutting-edge science and technology. During the initial weeks of

these Chapter 11 Cases, the Debtors will focus on negotiating a consensual restructuring with their

key stakeholders.       However, given the Company’s substantial cash burn, if the terms of a

consensual restructuring cannot be agreed upon within the next thirty-five days, the proposed DIP

financing contemplates that the Debtors will promptly seek to sell all or substantially all of their

assets as a going concern through these Chapter 11 Cases.

                 20.        As set forth in the Beers Declaration, Intrepid Investment Bankers LLC

(“Intrepid”) was engaged in July 2023 as investment banker to the Debtors to advise the Debtors

in regard to the Debtors’ capital structure, liquidity needs, and business operations. Following its

engagement, Intrepid, with assistance of the Debtors and their other advisors, considered potential

sources of financing that would provide the liquidity necessary to fund the Debtors’ Chapter 11

Cases. As part of this process, Intrepid solicited proposals for debtor in possession financing by

contacting approximately twenty (20) well-established and experienced third-party financial

institutions and other capital sources. Such parties included lenders that often make loans in

distressed and bankruptcy situations and have the capital necessary to provide adequate financing



                                                   10
DOCS_NY:48137.7 03703/001
             CaseCase
                  23-11131-TMH
                      23-11131 Doc
                                Doc19
                                    75-1Filed
                                            Filed
                                               08/10/23
                                                  08/14/23Page
                                                            Page
                                                               11 of
                                                                  1242
                                                                     of 107




to the Debtors. Of these parties, seven (7) executed non-disclosure agreements and accessed

information available in a data room established by Intrepid for prospective financing purposes.

                  21.       The foregoing efforts did not result in any actionable financing proposals

from any third parties. The Debtors received an offer from an entity affiliated with the Foris

Prepetition Secured Lenders to provide the necessary postpetition financing and authorize the use

of the Foris Prepetition Secured Lenders’ Cash Collateral in order to fund the Debtors’ operations

during these Chapter 11 Cases on a senior secured superpriority basis. As set forth in the Fleming

Declaration, the negotiations with the DIP Secured Parties and the Foris Prepetition Secured

Lenders and their professionals were conducted at arm’s length and in good faith by the Debtors

and their professionals.

                  22.       The proposed DIP Facility and the authorization to use Cash Collateral as

offered by the DIP Secured Parties and the Foris Prepetition Secured Lenders are the best financing

options that the Debtors could obtain. Fully unsecured postpetition financing was not available to

Debtors. Other potential sources of debtor in possession financing for the Debtors, including on a

junior secured basis, were also nonexistent. However, as noted above, the Debtors were able to

obtain (i) financing from the DIP Secured Parties on the terms of the proposed DIP Facility and

(ii) the consent of the Foris Prepetition Secured Lenders’ to use Cash Collateral, all on the terms

set forth herein.

A.       Summary of Essential Terms of DIP Facility

                  23.       In accordance with Bankruptcy Rule 4001(b) and Local Rule 4001-2(a)(i)-

(iii), below is a summary3 of the essential terms of the proposed financing and use of cash collateral

and the location of the same in the proposed Interim Order and/or the DIP Credit Agreement:


3
  The summary and descriptions of the terms and conditions for the proposed financing and use of cash collateral and
the provisions of the proposed Interim Order and the Final Order set forth in this DIP Motion are intended solely for

                                                         11
DOCS_NY:48137.7 03703/001
             CaseCase
                  23-11131-TMH
                      23-11131 Doc
                                Doc19
                                    75-1Filed
                                            Filed
                                               08/10/23
                                                  08/14/23Page
                                                            Page
                                                               12 of
                                                                  1342
                                                                     of 107




a. Debtor/Borrowers:                Amyris, Inc.
                                    Amyris Clean Beauty, Inc.
                                    Aprinnova, LLC

b. Guarantors:                      Debtor Guarantors
                                     AB Technologies LLC
                                     Amyris Fuels, LLC
                                     Amyris-Olika, LLC
                                     Onda Beauty Inc.
                                     Upland 1 LLC

                                    Non-Debtor Guarantors
                                     Amyris Clean Beauty LATAM Ltda.
                                     Interfaces Industria e Comerico de Cosmeticos Ltda.
                                     Amyris Biotechnologia Do Brasil Ltda.
                                     Amyris Europe Trading B.V. (Netherlands)
                                     Amyris Bio Products Portugal Unipessoal, Lda.
                                     Beauty Labs International Limited
                                     Amyris UK Trading Limited
                                     Amyris Eco-Fab LLC
                                     Clean Beauty 4U Holdings, LLC

c. DIP Lenders/DIP Agent: Euagore, LLC (together with the other lenders from time to time
                          party thereto, the “DIP Lenders”), and Euagore, LLC, as
                          Administrative Agent (the “DIP Agent” and, together with the DIP
                          Lenders, the “DIP Secured Parties”)

d. Type:                            A superpriority multiple-draw senior secured term loan facility

e. Maturity/Term. Date:             Unless otherwise agreed to in writing by the DIP Agent in its sole
                                    discretion, all obligations of the Loan Parties under the DIP
                                    Documents, including, without limitation, all principal, accrued
                                    interest, costs, fees and premiums provided for therein (collectively,
                                    the “DIP Obligations”), shall be due and payable in full in cash on
                                    the earlier of:
                                    i.       December 31, 2023 (the “Maturity Date”);
                                    ii.     the effective date (the “Effective Date”) of any chapter 11
                                    plan of reorganization in the Chapter 11 Cases (a “Plan”);

informational purposes to provide the Court and parties in interest with an overview of the significant terms thereof.
The summaries and descriptions are qualified in their entirety by the proposed Interim Order, the Final Order, and the
DIP Documents. In the event there is any conflict between this Motion and the Interim Order, the Final Order, or the
DIP Documents, the Interim Order, the Final Order, and the DIP Documents will control in all respects. Capitalized
Terms used herein that are otherwise undefined shall have the meaning ascribed to them in the DIP Credit
Agreement.

                                                         12
DOCS_NY:48137.7 03703/001
             CaseCase
                  23-11131-TMH
                      23-11131 Doc
                                Doc19
                                    75-1Filed
                                            Filed
                                               08/10/23
                                                  08/14/23Page
                                                            Page
                                                               13 of
                                                                  1442
                                                                     of 107




                            iii.   the date of dismissal of the Chapter 11 Cases or conversion
                            of the Chapter 11 Cases into cases under chapter 7 of the
                            Bankruptcy Code;
                            iv.    the consummation of any sale or other disposition of all or
                            substantially all of the Amyris Assets (collectively, the Consumer
                            Brands Business and Other Amyris Assets, as defined herein)
                            pursuant to section 363 of the Bankruptcy Code; and
                            v.      the date of the DIP Agent’s written notice to the Borrowers
                            of the occurrence of an Event of Default under the DIP Documents.
                            The first to occur of the events set forth in subsections i-v herein
                            shall be the “DIP Termination Date.” [DIP Credit Agreement §1]
                            On the DIP Termination Date, (a) all DIP Obligations shall be
                            immediately due and payable, and all commitments to extend credit
                            under the DIP Facility will terminate; (b) all authority to use Cash
                            Collateral shall cease; provided, however, that during the Remedies
                            Notice Period (as defined below), the Debtors may use Cash
                            Collateral to fund the Carve-Out and Trust Fund Amounts in
                            accordance with the Budget (subject to the Permitted Variances);
                            and (c) the DIP Secured Parties shall be otherwise entitled to
                            exercise rights and remedies under the DIP Documents in
                            accordance with Paragraph 15 of the Interim Order. [Interim Order
                            ¶ 12]

f. Interim Loan Amount:     Upon entry of the Interim Order, no more than two draws prior to
                            entry of the Final Order in the aggregate principal amount of up to
                            $70 million (each an “Initial Borrowing”) [Interim Order Recitals ¶
                            (i)]

g. Final Loan Amount:       Upon entry of the Final Order, multiple additional draws (each a
                            “Subsequent Borrowing” and collectively, the “Subsequent
                            Borrowings”) in the aggregate principal amount not to exceed $120
                            million; provided that (x) each Subsequent Borrowing shall not be
                            in an amount greater than the amounts specified in the Budget (each
                            as defined herein) to be drawn through the date of such Subsequent
                            Borrowing and (y) each Subsequent Borrowing shall be at least
                            twenty-one (21) calendar days apart [Interim Order Recitals ¶ (i)].

h. Use of DIP Loans:        The proceeds of the DIP Loan shall only be used for the following
                            purposes and, in the case of payments pursuant to provisions and
                            limitations on the investigation, interference with, or challenge to
                            the Secured Obligations, the Adequate Protection Obligations, the
                            Foris Prepetition Obligations and/or the liens, claims, rights, or
                            security interests securing or supporting the Secured Obligations
                            and the Adequate Protection Obligations, subject to the amounts and


                                             13
DOCS_NY:48137.7 03703/001
             CaseCase
                  23-11131-TMH
                      23-11131 Doc
                                Doc19
                                    75-1Filed
                                            Filed
                                               08/10/23
                                                  08/14/23Page
                                                            Page
                                                               14 of
                                                                  1542
                                                                     of 107




                             timing specified in the Budget: (i) working capital and other general
                             corporate purposes of the Obligors and certain Subsidiaries of the
                             Parent which are not Debtors, provided that the Borrowers and such
                             Subsidiaries shall execute a Post-Petition Global Note evidencing
                             the payment obligation of such Subsidiaries for all amounts
                             transferred after the Petition Date by the Borrowers, the Debtors or
                             any non-debtor Subsidiary to such Subsidiaries, (ii) any adequate
                             protection payments in accordance with the Budget and the DIP
                             Orders, (iii) professional fees and expenses of administering the
                             Cases, to the extent authorized by any Order of the Bankruptcy
                             Court (including payments benefiting from the Carve-Out and any
                             Investigation, including allowed professional fees subject to the
                             terms and conditions set forth in the DIP Orders, and (iv) any other
                             amounts payable to the Secured Parties hereunder.
                             [Interim Order ¶ 3(c); DIP Credit Agreement §§ 7.15(a) and (b)]

i. Interest Rate:            DIP Loans will bear interest at a fixed rate equal to 12% per annum,
                             compounded monthly, and shall be paid in-kind, in arrears, monthly
                             on the first day of each month. [DIP Credit Agreement § 2.1(c)]

j. Default Rate:             After the occurrence and during the continuance of an Event of
                             Default, all amounts outstanding under the DIP Facility will bear
                             interest at an additional rate per annum of 2.0%. [DIP Credit
                             Agreement § 2.3]

k. Loan/DIP Lender Fees: There are no upfront loan fees. Upon the closing in one or more
                         transactions or series of transactions of a sale of all or substantially
                         all of the Amyris Assets in accordance with the All Assets Bidding
                         Procedures Order, the Borrowers shall pay to the Administrative
                         Agent (for the account of the Lenders) a premium in cash (the “Exit
                         Premium”) in an amount equal to 3.0% of the aggregate amount of
                         all then outstanding Advances, together with accrued and unpaid
                         interest on such amount and all fees and expenses due and payable
                         hereunder, as of the closing date of such sale(s); provided that (i)
                         such Exit Premium shall be approved by the Bankruptcy Court as
                         part of the Final Order and shall be fully earned upon entry of the
                         Final Order, but, for the avoidance of doubt, shall only be payable
                         upon the closing in one or more transactions or series of transactions
                         of a sale of all or substantially all of the Amyris Assets in accordance
                         with the All Assets Bidding Procedures Order and (ii) the payment
                         of such Exit Premium shall be structured in the most tax efficient
                         manner for the Lenders so long as such tax structuring shall not be
                         adverse in any material respect to the Obligors. [DIP Credit
                         Agreement § 2.8]



                                               14
DOCS_NY:48137.7 03703/001
              CaseCase
                   23-11131-TMH
                       23-11131 Doc
                                 Doc19
                                     75-1Filed
                                             Filed
                                                08/10/23
                                                   08/14/23Page
                                                             Page
                                                                15 of
                                                                   1642
                                                                      of 107




                                     The fees of the DIP Secured Parties referred to in the DIP
                                     Documents, including all fees and other amounts owed to the DIP
                                     Agent and the DIP Lenders, will be paid as of the Termination Date.
                                     [Interim Order ¶ 3(d)(3)]

l. Prepayments:                      (a)    Optional Prepayment. No Borrower may prepay all or any
                                     part of the Advances unless in accordance with the express
                                     provisions of the DIP Credit Agreement.

                                     (b)     Mandatory Prepayments. Subject in all respects to the DIP
                                     Orders, if applicable, if and on each occasion that any Net Proceeds
                                     are received by or on behalf of the Parent or any of its Subsidiaries
                                     in respect of the disposition of Collateral (other than any disposition
                                     in the ordinary course of business), the Borrowers shall,
                                     immediately after such Net Proceeds are received by them or any
                                     Subsidiary thereof prepay the Advances, together with accrued and
                                     unpaid interest on the principal amount thereof and all fees and
                                     expenses payable hereunder, pro rata in an aggregate amount equal
                                     to 100% of such Net Proceeds. For the avoidance of doubt, any
                                     Advance prepaid under Section 2.5 of the DIP Credit Agreement
                                     may not be re-borrowed. [DIP Credit Agreement § 2.5]

m. DIP Liens/Collateral:             As security for the DIP Obligations, effective and perfected upon
                                     the date of the Interim Order, the following security interests and
                                     liens are granted by the Debtors to the DIP Agent, for the benefit of
                                     the DIP Secured Parties (all property identified below being
                                     collectively referred to as the “DIP Collateral”), subject to (x) the
                                     Permitted Liens (as defined in the DIP Credit Agreement) and (y)
                                     the Carve-Out (all such liens and security interests granted to the
                                     DIP Agent, for the benefit of the DIP Lenders, pursuant to the
                                     Interim Order and the DIP Documents, the “DIP Liens”):

                                     i.      First Priority Lien on Unencumbered Property. Pursuant to
                                     section 364(c)(2) of the Bankruptcy Code, a valid, binding,
                                     continuing, enforceable, non-avoidable, automatically and properly
                                     perfected, first priority security interest in and lien upon all tangible
                                     and intangible prepetition and postpetition property of the Debtors,
                                     whether existing on the Petition Date or thereafter acquired, and
                                     the proceeds, products, rents, and profits thereof, that, on or as of
                                     the Petition Date, is not subject to (i) a valid, perfected and non-
                                     avoidable lien or (ii) a valid and non-avoidable lien in existence as
                                     of the Petition Date that is perfected subsequent to the Petition Date
                                     as permitted by section 546(b) of the Bankruptcy Code (the
                                     “Prepetition Unencumbered Collateral”).4 Subject to entry of the

4
 As of the Petition Date, the Prepetition Unencumbered Assets primarily consist of owned real estate in Leland, North
Carolina, leased real estate in various locations, and equity interests in certain joint ventures and foreign subsidiaries.

                                                           15
DOCS_NY:48137.7 03703/001
             CaseCase
                  23-11131-TMH
                      23-11131 Doc
                                Doc19
                                    75-1Filed
                                            Filed
                                               08/10/23
                                                  08/14/23Page
                                                            Page
                                                               16 of
                                                                  1742
                                                                     of 107




                            Final Order, the Prepetition Unencumbered Collateral shall include
                            the Avoidance Actions Proceeds. [Interim Order ¶ 8(a)]

                            ii.     Liens Priming the Foris Liens. Pursuant to section 364(d)(1)
                            of the Bankruptcy Code, a valid, binding, continuing, enforceable,
                            non-avoidable, automatically and properly perfected, first priority
                            priming security interest in and lien upon the Prepetition Collateral,
                            (the “Priming Liens”), which Priming Liens shall prime in all
                            respects the interests of the Foris Prepetition Secured Lenders
                            arising from the current and future liens of the Foris Prepetition
                            Secured Lenders (the “Primed Liens”). The Foris Prepetition
                            Secured Lenders have consented to the Primed Liens. [Interim Order
                            ¶ 8(b)]

                            iii.     Liens Junior to Certain Other Liens. Pursuant to section
                            364(c)(3) of the Bankruptcy Code, a valid, binding, continuing,
                            enforceable, non-avoidable, automatically and properly perfected,
                            security interest in and lien upon all tangible and intangible
                            prepetition and postpetition property of the Debtors that is subject
                            to (i) valid, perfected and non-avoidable senior liens in existence
                            immediately prior to the Petition Date (other than the Primed Liens)
                            or (ii) valid and non-avoidable senior liens (other than the Primed
                            Liens) in existence immediately prior to the Petition Date that
                            are perfected subsequent to the Petition Date, as permitted by
                            section 546(b) of the Bankruptcy Code (the “Other Encumbered
                            Prepetition Collateral”), which shall be (x) immediately junior and
                            subordinate to any valid, perfected and non-avoidable liens (other
                            than the Primed Liens) in existence immediately prior to the Petition
                            Date, and (y) any such valid and non-avoidable liens in existence
                            immediately prior to the Petition Date that are perfected subsequent
                            to the Petition Date as permitted by section 546(b) of the
                            Bankruptcy Code. The DIP Liens shall be junior to the DSM Liens.
                            [Interim Order ¶ 8(c)]

                            iv.     Liens Senior to Certain Other Liens. The DIP Liens shall
                            not be (i) subject or subordinate to or made pari passu with (A)
                            any lien or security interest that is avoided and preserved for the
                            benefit of the Debtors or their estates under section 551 of the
                            Bankruptcy Code, (B) unless otherwise provided for in the DIP
                            Documents or in this Interim Order, any liens or security interests
                            arising after the Petition Date, including, without limitation, any
                            liens or security interests granted in favor of any federal, state,
                            municipal or other governmental unit (including any regulatory
                            body), commission, board or court for any liability of the DIP
                            Secured Parties, or (C) any intercompany or affiliate liens of the
                            Debtors or its non-Debtor affiliates or security interests of the
                            Debtors; or (ii) subordinated to or made pari passu with any other

                                              16
DOCS_NY:48137.7 03703/001
             CaseCase
                  23-11131-TMH
                      23-11131 Doc
                                Doc19
                                    75-1Filed
                                            Filed
                                               08/10/23
                                                  08/14/23Page
                                                            Page
                                                               17 of
                                                                  1842
                                                                     of 107




                            lien or security interest under section 363 or 364 of the Bankruptcy
                            Code granted after the date hereof. [Interim Order ¶ 8(d)]

n. Priority:                The DIP Liens shall have the priory set forth in Paragraph 24(m),
                            above. [Interim Order ¶ 8]

o. Superpriority Claims:    DIP Superpriority Claims. Pursuant to, and to the extent provided
                            by section 364(c)(1) of the Bankruptcy Code, but subject to the
                            Carve-Out, all of the DIP Obligations shall constitute allowed
                            superpriority administrative expense claims against each of the
                            Debtors’ estates (the “DIP Superpriority Claims”) (without the need
                            to file any proof of claim) with priority over any and all
                            administrative expenses, Adequate Protection Claims, diminution
                            claims, and all other claims against the Debtors, now existing or
                            hereafter arising, of any kind whatsoever, including, without
                            limitation, all administrative expenses of the kind specified in
                            sections 503(b) and 507(b) of the Bankruptcy Code, and over any
                            and all administrative expenses or other claims arising under
                            sections 105, 326, 327, 328, 330, 331, 361, 362, 363, 364, 365,
                            503(b), 506(c), 507(a), 507(b), 726, 1113, or 1114 of the Bankruptcy
                            Code or otherwise, which allowed claims shall for the purposes of
                            section 1129(a)(9)(A) of the Bankruptcy Code be considered
                            administrative expenses allowed under section 503(b) of the
                            Bankruptcy Code and which shall be payable from and have
                            recourse to all prepetition and postpetition property of the Debtors
                            and all proceeds thereof, including, without limitation, subject to
                            entry of the Final Order, any proceeds or property recovered in
                            connection with the pursuit of claims or causes of action arising
                            under chapter 5 of the Bankruptcy Code (the “Avoidance Actions
                            Proceeds”), subject only to the payment of the Carve-Out. Except
                            as set forth in the Interim Order or the Final Order, no other
                            superpriority claims shall be granted or allowed in these Chapter 11
                            Cases. [Interim Order ¶ 7]

p. Adequate Protection:     Adequate Protection for the Foris Prepetition Secured Lenders. The
                            Foris Prepetition Secured Lenders are entitled, pursuant to sections
                            361, 363(e) and 364(d)(1) of the Bankruptcy Code, to adequate
                            protection of their interests in all Prepetition Collateral (including
                            Cash Collateral) in an amount equal to the aggregate diminution in
                            the value as of the Petition Date of their interests in the Prepetition
                            Collateral (including Cash Collateral), which diminution is as a
                            result of, or arises from, or is attributable to, the sale, lease or use by
                            the Debtors of the Prepetition Collateral, the priming of the Foris
                            Liens by the DIP Liens pursuant to the DIP Documents and the
                            Interim Order, the grant of any other lien under section 364 of
                            the Bankruptcy Code or the stay of the Foris Prepetition Secured

                                               17
DOCS_NY:48137.7 03703/001
             CaseCase
                  23-11131-TMH
                      23-11131 Doc
                                Doc19
                                    75-1Filed
                                            Filed
                                               08/10/23
                                                  08/14/23Page
                                                            Page
                                                               18 of
                                                                  1942
                                                                     of 107




                            Lenders’ rights under the Prepetition Collateral, the payment of
                            any amounts under the Carve-Out or pursuant to the Interim Order,
                            the Final Order or any other order of the Court or provision of the
                            Bankruptcy Code or otherwise, and the imposition of the Automatic
                            Stay (“Adequate Protection” and the resulting claims, “Adequate
                            Protection Claims”). In consideration of the foregoing, and as an
                            inducement to the Foris Prepetition Secured Lenders to consent to
                            the priming of the Foris Liens and use of the Prepetition
                            Collateral (including Cash Collateral), the Foris Prepetition
                            Secured Lenders will be granted the following as Adequate
                            Protection:
                            i.      Prepetition Adequate Protection Liens. The Foris
                            Prepetition Secured Lenders will be granted in the amount of their
                            Adequate Protection Claims, a valid, perfected replacement security
                            interest in and lien upon all of the DIP Collateral (the “Adequate
                            Protection Liens”), including upon entry of the Final Order, all
                            Avoidance Actions Proceeds, subject and subordinate only to (A)
                            the DIP Liens, (B) the Carve-Out, and (C) Permitted Liens or any
                            valid and non-avoidable senior liens (other than the Primed Liens)
                            in existence immediately prior to the Petition Date that are perfected
                            subsequent to the Petition Date. For the avoidance of doubt, the
                            Adequate Protection Liens shall be junior and subordinate to the
                            DSM Liens. [Interim Order ¶ 9(a)]
                            ii.     Adequate Protection Superpriority Claims. The Foris
                            Prepetition Secured Lenders will be granted, subject to the Carve-
                            Out, an allowed superpriority administrative expense claim to the
                            fullest extent provided by sections 503(b) and 507(b) of the
                            Bankruptcy Code in each of the Chapter 11 Cases in an amount
                            equal to the Adequate Protection Obligations that are not secured by
                            the Adequate Protection Liens (the “Adequate Protection
                            Superpriority Claims”). The Adequate Protection Superpriority
                            Claims shall be ahead of and senior to any and all other
                            administrative expense claims of any kind specified or ordered
                            pursuant to any provision of the Bankruptcy Code, but junior to the
                            DIP Superpriority Claims and subject to and subordinate to the
                            Carve-Out and shall have recourse to and be payable from all
                            prepetition or postpetition DIP Collateral, including upon entry of
                            the Final Order, all Avoidance Actions Proceeds. The Foris
                            Prepetition Secured Lenders shall not receive or retain any
                            payments, property or other amounts in respect of the Adequate
                            Protection Superpriority Claims under section 507(b) of the
                            Bankruptcy Code granted hereunder unless and until the DIP
                            Obligations have been indefeasibly paid in full. [Interim Order ¶
                            9(b)]



                                              18
DOCS_NY:48137.7 03703/001
             CaseCase
                  23-11131-TMH
                      23-11131 Doc
                                Doc19
                                    75-1Filed
                                            Filed
                                               08/10/23
                                                  08/14/23Page
                                                            Page
                                                               19 of
                                                                  2042
                                                                     of 107




                            iii.    Adequate Protection Payments. The Debtors are authorized
                            and directed to pay, without the necessity of filing fee applications
                            with, or seeking approval of, the Court or in compliance with the
                            U.S. Trustee fee guidelines, all reasonable and documents fees,
                            costs, and expenses the counsel, financial advisors and other
                            professionals of the Foris Prepetition Secured Lenders in connection
                            with these Chapter 11 Cases whether arising on, prior to or after the
                            Petition Date (all payments referenced herein, collectively, the
                            “Adequate Protection Payments”); provided that all Adequate
                            Protection Payments shall be deferred until the DIP Termination
                            Date. [Interim Order ¶ 9(c)]
q. DIP Budget:              All Advances under the DIP Credit Agreement are subject to an
                            approved budget (the “Budget”, consisting of the Initial Budget and
                            the periodic updated budgets, all as required by the Interim Order
                            and DIP Credit Agreement). The Debtors seek approval of the Initial
                            Budget, covering the first 60 days of these Chapter 11 Cases
                            pursuant to the Interim Order. The Debtors shall thereafter prepare
                            an updated Budget which shall be approved pursuant to the Final
                            Order. By 5:00 p.m. Pacific Time on the date that is two weeks after
                            the date the Final Order approving the updated Budget is entered (or
                            such date as mutually agreed in writing (email being sufficient) by
                            the Debtors and DIP Secured Parties), and every two weeks
                            thereafter on the second business day of such week, the Debtors
                            shall prepare and provide the DIP Secured Parties with an updated
                            Budget. [Interim Order ¶ 4(a]
                            By 5:00 p.m. Pacific Time on August 23, 2023, and then on
                            Wednesday of every week thereafter, the Debtors shall deliver to the
                            DIP Agent a Budget variance report and reconciliation (the
                            “Approved Budget Variance Report”) comparing on a line by line
                            item basis: (x) total receipts for such period to total receipts for such
                            period as set forth in the Budget on a weekly and cumulative basis;
                            (y) total disbursements for such period to total disbursements for
                            such period as set forth in the Budget on a weekly and cumulative
                            basis; together with a statement certifying compliance with the
                            Permitted Variances (as defined herein) for such period (each a
                            “Measuring Period”) and explaining in reasonable detail any
                            Material Variance (as defined below) (each such report, a “Variance
                            Report,” which shall be in a form satisfactory to the DIP Agent).
                            For purposes of each Measuring Period, the Borrowers shall
                            calculate on a line item by line item basis: (x) the numerical
                            difference between total receipts for such period to total receipts for
                            such period as set forth in the Budget for the then applicable week
                            and on a cumulative basis (the “Receipts Variance”), and the
                            percentage such Receipts Variance (as an absolute amount) is of the
                            applicable week and cumulative basis budgeted amount for receipts
                            for such Measuring Period (the “Receipts Variance Percentage”)

                                              19
DOCS_NY:48137.7 03703/001
             CaseCase
                  23-11131-TMH
                      23-11131 Doc
                                Doc19
                                    75-1Filed
                                            Filed
                                               08/10/23
                                                  08/14/23Page
                                                            Page
                                                               20 of
                                                                  2142
                                                                     of 107




                            and (y) the numerical amount by which total disbursements for such
                            Measuring Period are greater than total disbursements, respectively,
                            on a line item by line item basis, for such Measuring Period as set
                            out in the Budget for the then applicable week and on a cumulative
                            basis for such Measuring Period (the “Disbursements Variance”),
                            and the percentage such Disbursements Variance (as an absolute
                            amount) is of the applicable week and cumulative budgeted amount
                            for disbursements for such Measuring Period (the “Disbursements
                            Variance Percentage”). For purposes of the Interim Order, (w)
                            “receipts” shall not include any Initial Borrowing or Subsequent
                            Borrowing under the DIP Facility or any proceeds from the sale of
                            DIP Collateral; (x) the calculation of the Disbursements Variance
                            shall exclude any amounts in the Budget related to professional fees
                            for the Debtors and the Committee, which, at all times, for purposes
                            of any Initial Borrowing or Subsequent Borrowing under the DIP
                            Facility, shall not exceed amounts set forth in the then approved
                            Budget, (y) a “Material Variance” shall mean on a line item by line
                            item basis with respect to each Measuring Period either (i) a
                            Receipts Variance Percentage greater than 15% or (ii) a
                            Disbursements Variance Percentage greater than 10%, and (z)
                            “Permitted Variance” shall mean on a line item by line item basis
                            with respect to each Measuring Period: (i) if the Receipts Variance
                            is a negative number, the Receipts Variance Percentage shall not be
                            greater than 25% measured on a four (4) week cumulative basis and
                            (ii) if the Disbursements Variance is a positive number, the
                            Disbursements Variance Percentage shall not be greater than (A)
                            20% measured on a two (2) week and cumulative basis and (B) 15%
                            measured on a four (4) week and cumulative basis. For purposes
                            hereof, “line item by line item” shall mean each line of the Budget
                            (excluding any amounts in the Budget related to professional fees
                            for the Debtors and the Committee); provided, however, for line
                            items labeled “Other AP Disbursements”, “InterCo disbursements
                            for Goods”, and “InterCo Loan”, “line item by line item” shall be
                            with references to the line items set forth in the supporting schedules
                            provided to the DIP Secured Parties in connection with the Budget.
                            [Interim Order ¶ 4(b)]
                            The Initial Budget is attached to the proposed Interim Order as
                            Exhibit B. Additionally, attached to this DIP Motion are a Plan
                            Scenario Budget through December 31, 2023 (Exhibit 2) and a Sale
                            Scenario Budget through December 31, 2023 (Exhibit 3).

r. Carve-Out:               As set forth in the Interim Order, each of the DIP Liens, DIP
                            Superpriority Claims, Foris Liens, Foris Prepetition Obligations,
                            Adequate Protection Liens, and Adequate Protection Superpriority
                            Claims shall be subject and subordinate to payment of the Carve-
                            Out. [Interim Order ¶ 6(a)]

                                              20
DOCS_NY:48137.7 03703/001
             CaseCase
                  23-11131-TMH
                      23-11131 Doc
                                Doc19
                                    75-1Filed
                                            Filed
                                               08/10/23
                                                  08/14/23Page
                                                            Page
                                                               21 of
                                                                  2242
                                                                     of 107




                            The “Carve-Out” means:
                            i.      all fees required to be paid to the Clerk of the Court and to
                            the U.S. Trustee under section 1930(a) of title 28 of the United
                            States Code plus interest at the statutory rate (without regard to the
                            notice set forth in (iv) below);
                            ii.     all reasonable fees and expenses up to $100,000 incurred by
                            a trustee under section 726(b) of the Bankruptcy Code (without
                            regard to the notice set forth in (iii) below);
                            iii.    all obligations due and owing under any key employee
                            incentive plan and retention plan consistent with the Budget,
                            consented to by the DIP Agent, and approved by the Bankruptcy
                            Court;
                            iv.     to the extent allowed at any time, whether by interim order,
                            procedural order, or otherwise, and whether allowed before or after
                            delivery of a Trigger Notice, all unpaid fees and expenses (the
                            “Allowed Professional Fees”) incurred by persons or firms retained
                            by the Debtors pursuant to section 327, 328, or 363 of the
                            Bankruptcy Code (the “Debtors’ Professionals”) and the Committee
                            pursuant to section 328 or 1103 of the Bankruptcy Code (the
                            “Committees’ Professionals” and, together with the Debtors’
                            Professionals, the “Professional Persons”), but subject to the then
                            Budget for each Professional Person, as approved by the DIP Agent,
                            for the period of time from the Petition Date to the date of a Trigger
                            Notice; and
                            v.      Allowed Professional Fees of the Debtors Professionals and
                            Committee Professionals in an amount not to exceed $750,000
                            incurred after the delivery of a Trigger Notice (this clause (v), the
                            “Carve-Out Cap”), less the amount of any prepetition retainers
                            received by such Professional Persons and not previously returned
                            or applied to Allowed Professionals Fees; provided, however,
                            nothing herein shall be construed to impair any party’s ability to
                            object to court approval of the fees, expenses, reimbursement of
                            expenses or compensation of the Debtors’ Professionals or the
                            Committees’ Professionals.
                            “Trigger Notice” shall mean a written notice delivered by the DIP
                            Agent to the U.S. Trustee and counsel to the Debtors and Committee
                            describing the Event of Default that is alleged to continue under the
                            DIP Documents (or after the payment in full of the DIP Obligations,
                            delivered by the Prepetition Lenders under the Foris Prepetition
                            Secured Loan Agreements describing the reason for termination of
                            the use of Cash Collateral). [Interim Order ¶ 6(b)]
                            Carve-Out Account. On the day on which a Trigger Notice is given
                            by the DIP Agent, and prior to the payment to any of the DIP Agent,


                                              21
DOCS_NY:48137.7 03703/001
             CaseCase
                  23-11131-TMH
                      23-11131 Doc
                                Doc19
                                    75-1Filed
                                            Filed
                                               08/10/23
                                                  08/14/23Page
                                                            Page
                                                               22 of
                                                                  2342
                                                                     of 107




                            DIP Lenders or the Foris Prepetition Secured Lenders on account of
                            the DIP Obligations, the Foris Prepetition Obligations, any
                            Adequate Protection Obligations (as defined herein), claims or liens,
                            or otherwise, the Debtors shall immediately, and be authorized and
                            required to, deposit, as soon as reasonably practicable, in a non-
                            interest bearing trust fund account of the Debtors’ general
                            bankruptcy counsel for the benefit of Professional Persons not
                            subject to the control of the DIP Agent, DIP Lenders or the Foris
                            Prepetition Secured Lenders (the “Carve-Out Account”), an amount
                            equal to the Carve-Out Cap. If any amounts remain in the Carve-Out
                            Account after payment of Professional Persons in accordance with
                            the Carve-Out (subject to the Budget), such amounts shall be
                            returned to the DIP Agent and shall be subject to the DIP Liens and
                            Adequate Protection Liens; provided that to the extent the DIP
                            Loans are indefeasibly paid in full at the time such amounts are to
                            be returned, such amounts shall be returned to the Foris Prepetition
                            Secured Lenders. Prior to the date of delivery of a Trigger Notice,
                            the Debtors shall be authorized to make weekly deposits into the
                            Carve-Out Account in accordance with the Budget. Funds which are
                            on deposit in the Carve-Out Account shall be available only to
                            satisfy obligations benefitting from the Carve-Out, and the DIP
                            Agent, DIP Lenders and the Foris Prepetition Secured Lenders, each
                            on behalf of itself and the relevant secured parties, (i) shall not
                            sweep or foreclose on cash of the Debtors necessary to fund the
                            Carve-Out Account, (ii) shall subordinate their security interests and
                            liens in the Carve-Out Account to the payment of the Allowed
                            Professional Fees in accordance with the Carve-Out and the Carve-
                            Out Cap, and shall only have a security interest upon, and shall only
                            have a right of enforcement against, any residual interest in the
                            Carve-Out Account available following satisfaction in full in cash
                            of all obligations benefitting from the Carve-Out Account; and (iii)
                            waive, and agree not to assert, any right of disgorgement with
                            respect to the payment of the Allowed Professional Fees. [Interim
                            Order ¶ 6(c)]
                            Trust Fund Amounts. Notwithstanding the delivery and
                            effectiveness of a Trigger Notice, the Debtors shall be entitled to use
                            Cash Collateral to pay payroll expenses that have accrued through
                            the date of the Trigger Notice and trust fund taxes that have accrued
                            through the date of the Trigger Notice, each in an amount included
                            in the Budget through the date of the Trigger Notice but which such
                            amounts remain unpaid (the “Trust Fund Amounts”). [Interim
                            Order ¶ 6(d)]

s. Case Milestones:         The DIP Documents shall require compliance with the following
                            milestones (the “Milestones”):



                                              22
DOCS_NY:48137.7 03703/001
             CaseCase
                  23-11131-TMH
                      23-11131 Doc
                                Doc19
                                    75-1Filed
                                            Filed
                                               08/10/23
                                                  08/14/23Page
                                                            Page
                                                               23 of
                                                                  2442
                                                                     of 107




                            a)      the Petition Date shall occur no later than August 9, 2023;
                            b)      the Bankruptcy Court shall enter the Interim Order no later
                            than three (3) Business Days following the Petition Date;
                            c)      the Bankruptcy Court shall enter the Final Order no later
                            than thirty-six (36) calendar days following the Petition Date; and
                            d)      no later than thirty-five (35) calendar days following the
                            Petition Date (the “Plan Support Deadline”), the Debtors shall have
                            executed a plan support agreement (the “Plan Support Agreement”)
                            by and among the Debtors, the Administrative Agent, the Lenders,
                            the Foris Prepetition Secured Lenders, and such other party- or
                            parties-in-interest determined by the Administrative Agent, the
                            Required Lenders, and the Foris Prepetition Secured Lenders, in
                            their sole and absolute discretion, to be necessary and sufficient for
                            the Administrative Agent, the Lenders and the Foris Prepetition
                            Secured Lenders to support a Chapter 11 Plan (collectively, the
                            “Plan Support Persons”), with such Plan Support Agreement being
                            acceptable to the Administrative Agent and the Foris Prepetition
                            Secured Lenders in their sole discretion (the “Plan Support
                            Agreement Milestone”); provided that (x) the Debtors shall not file
                            a motion to sell any Amyris Assets on or prior to the Plan Support
                            Deadline and (y) (A) if the Plan Support Agreement Milestone Date
                            occurs on or prior to the Plan Support Deadline, the Plan Support
                            Agreement shall include, and the Obligors shall achieve, each of the
                            following Milestones:
                                  (i)           no later than fourteen (14) calendar days following
                                         the Plan Support Agreement Milestone Date, the Debtors
                                         shall file with the Bankruptcy Court a Chapter 11 Plan, a
                                         Disclosure Statement (each consistent with the Plan
                                         Support Agreement and in form and substance acceptable
                                         to the Administrative Agent), and a motion to approve the
                                         Plan, the Disclosure Statement and the related solicitation
                                         materials, dates and deadlines (the “Plan Filing Deadline”);
                                 (ii)           no later than thirty-seven (37) calendar days
                                         following the Plan Filing Deadline (the “Disclosure
                                         Statement Hearing Order Deadline”), the Bankruptcy Court
                                         shall enter an order approving the Disclosure Statement,
                                         which order shall provide that the date upon which votes to
                                         accept or reject the Chapter 11 Plan must be submitted shall
                                         be no later than thirty-five (35) calendar days following the
                                         Disclosure Statement Hearing Order Deadline;

                                 (iii)          no later than eighty-two (82) calendar days following
                                         the Plan Filing Deadline, the Bankruptcy Court shall enter
                                         the Acceptable Confirmation Order provided that the


                                                  23
DOCS_NY:48137.7 03703/001
             CaseCase
                  23-11131-TMH
                      23-11131 Doc
                                Doc19
                                    75-1Filed
                                            Filed
                                               08/10/23
                                                  08/14/23Page
                                                            Page
                                                               24 of
                                                                  2542
                                                                     of 107




                                        Acceptable Confirmation Order and Chapter 11 Plan shall
                                        be in form and substance consistent in all respects with the
                                        Plan Support Agreement and in form and substance
                                        acceptable to the Administrative Agent;

                                (iv)          no later than December 29, 2023, the Plan Effective
                                        Date shall occur; and

                                 (v)           if the Plan Support Agreement provides for the sale
                                        of the Consumer Brands Business and/or the Other Amyris
                                        Assets, the Plan Support Agreement shall include
                                        Milestones to commence a sale of the Consumer Brands
                                        Business and/or the Other Amyris consistent in form and
                                        substance with the Milestones described in clause (B)
                                        below and otherwise in form and substance acceptable to
                                        the Administrative Agent and, for the avoidance of doubt,
                                        the distribution of Net Proceeds from such sale shall be
                                        governed by the Plan Support Agreement and the Chapter
                                        11 Plan;

                            and (B) if the Plan Support Agreement Milestone is not satisfied on
                            or prior to the Plan Support Deadline, the Administrative Agent, in
                            its sole discretion, may elect to require the Debtors to initiate a
                            process to market and sell the Amyris Assets (such election, the
                            “Sale Toggle Event”) by delivering written notice of the occurrence
                            of the Sale Toggle Event to the Parent (the “Sale Toggle Event
                            Notice”), which process shall include the following Milestones:

                                 (i)           no later than three (3) calendar days following the
                                       Debtors’ receipt of the Sale Toggle Event Notice, the
                                       Debtors shall file with the Bankruptcy Court a motion (the
                                       “All Assets Bidding Procedures Motion”) seeking approval
                                       of the bidding procedures for the sale in one or more of a
                                       series of transactions all or substantially all of the All Assets
                                       Sale Transaction (the “All Assets Bidding Procedures”);
                                       provided that the All Assets Bidding Procedures Motion, the
                                       All Assets Bidding Procedures, and the order approving the
                                       All Assets Bidding Procedures (the “All Assets Bidding
                                       Procedures Order”), shall be in form and substance
                                       acceptable to the Administrative Agent, and shall include,
                                       without limitation, (x) the date upon which preliminary bids
                                       and qualified bids for the Amyris Assets shall be submitted
                                       and the date of the sale hearing for the Amyris Assets shall
                                       be submitted and the date the sale hearing shall occur, (y) the
                                       terms and conditions of acceptance of a qualified bid, and
                                       (z) the distribution of 100% of the Net Proceeds from the All
                                       Asset Sale Transaction, which shall, for the avoidance of

                                                 24
DOCS_NY:48137.7 03703/001
             CaseCase
                  23-11131-TMH
                      23-11131 Doc
                                Doc19
                                    75-1Filed
                                            Filed
                                               08/10/23
                                                  08/14/23Page
                                                            Page
                                                               25 of
                                                                  2642
                                                                     of 107




                                       doubt, be subject in all respects to the Liens and claims of
                                       the Secured Parties and the Foris Prepetition Secured
                                       Lenders and shall be paid (I) first to the Secured Parties
                                       and/or the Foris Prepetition Secured Lenders in order of
                                       priority and applied to the Loans and the Foris Prepetition
                                       Obligations as determined by the Lenders and the Foris
                                       Prepetition Secured Lenders in their sole discretion, and (II)
                                       second, any remaining balance, if any, shall be retained by
                                       the Debtors; provided that, as set forth in the DIP Orders, the
                                       Administrative Agent and the Foris Prepetition Secured
                                       Lenders shall have the right to credit bid up to the full
                                       amount of the Secured Obligations and Foris Prepetition
                                       Obligations, respectively, in connection with such sale;

                                (ii)         no later than thirty-five (35) calendar days following
                                       the Debtors’ receipt of the Sale Toggle Event Notice, the
                                       Bankruptcy Court shall enter the All Assets Bidding
                                       Procedure Order;

                               (iii)           no later than ninety (90) calendar days following the
                                       Debtors’ receipt of the Sale Toggle Event Notice, the
                                       Bankruptcy Court shall enter an order approving the sale of
                                       the All Assets Sale Transaction; and

                                (iv)          no later than December 29, 2023, the All Asset Sale
                                       Transaction shall close and be effective.

                            [Interim Order ¶ 14; DIP Credit Agreement § 7.25]

t. DIP Documents:           The DIP Documents will be executed and delivered in accordance
                            with the terms of the Interim Order. [Interim Order ¶ 3]

u. Stipulations/Releases:   The DIP Orders include (i) customary Stipulations regarding the
                            validity and priority of the Foris Prepetition Secured Loan
                            Agreements, the Foris Prepetition Obligations, the Foris Liens and
                            Prepetition Collateral, and (ii) customary waivers by the Debtors
                            and releases of the Foris Prepetition Secured Lenders, the DIP
                            Secured Parties, and each of their respective Representatives
                            (collectively, the “Released Parties”) with respect to any and all
                            claims and causes of action arising from or related to the Foris
                            Prepetition Secured Loan Agreements, the Foris Prepetition
                            Obligations, the Foris Liens, the Prepetition Collateral, the DIP
                            Liens, the DIP Secured Parties and the DIP Documents. The Releases
                            are effective as of the date of the Interim Order for the Debtors. As
                            set forth in the Interim Order, the Stipulations and Releases are only
                            binding on other parties in interest, including any Committee, upon


                                                 25
DOCS_NY:48137.7 03703/001
             CaseCase
                  23-11131-TMH
                      23-11131 Doc
                                Doc19
                                    75-1Filed
                                            Filed
                                               08/10/23
                                                  08/14/23Page
                                                            Page
                                                               26 of
                                                                  2742
                                                                     of 107




                            the expiration of the Challenge Period. [Interim Order ¶¶ F (viii);
                            11, 27]

                            The Challenge Period for parties in interest (including any
                            Creditors’ Committee) is seventy-five (75) days from entry of the
                            Interim Order or such later date as the Prepetition Agent may
                            consent in writing. Except for an Investigation Budget of
                            $50,000.00, no proceeds of the DIP Loans and/or DIP Collateral
                            (including Cash Collateral) may be used to challenge the liens or
                            claims of the Foris Prepetition Secured Lenders or the DIP Lenders.
                            [Interim Order ¶¶ 11, 27]

v. Events of Default:       Events of Default. The occurrence of any of the following events,
                            unless waived by the DIP Agent in accordance with the terms of the
                            DIP Documents, shall constitute an event of default (collectively,
                            the “Events of Default”): (a) the failure of the Debtors to perform,
                            in any material respect, any of the terms, provisions, conditions,
                            covenants, or obligations under the Interim Order; (b) the failure of
                            the Debtors to comply with the Milestones; or (c) the occurrence of
                            an “Event of Default” under the DIP Credit Agreement. [Interim
                            Order ¶ 13; DIP Credit Agreement § 8]

w. Credit Bidding:          The DIP Agent shall have the right to credit bid up to the full amount
                            of the DIP Obligations in any sale of the DIP Collateral. The Foris
                            Prepetition Secured Lenders shall have the right to credit bid (either
                            directly or through one or more acquisition vehicles), up to the full
                            amount of the Foris Prepetition Obligations pursuant to section
                            363(k) of the Bankruptcy Code, without the need to further Court
                            order authorizing the same and whether any such sale is effectuated
                            through section 363 or 1129 of the Bankruptcy Code, by a chapter 7
                            trustee under section 725 of the Bankruptcy Code, or otherwise.
                            [Interim Order ¶ 25]

x. Waivers:                 The DIP Orders shall include terms and conditions customary for
                            interim or Final DIP financing orders and shall be acceptable to the
                            DIP Agent and DIP Lender including, without limitation, waiver of
                            the automatic stay, “no marshaling” provisions, and upon entry of
                            the Final Order, waivers of the imposition of costs pursuant to
                            Section 506(c) of the Bankruptcy Code and the “equities of the
                            case” exception in Section 552(b) of the Bankruptcy Code, in each
                            case, to the extent applicable, in favor of the DIP Lenders and Foris
                            Prepetition Secured Lenders. Relief from the automatic stay is
                            subject to a five (5) days’ Remedies Notice Period. [Interim Order
                            ¶¶ 15, 16 17, 23, 34].



                                              26
DOCS_NY:48137.7 03703/001
             CaseCase
                  23-11131-TMH
                      23-11131 Doc
                                Doc19
                                    75-1Filed
                                            Filed
                                               08/10/23
                                                  08/14/23Page
                                                            Page
                                                               27 of
                                                                  2842
                                                                     of 107




y. Conditions to Funding: The DIP Documents shall contain conditions precedent
                          customarily found in loan documents for similar debtor-
                          in-possession financings and as otherwise deemed by the DIP
                          Agent appropriate to the specific transactions. [DIP Credit
                          Agreement § 4]

z. Covenants:                       The DIP Documents shall contain affirmative and negative
                                    covenants customarily found in loan documents for similar debtor-
                                    in-possession financings and as otherwise deemed by the DIP
                                    Agent appropriate to the specific transactions, such as financial
                                    reporting, limitations on incurred indebtedness, limitations on
                                    the incurrence of additional liens. [DIP Credit Agreement § 7]

B.      Additional Required Disclosures

                     24.    Pursuant to Local Rule 4001-2(a)(i), a debtor in possession seeking

authority to use cash collateral or obtain financing must disclose the presence and location of

certain provisions contained in the documentation evidencing the cash collateral usage or

financing. The debtor in possession must also justify the inclusion of certain such provisions. Set

forth below are the disclosures required in accordance Local Rule 4001-2(a)(i)(A)-(X) (most of

which is also disclosed in Paragraph 23(a)-(z) of this DIP Motion as set forth above):

              (i)            Local Rule 4001-2(a)(i)(A) requires a debtor to disclose the amount of cash
                     collateral the debtor seeks permission to use or the amount of credit the debtor seeks
                     to obtain under the proposed loan agreement, including the committed amount of
                     the proposed loan agreement and the amount of new funding that will actually be
                     available for borrowing by the debtor.

                     New credit loan of $190,000,000 [Interim Order Recitals ¶ (i)]

              (ii)           Local Rule 4001-2(a)(i)(B) require the disclosure of pricing and economic
                     terms, including letter of credit fees, commitment fees, and any other fees, provided
                     that when any such terms are sought to be filed under seal, they shall not be
                     disclosed in the Financing Motion itself, but shall be set forth in a separate
                     document filed pursuant to the procedures set forth in Local Rule 9018-1(d), the
                     filing of which shall be disclosed in the Financing Motion.

                     The economic terms of the DIP Facility and the applicable paragraphs of the
                     proposed Interim Order and/or DIP Credit Agreement, as applicable, are
                     disclosed in Paragraph 23(i), (j), and (k), above. There are no terms sought to
                     be filed under seal.


                                                      27
DOCS_NY:48137.7 03703/001
             CaseCase
                  23-11131-TMH
                      23-11131 Doc
                                Doc19
                                    75-1Filed
                                            Filed
                                               08/10/23
                                                  08/14/23Page
                                                            Page
                                                               28 of
                                                                  2942
                                                                     of 107




             (iii)           Local Rule 4001-2(a)(i)(C) requires the disclosure of provisions that
                     specifically limit the Court’s power or discretion to enter future orders in the case.

                     While certain provisions of the DIP Facility limit the issues the Debtors may
                     raise before the Court, no provisions of the DIP Facility or the proposed DIP
                     Orders limit the power or discretion of the Court to enter future orders in the
                     Chapter 11 Cases.

             (iv)            Local Rule 4001-2(a)(i)(D) requires disclosure of provisions that provide
                     for the funding of non-debtor affiliates with cash collateral or proceeds of the loan,
                     as applicable, and the approximate amount of such funding.

                     The Budget, the Cash Management Motion, and the Fleming Declaration
                     disclose the use of proceeds of the DIP Facility by non-debtor affiliates and the
                     reasons for such use. Any such intercompany transfers shall be subject to the
                     Budget, including the “Other AP Disbursements”, “InterCo disbursements for
                     Goods”, and “InterCo Loan” line items therein and supporting schedules to
                     the Budget, as well as the provisions of any interim and final orders approving
                     the Debtors’ cash management motion, including, without limitation,
                     execution of a Post-Petition Global Note.

              (v)            Local Rule 4001-2(a)(i)(E) requires disclosure of material conditions to
                     closing and borrowing, including budget provisions.

                     The material conditions to closing and borrowing and the applicable
                     paragraphs of the proposed Interim Order or DIP Credit Agreement, as
                     applicable, are disclosed in Paragraph 23(h), (q), (s), and (y), above.

             (vi)           Local Rule 4001-2(a)(i)(F) requires disclosure of any carve-outs from liens
                     or superpriority claims, including the material terms of any professional fee carve-
                     out.

                     The provisions of the Carve-Out and the applicable paragraphs of the
                     proposed Interim Order or DIP Credit Agreement, as applicable, are disclosed
                     in Paragraph 23(r), above.

            (vii)            Local Rule 4001-2(a)(i)(G) requires disclosure of provisions that provide
                     for postpetition liens on unencumbered assets, including the identification of such
                     assets.

                     The provisions of the proposed DIP Order providing liens on unencumbered
                     assets, the identity of such assets and the applicable paragraphs of the Interim
                     Order or DIP Credit Agreement, as applicable, are disclosed in Paragraph
                     23(m), above.

           (viii)           Local Rule 4001-2(a)(i)(H) requires disclosure of provisions that establish
                     any sale or plan milestones.

                                                      28
DOCS_NY:48137.7 03703/001
             CaseCase
                  23-11131-TMH
                      23-11131 Doc
                                Doc19
                                    75-1Filed
                                            Filed
                                               08/10/23
                                                  08/14/23Page
                                                            Page
                                                               29 of
                                                                  3042
                                                                     of 107




                    The provisions of the proposed Interim Order establishing sale and plan
                    milestones and the applicable paragraphs of the Interim Order or DIP Credit
                    Agreement, as applicable, are disclosed in Paragraph 23(s), above.

             (ix)           Local Rule 4001-2(a)(i)(I) requires disclosure of provisions that provide for
                    a prepayment penalty or other provisions that affect the debtor’s right or ability to
                    repay the financing in full during the course of the chapter 11 case.

                    No provisions of the DIP Order or DIP Credit Agreement provide for a
                    prepayment penalty. Any limitations on prepayment contained in the
                    proposed DIP Order and DIP Credit Agreement are disclosed in Paragraph
                    23(l), above.

              (x)          Local Rule 4001-2(a)(i)(J) requires disclosure of provisions, in jointly
                    administered cases, that govern joint liability of the debtors, including any
                    provisions that would cause one jointly administered debtor to become liable for
                    the prepetition debt of another jointly administered debtor for which it was not
                    previously subject to.

                    No provisions of the proposed DIP Orders or the DIP Credit Agreement make
                    any debtor liable for any prepetition debt of another debtor for which it was
                    not previously liable.

             (xi)           Local Rule 4001-2(a)(i)(K) requires disclosure of provisions that require the
                    debtor to pay an agent’s or lender’s expenses and attorneys’ fees in connection with
                    the proposed financing or use of cash collateral, without any notice or review by
                    the Office of the United States Trustee, the committee appointed under section 1102
                    of the Bankruptcy Code (if formed) or, upon objection by either of the foregoing
                    parties, the Court.

                    The provisions regarding payment of the fees and expenses of the Foris
                    Prepetition Secured Lenders are disclosed in Paragraph 23(p)(iii), above. The
                    provisions regarding payment of the fees and expenses of the DIP Lenders are
                    disclosed in Paragraph 23(k), above. All such fees and expenses accrue and
                    are only payable upon the DIP Termination Date. Payment of each of these
                    fees is subject to applicable notice to the U.S. Trustee and Creditors’
                    Committee. [Interim Order ¶ 19]

            (xii)           Local Rule 4001-2(a)(i)(L) requires disclosure of provisions that prohibit
                    the use of estate funds to investigate the liens and claims of the prepetition lender.

                    As set forth in Paragraph 23(h)(iii) and (u), above, use of estate funds to
                    investigate the liens and claims of the Foris Prepetition Secured Lenders is
                    limited to $50,000.

           (xiii)           Local Rule 4001-2(a)(i)(M) requires disclosure of any termination or
                    default provisions concerning the use of cash collateral or the availability of credit.


                                                      29
DOCS_NY:48137.7 03703/001
             CaseCase
                  23-11131-TMH
                      23-11131 Doc
                                Doc19
                                    75-1Filed
                                            Filed
                                               08/10/23
                                                  08/14/23Page
                                                            Page
                                                               30 of
                                                                  3142
                                                                     of 107




                    The default and termination provisions of the proposed Interim Order and the
                    applicable paragraphs of the Interim Order or DIP Credit Agreement, as
                    applicable, are disclosed in Paragraph 23(v), above.

            (xiv)           Local Rule 4001-2(a)(i)(N) requires disclosure of any provisions that grant
                    cross-collateralization protection or elevate prepetition debt to administrative
                    expense (or higher) status or that secure prepetition debt with liens on postpetition
                    assets (which liens the creditor would not otherwise have by virtue of the
                    prepetition security agreement or applicable law).

                    Nothing in the proposed DIP Orders cross-collateralizes or elevates
                    prepetition debt to administrative expense (or higher) status or secures
                    prepetition debt with liens on postpetition assets.

            (xv)            Local Rule 4001-2(a)(i)(O) requires disclosure of any provisions that apply
                    the proceeds of postpetition financing to pay, in whole or in part, prepetition debt
                    or which otherwise have the effect of converting (or “rolling up”) prepetition debt
                    to postpetition debt.

                    Nothing in the proposed DIP Orders provides for the application of the
                    proceeds of postpetition financing to pay, in whole or in part, prepetition debt
                    and no roll-up or conversion of prepetition debt to postpetition debt is
                    contemplated in the DIP Orders or the DIP Credit Agreement.

            (xvi)           Local Rule 4001-2(a)(i)(P) requires disclosure of any provisions that
                    immediately prime valid, perfected and non-avoidable liens existing immediately
                    prior to the petition date or that are perfected subsequent to the petition date as
                    permitted by section 546(b) of the Bankruptcy Code, in each case that are senior to
                    the lender’s prepetition liens under applicable law, without the consent of the
                    affected secured creditors, and the proposed notice to be provided to such affected
                    secured creditors.

                    The proposed DIP Orders do not provide for the priming of any pre-existing
                    secured liens without the consent of the applicable lienholder. The Foris
                    Prepetition Secured Lenders have consented to the priming of their liens as set
                    forth in the DIP Orders.

           (xvii)             Local Rule 4001-2(a)(i)(Q) requires disclosure of any provisions or findings
                    of fact that (i) bind the estate or other parties in interest with respect to the validity,
                    perfection or amount of the secured creditor’s prepetition lien or the waiver of
                    claims against the secured creditor without first giving parties in interest, including,
                    but not limited to, any official committee appointed in these cases, at least seventy-
                    five (75) days from the entry of the initial interim order to investigate such matters
                    or (ii) limit the Court’s ability to grant relief in the event of a successful challenge.

                    The proposed DIP Orders provide that any stipulations by the Debtors relating
                    to the validity and amount of the Prepetition Liens and claims of the
                    Prepetition Lender are subject to challenge by parties in interest, including

                                                       30
DOCS_NY:48137.7 03703/001
             CaseCase
                  23-11131-TMH
                      23-11131 Doc
                                Doc19
                                    75-1Filed
                                            Filed
                                               08/10/23
                                                  08/14/23Page
                                                            Page
                                                               31 of
                                                                  3242
                                                                     of 107




                    any official Creditors’ Committee, during a period of seventy-five (75) days
                    from date of entry of the Interim Order, as disclosed in Paragraph 23(u),
                    above. No provisions in the proposed DIP Orders limit the ability of the Court
                    to grant relief in the event of a successful challenge.

          (xviii)           Local Rule 4001-2(a)(i)(R) requires disclosure of any provisions that
                    immediately approve all terms and conditions of the underlying loan agreement
                    (provided that provisions in the order that provide that the debtor is authorized to
                    enter into and be bound by the terms and conditions of such loan agreement do not
                    need to be summarized).

                    As set forth more specifically in Paragraph 23, above, the DIP Credit
                    Agreement and the authority of the Debtors to enter into same are approved
                    upon entry of the Interim Order, except as to certain provisions (liens on
                    Avoidance Actions and certain waivers), which are only approved upon entry
                    of the Final Order.

            (xix)           Local Rule 4001-2(a)(i)(S) requires disclosure of any provisions that
                    modify or terminate the automatic stay or permit the lender to enforce remedies
                    following an event of default that do not require at least five (5) days’ written notice
                    to the trustee or debtor in possession, the Office of the United States Trustee and
                    each committee appointed under sections 1102 and 1114 of the Bankruptcy Code
                    (the “Remedies Notice Period”), prior to such modification or termination of the
                    automatic stay or the enforcement of the lender’s remedies.

                    As set forth in Paragraph 23(x), above, termination of the automatic stay to
                    enable the DIP Lenders to enforce remedies is subject to the five (5) day
                    Remedies Notice Period.

            (xx)            Local Rule 4001-2(a)(i)(T) requires disclosure of any provisions that seek
                    to limit what parties in interest (other than the debtor) may raise at any emergency
                    hearing scheduled during the Remedies Notice Period.

                    As set forth in Paragraph 23(x), with reference to Paragraph 16 of the Interim
                    Order, no provisions of the DIP Orders limit what parties in interest (other
                    than the Debtors) may raise at any emergency hearing scheduled during the
                    Remedies Notice Period.

            (xxi)         Local Rule 4001-2(a)(i)(U) requires disclosure of any provisions that
                    immediately grant to the prepetition secured creditor liens on the debtor’s claims
                    and causes of action arising under sections 544, 545, 547, and 548 of the
                    Bankruptcy Code or, in each case, the proceeds thereof.

                    Liens on the proceeds of Avoidance Actions are effective only upon entry of
                    the Final Order.




                                                      31
DOCS_NY:48137.7 03703/001
             CaseCase
                  23-11131-TMH
                      23-11131 Doc
                                Doc19
                                    75-1Filed
                                            Filed
                                               08/10/23
                                                  08/14/23Page
                                                            Page
                                                               32 of
                                                                  3342
                                                                     of 107




           (xxii)         Local Rule 4001-2(a)(i)(V) requires disclosure of any provisions that
                    immediately waive the debtor’s rights under section 506(c) of the Bankruptcy
                    Code.

                    As disclosed in Paragraph 23(x), above, these provisions are subject to entry
                    of the Final Order as it relates to the Foris Prepetition Secured Lenders and
                    the Prepetition Collateral and the Interim Order as it relates to the DIP
                    Secured Parties and the DIP Collateral.

          (xxiii)          Local Rule 4001-2(a)(i)(W) requires disclosure of any provisions that
                    immediately seek to affect the Court’s power to consider the equities of the case
                    doctrine under section 552(b)(1) of the Bankruptcy Code.

                    As disclosed in Paragraph 23(x), above, these provisions are subject to entry
                    of the Final Order as it relates to the Foris Prepetition Secured Lenders and
                    the Prepetition Collateral and the Interim Order as it relates to the DIP
                    Secured Parties and the DIP Collateral.

          (xxiv)            Local Rule 4001-2(a)(i)(X) requires disclosure of any provisions that
                    immediately shield the lender from the equitable doctrine of “marshalling” or any
                    similar doctrine.

                    As disclosed in Paragraph 23(x), above, these provisions are subject to entry
                    of the Final Order as it relates to the Foris Prepetition Secured Lenders and
                    the Prepetition Collateral and the Interim Order as it relates to the DIP
                    Secured Parties and the DIP Collateral.

C.      Need for Financing and Use of Cash Collateral

                    25.     The Debtors have an immediate and critical need to obtain the DIP Facility

and to use Cash Collateral (solely to the extent consistent with the Budget (subject to Permitted

Variances as set forth in the Interim Order and the DIP Documents)) to, among other things, (a)

permit the orderly continuation of their businesses; (b) maintain business relationships with

vendors, suppliers, and customers; (c) make payroll; (d) fund expenses of the Chapter 11 Cases;

and (e) satisfy other working capital, operational, and general corporate needs. The Debtors do

not have sufficient sources of working capital and financing to operate their businesses in the

ordinary course throughout the Chapter 11 Cases without access to the DIP Facility and authorized

use of Cash Collateral. In the absence of the DIP Facility and the use of Cash Collateral, the



                                                    32
DOCS_NY:48137.7 03703/001
             CaseCase
                  23-11131-TMH
                      23-11131 Doc
                                Doc19
                                    75-1Filed
                                            Filed
                                               08/10/23
                                                  08/14/23Page
                                                            Page
                                                               33 of
                                                                  3442
                                                                     of 107




Debtors’ business and estates would suffer immediate and irreparable harm. Access to the DIP

Facility will provide the Debtors with sufficient working capital and liquidity to operate during

these Chapter 11 Cases and is vital to the preservation and maintenance of the Debtors’ business

and assets. Without access to the DIP Facility and Cash Collateral, the Company would run out

of money and its ability maintain going concern operations and value will be significantly

impaired.

                 26.        As set out in the Beers Declaration, the Debtors are unable to obtain

financing on more favorable terms from sources other than the DIP Lenders under the DIP

Documents and are unable to obtain adequate unsecured credit allowable under section 503(b)(1)

of the Bankruptcy Code as an administrative expense. The Debtors also are unable to obtain

secured credit allowable under sections 364(c)(1), 364(c)(2), and 364(c)(3) of the Bankruptcy

Code without granting to the DIP Secured Parties, the DIP Liens and the DIP Superpriority Claims

(each as defined herein), in each case subject to the Carve-Out to the extent set forth herein, under

the terms and conditions set forth in the Interim Order and the DIP Documents. Importantly, the

Foris Prepetition Secured Lenders consent to the priming of their liens contemplated by the DIP

Documents and there is no roll-up of prepetition debt to postpetition debt included in the DIP

Facility.

                                        V. BASIS FOR RELIEF

A.      The Debtors Should Be Permitted to Obtain Postpetition Financing Pursuant to
        Section 364(c) of the Bankruptcy Code.

                 27.        Section 364(c) of the Bankruptcy Code requires a finding, made after notice

and a hearing, that the debtor seeking postpetition financing on a secured basis cannot “obtain

unsecured credit allowable under section 503(b)(l) of [the Bankruptcy Code] as an administrative

expense.” 11 U.S.C. § 364(c).


                                                     33
DOCS_NY:48137.7 03703/001
             CaseCase
                  23-11131-TMH
                      23-11131 Doc
                                Doc19
                                    75-1Filed
                                            Filed
                                               08/10/23
                                                  08/14/23Page
                                                            Page
                                                               34 of
                                                                  3542
                                                                     of 107




                 28.        In evaluating proposed postpetition financing under section 364(c) of the

Bankruptcy Code, courts perform a qualitative analysis and generally consider similar factors,

including whether:

                 a.         unencumbered credit or alternative financing without superpriority status is
                            available to the debtor;

                 b.         the credit transactions are necessary to preserve assets of the estate;

                 c.         the terms of the credit agreement are fair, reasonable, and adequate;

                 d.         the proposed financing agreement was negotiated in good faith and at arm’s-
                            length and entry thereto is an exercise of sound and reasonable business
                            judgment and in the best interest of the debtors’ estate and its creditors; and

                 e.         the proposed financing agreement adequately protects the DIP Lender.

See, e.g., In re Aqua Assoc., 123 B.R. 192 (Bankr. E.D. Pa. 1991) (applying the first three factors

in making a determination under section 364(c)).

                 29.        For the reasons discussed below, the Debtors satisfy the standards required

to obtain postpetition financing in the Chapter 11 Cases on a partial priming and senior secured

superpriority basis as to the DIP Collateral under sections 364(c)(1), (2), and (d)(1) of the

Bankruptcy Code.

B.      The Debtors are Unable to Obtain Financing on More Favorable Terms.

                 30.        As discussed above and in the First Day Declaration and Beers Declaration,

the Debtors carefully considered their financing options. Ultimately, the Debtors determined that

the DIP Facility provides the Debtors with the best postpetition financing option available and

should be approved by this Court.

                 31.        The Debtors respectfully submit that their efforts to obtain postpetition

financing therefore satisfy the standard required under section 364(c) of the Bankruptcy Code.

See, e.g., In re Sky Valley, Inc., 100 B.R. 107, 113 (Bankr. N.D. Ga. 1988) (where few lenders can



                                                      34
DOCS_NY:48137.7 03703/001
             CaseCase
                  23-11131-TMH
                      23-11131 Doc
                                Doc19
                                    75-1Filed
                                            Filed
                                               08/10/23
                                                  08/14/23Page
                                                            Page
                                                               35 of
                                                                  3642
                                                                     of 107




or will extend the necessary credit to a debtor, “it would be unrealistic and unnecessary to require

[the debtor] to conduct such an exhaustive search for financing”).

C.      The Proposed DIP Financing is Necessary to Maximize the Value of the Debtors’
        Estates.

                 32.        The Debtors seek to use the DIP Facility to for general working capital

purposes, ordinary business expenses such as payroll, and bankruptcy-related costs and expenses,

in accordance with the Budget, to maximize value through a consensual plan and/or an orderly

sale process. The DIP Facility represents the best economic alternative for a new debtor-in-

possession lending arrangement.

                 33.        As set forth in the Fleming Declaration, the Debtors need to continue to

operate in the ordinary course, including buying products from and selling products to their foreign

subsidiaries, and otherwise providing financial accommodations to their foreign subsidiaries so as

to maximize the value of the Debtors’ businesses. All such transactions are contemplated by and

will be conducted in accordance with the Budget and the proposed Cash Management Order.

                 34.        Simply put, without immediate access to the DIP Facility and use of Cash

Collateral, the Debtors cannot continue to operate their businesses. Failure to access and have use

of the DIP Facility would irreparably damage the Debtors’ efforts to effectuate a going concern

asset sale for the benefit of all constituents. Accordingly, the Debtors urge the Court to authorize

the DIP Facility on the terms contemplated herein.

  D.       The Terms of the Proposed DIP Financing are Fair, Reasonable, and Appropriate.

                 35.        In considering whether the terms of postpetition financing are fair and

reasonable, courts consider the terms in light of the relative circumstances of both the debtor and

the potential lender. In re Farmland Indus., Inc., 294 B.R. 855, 886 (Bankr. W.D. Mo. 2003); see

also Unsecured Creditors’ Comm. Mobil Oil Corp. v. First Nat’l Bank & Trust Co. (In re Ellingsen


                                                    35
DOCS_NY:48137.7 03703/001
             CaseCase
                  23-11131-TMH
                      23-11131 Doc
                                Doc19
                                    75-1Filed
                                            Filed
                                               08/10/23
                                                  08/14/23Page
                                                            Page
                                                               36 of
                                                                  3742
                                                                     of 107




MacLean Oil Co.), 65 B.R. 358, 365 (W.D. Mich. 1986) (a debtor may have to enter into hard

bargains to acquire funds).

                 36.        The terms of the DIP Facility were negotiated in good faith and at arm’s-

length between the Debtors and the DIP Lender, resulting in an agreement that is designed to

permit the Debtors to maximize the value of their assets. The Debtors submit that the proposed

terms of the DIP Facility are fair, reasonable, and appropriate under the circumstances. See, e.g.,

Bray v. Shenandoah Fed. Sav. and Loan Ass’n (In re Snowshoe Co.), 789 F.2d 1085, 1088 (4th Cir.

1986) (stating that section 364(d) of the Bankruptcy Code imposes no duty to seek credit from every

possible lender); In re Western Pacific Airlines, Inc., 223 B.R. 567 (Bankr. D. Colo. 1997)

(authorizing postpetition financing that would preserve the value of the debtor’s assets). Further,

the DIP Lender consent to the DIP Facility on the terms set forth in the DIP Documents.

E.      The Carve-Out is Appropriate.

                 37.        The DIP Liens and Adequate Protection are subject and subordinate to the

Carve-Out. The Carve-Out contains similar terms to others that this Court has found to be

reasonable and necessary to ensure that a debtor’s estate and any statutory committee can retain

assistance from their advisors. Without the Carve-Out, the Debtors’ estates may be deprived of

possible rights and powers if the services for which professionals may be compensated are

restricted. See In re Ames Dep’t Stores, Inc., 115 B.R. 34, 38 (Bankr. S.D.N.Y. 1990) (observing

that courts insist on carve outs for professionals representing parties in interest because “[a]bsent

such protection, the collective rights and expectations of all parties-in-interest are sorely

prejudiced”). Additionally, the Carve-Out protects against administrative insolvency during the

course of these cases by ensuring that assets remain for the payment of the U.S. Trustee fees and

professional fees, notwithstanding the grant of superpriority claims and replacement liens as part



                                                    36
DOCS_NY:48137.7 03703/001
             CaseCase
                  23-11131-TMH
                      23-11131 Doc
                                Doc19
                                    75-1Filed
                                            Filed
                                               08/10/23
                                                  08/14/23Page
                                                            Page
                                                               37 of
                                                                  3842
                                                                     of 107




of the adequate protection of the Foris Prepetition Secured Lenders’ interests in the Prepetition

Collateral. Accordingly, the Carve-Out is appropriate and should be approved.

F.      The DIP Lender Should Be Deemed Good Faith Lenders.

                 38.        Section 364(e) of the Bankruptcy Code protects a good faith lender’s right

to collect on loans extended to a debtor, and its right in any lien securing those loans, even if the

authority of the debtor to obtain such loans or grant such liens is later reversed or modified on

appeal. Section 364(e) provides that:

                 The reversal or modification on appeal of an authorization under this section
                 [364 of the Bankruptcy Code] to obtain credit or incur debt, or of a grant
                 under this section of a priority or a lien, does not affect the validity of any
                 debt so incurred, or any priority or lien so granted, to an entity that extended
                 such credit in good faith, whether or not such entity knew of the pendency
                 of the appeal, unless such authorization and the incurring of such debt, or
                 the granting of such priority or lien, were stayed pending appeal.

11 U.S.C. § 364(e).

                 39.        Here, the Debtors believe the DIP Facility embodies the most favorable

terms on which the Debtors could obtain postpetition financing. As described in the First Day

Declaration and the Fleming Declaration, negotiations of the terms of the DIP Facility with the

DIP Lender were conducted in good faith and at arms’ length. The terms and conditions of the DIP

Documents are fair and reasonable, and the proceeds of the DIP Facility will be used only for

purposes that are permissible under the Bankruptcy Code, and in accordance with the DIP Orders

and the DIP Documents, including the Budget. Any consideration being provided to any of the

DIP Lender is described herein. Accordingly, the Court should find that the DIP Lender are “good

faith” lenders within the meaning of section 364(e) of the Bankruptcy Code and are entitled to all

of the protections afforded by that section.




                                                    37
DOCS_NY:48137.7 03703/001
             CaseCase
                  23-11131-TMH
                      23-11131 Doc
                                Doc19
                                    75-1Filed
                                            Filed
                                               08/10/23
                                                  08/14/23Page
                                                            Page
                                                               38 of
                                                                  3942
                                                                     of 107




G.      The Proposed DIP Financing Reflects the Debtors’ Sound Business Judgment.

                 40.        A debtor’s decision to enter into a postpetition lending facility under section

364 of the Bankruptcy Code is governed by the business judgment standard. See, e.g., Trans World

Airlines, Inc. v. Travelers Int’l AG (In re Trans World Airlines, Inc.), 163 B.R. 964, 974 (Bankr.

D. Del. 1994) (approving postpetition credit facility because such facility “reflect[ed] sound and

prudent business judgment”); In re Ames Dep’t Stores, Inc., 115 B.R. at 38 (financing decisions

under section 364 of the Bankruptcy Code must reflect a debtor’s business judgment).

                 41.        Bankruptcy courts routinely accept a debtor’s business judgment on many

business decisions, including the decision to borrow money. See, e.g., Group of Inst. Investors v.

Chicago, Mil., St. P. & Pac., 318 U.S. 523, 550 (1943) (holding that decisions regarding

assumption or rejection of leases are left to the business judgment of the debtor); In re Simasko

Prod. Co., 47 B.R. 444, 449 (D. Colo. 1985) (“Business judgments should be left to the board

room and not to this Court.”). Further, one court has noted that “[m]ore exacting scrutiny [of

the debtors’ business decisions] would slow the administration of the debtor’s estate and increase

its cost, interfere with the Bankruptcy Code’s provision for private control of administration of the

estate, and threaten the court’s ability to control a case impartially.” Richmond Leasing Co. v.

Capital Bank, N.A., 762 F.2d 1303, 1311 (5th Cir. 1985).

                 42.        Bankruptcy courts generally will defer to a debtor in possession’s business

judgment regarding the need for and the proposed use of funds, unless such decision is arbitrary

and capricious. In re Curlew Valley Associates, 14 B.R. 506, 511-13 (Bankr. D. Utah 1981); see

also Trans World Airlines, Inc., 163 B.R. at 974 (approving interim loan, receivables facility and

asset-based facility based upon prudent business judgment of the debtor). Generally courts will

not second-guess a debtor in possession’s business decisions involving “a business judgment made



                                                      38
DOCS_NY:48137.7 03703/001
             CaseCase
                  23-11131-TMH
                      23-11131 Doc
                                Doc19
                                    75-1Filed
                                            Filed
                                               08/10/23
                                                  08/14/23Page
                                                            Page
                                                               39 of
                                                                  4042
                                                                     of 107




in good faith, upon a reasonable basis, and within the scope of his authority under the Code.”

Curlew Valley, 14 B.R. at 513-14 (footnotes omitted).

                 43.        For the reasons set forth above, the Debtors’ sound business judgment

clearly supports approval of the DIP Facility. Access to the DIP Facility will allow the Debtors to

continue to operate, thus maximizing value for all of their constituents.

H.      Section 363 of the Bankruptcy Code Authorizes the Debtors’ Use of Cash Collateral.

                 44.        Section 363(c)(2) of the Bankruptcy Code provides that a debtor in

possession may not use cash collateral unless (A) each entity that has an interest in such cash

collateral provides consent, or (B) the court approves the use of cash collateral after notice and a

hearing. See 11 U.S.C. § 363(c). Section 363(e) of the Bankruptcy Code provides that, “on request

of an entity that has an interest in property used . . . or proposed to be used . . . by the [debtor in

possession], the court . . . shall prohibit or condition such use . . . as is necessary to provide adequate

protection of such interest.” 11 U.S.C. § 363(e).

                 45.        Here, the Debtors seek authority to use the Cash Collateral pursuant to the

Budget and have sought approval of various forms of adequate protection in favor of the Foris

Prepetition Lenders, including adequate protection liens and superpriority claims on the DIP

Collateral to the extent of any diminution and reimbursement of reasonable professional fees

incurred by the Prepetition Agent. Importantly, the DIP Lender and Foris Prepetition Lenders

consent to the use of Cash Collateral on the terms set forth in the Interim Order and Final Order.

                 46.        Bankruptcy Rule 4001(b) permits a court to approve a debtor’s request for

use of cash collateral during the 14-day period following the filing of a motion requesting

authorization to use cash collateral, “only . . . as is necessary to avoid immediate and irreparable

harm to the estate pending a Final hearing.” Bankruptcy Rule 4001(b)(2). In examining requests

for interim relief under this rule, courts apply the same business judgment standard applicable to

                                                     39
DOCS_NY:48137.7 03703/001
             CaseCase
                  23-11131-TMH
                      23-11131 Doc
                                Doc19
                                    75-1Filed
                                            Filed
                                               08/10/23
                                                  08/14/23Page
                                                            Page
                                                               40 of
                                                                  4142
                                                                     of 107




other business decisions. See, e.g., In re Simasko Production Co., 47 B.R. at 449; see also In re

Ames Dep’t Stores Inc., 115 B.R. at 38. After the 14-day period, the request for use of cash

collateral is not limited to those amounts necessary to prevent harm to the debtor’s business.

                 47.        As previously noted, in order to continue operating and satisfy accruing

administrative expenses, the Debtors require access to the DIP Facility and the use of Cash

Collateral. Such use will provide the Debtors with the necessary funds to remain administratively

solvent, while the Debtors pursue a going concern sale of their assets.

                 48.        Absent access to Cash Collateral, the Debtors would face immediate and

irreparable harm. The Debtors would likely be forced to cease operations and convert these

Chapter 11 Cases to ones under chapter 7. Jobs would be lost and substantial value destroyed.

Thus, immediate access to Cash Collateral is essential to the Debtors’ ability to maximize value

for the benefit of all constituents.

I.       Interim Order and Final Hearing

                 49.        Pursuant to Bankruptcy Rules 4001(b)(2) and 4001(c)(2), the Debtors

request that the Court schedule a Final hearing within approximately thirty-six (36) calendar days

of the commencement of the Chapter 11 Cases to consider approval of this DIP Motion on a Final

basis.

                 50.        The urgent need to avoid immediate and irreparable harm to the Debtors’

estates makes it imperative that the Debtors be authorized to access the DIP Facility and use Cash

Collateral pending the Final Hearing, in order to allow the Debtors to operate and administer these

Chapter 11 Cases on a postpetition basis. Without the ability to make draws under the DIP Facility

and use Cash Collateral, the Debtors would be unable to satisfy accruing postpetition obligations,

including payroll, and would not be able to conduct a value-maximizing sale process, thus causing



                                                    40
DOCS_NY:48137.7 03703/001
             CaseCase
                  23-11131-TMH
                      23-11131 Doc
                                Doc19
                                    75-1Filed
                                            Filed
                                               08/10/23
                                                  08/14/23Page
                                                            Page
                                                               41 of
                                                                  4242
                                                                     of 107




irreparable harm to the Debtors and the value of these estates.              Accordingly, the Debtors

respectfully request that, pending the Final Hearing, the Interim Order be approved and that the

terms and provisions of the Interim Order be implemented and be deemed binding and that, after

the Final Hearing, the Final Order be approved in all respects and the terms and provisions of the

Final Order be implemented and be deemed binding.

J.      Waiver of Bankruptcy Rule 6004(a) and 6004(h)

                 51.        To implement the foregoing successfully, the Debtors request that the Court

enter an order providing that notice of the relief requested herein satisfies Bankruptcy Rule 6004(a)

and that the Debtors have established cause to exclude such relief from the 14-day stay period

under Bankruptcy Rule 6004(h).

                                               VI. NOTICE

                 52.        The Debtors will provide notice of this Motion to: (a) the Office of the U.S.

Trustee for the District of Delaware; (b) the holders of the 30 largest unsecured claims against the

Debtors (on a consolidated basis); (c) counsel to the DIP Lenders, DIP Agent and the Foris

Prepetition Secured Lenders, Goodwin Procter LLP, 620 Eighth Avenue, New York, NY 10018,

Attn: Michael H. Goldstein, Esq. (mgoldstein@goodwinlaw.com), and Alexander J. Nicas, Esq.

(anicas@goodwinlaw.com); (d) co-counsel to the DIP Lenders, the DIP Agent and the Foris

Prepetition Secured Lenders, Troutman Pepper Hamilton Sanders LLP, Hercules Plaza, Suite

5100, 1313 N. Market Street, P.O. Box 1709, Wilmington, DE 19899; Attn: David M. Fournier,

Esq. (david.fournier@troutman.com); (e) the United States Attorney’s Office for the District of

Delaware; (f) the state attorneys general for all states in which the Debtors conduct business; and

(g) any party that requests service pursuant to Bankruptcy Rule 2002. As this Motion is seeking

“first day” relief, within two business days of the hearing on the Motion, the Debtors will serve



                                                     41
DOCS_NY:48137.7 03703/001
             CaseCase
                  23-11131-TMH
                      23-11131 Doc
                                Doc19
                                    75-1Filed
                                            Filed
                                               08/10/23
                                                  08/14/23Page
                                                            Page
                                                               42 of
                                                                  4342
                                                                     of 107




copies of the Motion and any order entered in respect to this Motion as required by Local Rule

9013-1(m).

                                       VII. NO PRIOR REQUEST

                 53.        The Debtors have not made any prior request for the relief sought herein to

this Court or any other court.

                 WHEREFORE, the Debtors respectfully request entry of the Interim Order and,

after Final Hearing, the Final Order, granting the relief requested herein and such other relief as is

just and proper.

 Dated: August 9, 2023                                PACHULSKI STANG ZIEHL & JONES LLP

                                                      /s/ James E. O’Neill
                                                      Richard M. Pachulski (pro hac vice forthcoming)
                                                      Debra I. Grassgreen (pro hac vice forthcoming)
                                                      James E. O’Neill (DE Bar No. 4042)
                                                      Jason H. Rosell (pro hac vice forthcoming)
                                                      Steven W. Golden (DE Bar No. 6807)
                                                      919 N. Market Street, 17th Floor
                                                      P.O. Box 8705
                                                      Wilmington, DE 19899-8705 (Courier 19801)
                                                      Telephone: (302) 652-4100
                                                      Facsimile: (302) 652-4400
                                                      Email: rpachulski@pszjlaw.com
                                                              dgrassgreen@pszjlaw.com
                                                              joneill@pszjlaw.com
                                                              jrosell@pszjlaw.com
                                                              sgolden@pszjlaw.com

                                                      Proposed Counsel to the Debtors and Debtors in
                                                      Possession




                                                     42
DOCS_NY:48137.7 03703/001
                 Case
                    Case
                      23-11131-TMH
                          23-11131 Doc
                                    Doc19-1
                                        75-1 Filed
                                              Filed08/10/23
                                                    08/14/23 Page
                                                              Page1 44
                                                                    of 60
                                                                       of 107




                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                                                     )
    In re:                                                           ) Chapter 11
                                                                     )
    Amyris, Inc.,1                                                   ) Case No. 23-11131
                                                                     )
                                       Debtors.                      ) (Jointly Administered)
                                                                     )
                                                                       Re: Docket No. [●]

                   INTERIM ORDER (I) AUTHORIZING THE DEBTORS
            (A) TO OBTAIN POSTPETITION FINANCING AND (B) TO UTILIZE
           CASH COLLATERAL, (II) GRANTING ADEQUATE PROTECTION TO
     PREPETITION SECURED PARTIES, (III) MODIFYING THE AUTOMATIC STAY,
     (IV) SCHEDULING A FINAL HEARING, AND (V) GRANTING RELATED RELIEF

              Upon the motion (the “DIP Motion”)2 of the above-captioned debtors and debtors in

possession (collectively, the “Debtors”) in the above captioned chapter 11 cases (collectively, the

“Chapter 11 Cases”) for entry of an interim order (this “Interim Order”), pursuant to sections 105,

361, 362, 363, 364, 507, and 552 of title 11 of the United States Code (as amended, the

“Bankruptcy Code”), rules 2002, 4001, 6004, and 9014 of the Federal Rules of Bankruptcy

Procedure (the “Bankruptcy Rules”), and rules 2002-1(b), 4001-2, 9006-1, and 9013 of the Local

Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the District

of Delaware (the “Local Rules”), seeking entry of this Interim Order:

        (i)         authorizing Amyris, Inc., Amyris Clean Beauty, Inc., and Aprinnova, LLC, in
                    their capacity as borrowers (collectively, the “Borrowers”), to obtain postpetition
                    financing, and for each of the other Debtors and such other non-Debtor subsidiaries
                    to guarantee unconditionally (the Debtors and such other non-Debtor subsidiaries,
                    other than the Borrowers as specified below3, and such other non-Debtor
1
    A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
    proposed claims and noticing agent at https://cases.stretto.com/amyris. The location of Debtor Amyris Inc.’s
    principal place of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street, Suite
    100, Emeryville, CA 94608.
2
    Capitalized terms used but not defined herein have the meanings given to such terms in the Motion or the DIP Credit
    Agreement (as defined herein).
3
    The Guarantors shall be AB Technologies LLC, Amyris Fuels, LLC, Amyris-Olika LLC, Onda Beauty Inc., Upland
    1, LLC, Amyris Eco-Fab LLC, Clean Beauty 4U Holdings, LLC, Amyris Clean Beauty LATAM Ltda., Amyris


DOCS_NY:48169.5 03703/001
ACTIVE/124251608
             Case
                Case
                  23-11131-TMH
                      23-11131 Doc
                                Doc19-1
                                    75-1 Filed
                                          Filed08/10/23
                                                08/14/23 Page
                                                          Page2 45
                                                                of 60
                                                                   of 107




                 subsidiaries as required by the DIP Agent (as defined below) collectively, the
                 “Guarantors”), on a joint and several basis, the Borrowers’ obligations in
                 connection with a senior secured superpriority multiple-draw term loan facility (the
                 “DIP Facility”) in the aggregate principal amount of up to $190 million (the “DIP
                 Loans”), subject to and in accordance with the terms and conditions set forth in that
                 certain Senior Secured Super Priority Debtor In Possession Loan Agreement, dated
                 as of August [9], 2023, attached hereto as Exhibit A (as amended, restated,
                 amended and restated, supplemented, or otherwise modified from time to time, the
                 “DIP Credit Agreement”), by and among the Borrowers, the Guarantors, and
                 Euagore, LLC (together with the other lenders from time to time party thereto, the
                 “DIP Lenders”), and Euagore, LLC, as Administrative Agent (the “DIP Agent” and,
                 together with the DIP Lenders, the “DIP Secured Parties”), and consistent with all
                 other terms and conditions of the DIP Documents (as defined herein) and upon
                 entry of the Interim Order, and subject to the terms of the Final Order (as defined
                 herein), resulting in:

                        a. upon entry of the Interim Order, no more than two draws prior to entry of
                           the Final Order in the aggregate principal amount of up to $70 million
                           (each an “Initial Borrowing” and collectively the “Initial Borrowings”);
                           and

                        b. upon entry of the Final Order, multiple additional draws (each a
                           “Subsequent Borrowing” and collectively, the “Subsequent Borrowings”)
                           in the aggregate principal amount not to exceed $120 million; provided
                           that (x) each Subsequent Borrowing shall not be in an amount greater than
                           the amounts specified in the Budget (each as defined herein) to be drawn
                           through the date of such Subsequent Borrowing and (y) each Subsequent
                           Borrowing shall be at least twenty-one (21) calendar days apart; and

     (ii)        authorizing the Debtors to execute, deliver and perform under the DIP Credit
                 Agreement, and together with this Interim Order, the Final Order and all other
                 related agreements, documents, and instruments delivered or executed in
                 connection therewith, including, without limitation, as applicable, security
                 agreements, pledge agreements, control agreements, mortgages, deeds, charges,
                 guaranties, promissory notes, intercompany notes, certificates, intellectual property
                 security agreements, and such other documents that may be reasonably requested
                 by the DIP Agent (collectively, as such may be amended, restated supplemented,
                 or otherwise modified from time to time in accordance with the terms thereof and
                 hereof, the “DIP Documents”), each of which shall be in form and substance
                 satisfactory to the DIP Secured Parties; and to perform such other and further acts
                 as may be reasonably necessary, desirable or appropriate in connection with the
                 DIP Documents;


 Biotecnologia do Brasil Ltda., Amyris Europe Trading B.V.,Amyris Bio Products Portugal, Unipessoal, Lda.,
 Beauty Labs International Limited, Interfaces Industria e Comericio de Cosmeticos Ltda., and Amyris UK Trading
 Limited.


                                                      2
DOCS_NY:48169.5 03703/001
                Case
                   Case
                     23-11131-TMH
                         23-11131 Doc
                                   Doc19-1
                                       75-1 Filed
                                             Filed08/10/23
                                                   08/14/23 Page
                                                             Page3 46
                                                                   of 60
                                                                      of 107




      (iii)         authorizing the Debtors to use the DIP Loans, the proceeds thereof, and the
                    Prepetition Collateral (as defined herein), including Cash Collateral (as defined
                    herein), in accordance with the Budget (subject only to Permitted Variances (as
                    defined herein) and in accordance with the DIP Documents) in form and substance
                    acceptable to the DIP Lenders, to provide working capital for, and for other general
                    corporate purposes of, the Debtors, solely in accordance with this Interim Order
                    and the DIP Documents;

      (iv)          granting the DIP Agent, for itself and the for the benefit of the DIP Lenders, a valid,
                    binding, continuing, enforceable, non-avoidable, automatically and properly
                    perfected, first priority priming senior security interest in and lien upon the
                    Prepetition Collateral (as defined herein) and all proceeds thereof, subject only to
                    the Carve-Out (as defined herein);

       (v)          granting to the DIP Agent, for itself and for the benefit of the DIP Lenders, a valid,
                    binding, continuing, enforceable, non-avoidable, automatically and properly
                    perfected, first priority senior security interest in and lien upon the Prepetition
                    Unencumbered Collateral (as defined herein) and all proceeds thereof, including
                    upon entry of the Final Order, all Avoidance Actions Proceeds (as defined herein),
                    subject only to (x) the Carve-Out and (y) other valid and unavoidable liens
                    perfected prior to the Petition Date (or perfected after the Petition Date to the extent
                    permitted by section 546(b) of the Bankruptcy Code) on the terms and conditions
                    set forth herein and in the DIP Documents; provided that with respect to: (i) any
                    unencumbered equity interests in any foreign subsidiaries of the Borrower that are
                    Guarantors; or (ii) any unencumbered intellectual property rights (including,
                    without limitation, licenses, grants, contracts, in lieu of such lien, the DIP Agent
                    may elect4 to take a grant of a non-avoidable, automatically vested, senior and first
                    priority right to, the value of such unencumbered assets, including any proceeds
                    realized on account thereof, or in connection therewith, which value shall not be
                    allocated, distributed, or realized by any party until the payment in full of the DIP
                    Obligations (as defined herein);

      (vi)          granting the DIP Agent, for itself and the for the benefit of the DIP Lenders, a valid,
                    binding, continuing, enforceable, non-avoidable, automatically and properly
                    perfected, security interest in and lien upon any Other Encumbered Prepetition
                    Collateral (as defined herein) (Other Encumbered Prepetition Collateral, together
                    with the Prepetition Collateral and the Prepetition Unencumbered Collateral, the
                    “DIP Collateral”) and all proceeds thereof, junior only to the valid, binding,
                    continuing enforceable and non-avoidable liens on the Other Prepetition
                    Encumbered Collateral as of the Petition Date, subject to the Carve-Out

      (vii)         granting to the DIP Agent, for itself and for benefit of the DIP Lenders, allowed
                    superpriority administrative expense claims against each of the Debtors’ estates in

4
    For all acts required of the DIP Agent as set forth in this Interim Order, the DIP Agent acts at the direction of the
    Required Lenders, as defined in the DIP Credit Agreement.


                                                            3
DOCS_NY:48169.5 03703/001
             Case
                Case
                  23-11131-TMH
                      23-11131 Doc
                                Doc19-1
                                    75-1 Filed
                                          Filed08/10/23
                                                08/14/23 Page
                                                          Page4 47
                                                                of 60
                                                                   of 107




                 respect of all DIP Obligations over any and all administrative expenses of any kind
                 or nature, subject and subordinate only to the payment of the Carve-Out on the
                 terms and conditions set forth herein and in the DIP Documents;

  (viii)         authorizing and directing the Debtors to pay all principal, interest, fees, costs,
                 expenses, and other amounts payable under the DIP Documents as such become
                 due and payable, as provided and in accordance therewith;

    (ix)         authorizing the Debtors, the DIP Secured Parties, and the Foris Prepetition Secured
                 Lenders (as defined herein) to take all commercially reasonable actions to
                 implement and effectuate the terms of this Interim Order;

     (x)         authorizing the Debtors to waive (a) their right to surcharge the DIP Collateral (as
                 defined herein) pursuant to section 506(c) of the Bankruptcy Code, (b) subject to
                 entry of the Final Order, to the extent provided therein, their right to surcharge the
                 Prepetition Collateral (as defined herein) pursuant to section 506(c) of the
                 Bankruptcy Code, and (c) any “equities of the case” exception under Bankruptcy
                 Code section 552(b) with respect to the proceeds, products, offspring, or profits of
                 any of the Prepetition Collateral, subject to entry of the Final Order, to the extent
                 provided therein, or the DIP Collateral, as applicable;

    (xi)         authorizing the Debtors to waive the equitable doctrine of “marshaling” and similar
                 doctrines (i) subject to the entry of the Final Order, to the extent provided therein,
                 with respect to any of the Prepetition Collateral (including Cash Collateral (as
                 defined herein)) for the benefit of any party other than the Foris Prepetition Secured
                 Lenders, (ii) with respect to the DIP Collateral for the benefit of any party other
                 than the DIP Secured Parties and (iii) with respect to the Adequate Protection (as
                 defined herein) granted to the Foris Prepetition Secured Lenders;

   (xii)         granting Adequate Protection to the Foris Prepetition Secured Lenders to the extent
                 of any diminution in value as of the Petition Date of their interests in the Prepetition
                 Collateral (as defined herein), including, without limitation, any diminution in
                 value resulting from the imposition of the automatic stay under section 362 of the
                 Bankruptcy Code (the “Automatic Stay”), the Debtors’ use, sale, or lease of the
                 Prepetition Collateral (as defined herein), including Cash Collateral and the
                 priming of its interests in the Prepetition Collateral (including Cash Collateral);

  (xiii)         vacating and modifying the Automatic Stay as set forth herein to the extent
                 necessary to permit the Debtors and their affiliates, the DIP Secured Parties, and
                 the Foris Prepetition Secured Lenders to implement and effectuate the terms and
                 provisions of this Interim Order, the DIP Documents, and, upon entry, the Final
                 Order, to implement and effectuate the terms and provisions of the Final Order and
                 the DIP Documents, as further set forth herein and therein, respectively;

   (xiv)         waiving any applicable stay (including under Bankruptcy Rule 6004) and providing
                 for immediate effectiveness of this Interim Order and, upon entry, the Final Order;
                 and


                                                    4
DOCS_NY:48169.5 03703/001
             Case
                Case
                  23-11131-TMH
                      23-11131 Doc
                                Doc19-1
                                    75-1 Filed
                                          Filed08/10/23
                                                08/14/23 Page
                                                          Page5 48
                                                                of 60
                                                                   of 107




   (xv)          scheduling a final hearing (the “Final Hearing”) to consider the relief requested in
                 the DIP Motion and entry of a final order (the “Final Order”) authorizing, among
                 other things, the Subsequent Borrowings, continued use of Cash Collateral and the
                 DIP Documents on a final basis, and approving the form of notice with respect to
                 the Final Hearing.

          The Court having considered the interim relief requested in the DIP Motion; the exhibits

thereto; the (i) the Declaration of Han Kieftenbeld in Support of the Debtors’ Chapter 11 Petitions

and First Day Relief (the “First Day Declaration”), (ii) the Declaration of Lorie Beers in Support

of the Motion of the Debtors for Interim and Final Orders (I) Authorizing Debtors (A) to Obtain

Postpetition Financing and (B) to Utilize Cash Collateral, (II) Granting Adequate Protection to

Prepetition Secured Parties, (III) Modifying the Automatic Stay, (IV) Scheduling a Final Hearing,

and (V) Granting Related Relief (the “Beers Declaration”), and (iii) the Declaration of Steve

Fleming in Support of the Motion of the Debtors for Interim and Final Orders (I) Authorizing

Debtors (A) to Obtain Postpetition Financing and (B) to Utilize Cash Collateral, (II) Granting

Adequate Protection to Prepetition Secured Parties, (III) Modifying the Automatic Stay, (IV)

Scheduling a Final Hearing, and (V) Granting Related Relief (the “Fleming Declaration”); and the

other evidence submitted or adduced and the arguments of counsel made at the interim hearing on

August [●], 2023 (the “Interim Hearing”); and due and sufficient notice of the Interim Hearing

having been given in accordance with Bankruptcy Rules 2002, 4001(b), (c), and (d), and all

applicable Local Rules; and the Interim Hearing having been held and concluded; and all

objections, if any, to the interim relief requested in the DIP Motion having been withdrawn,

resolved, or overruled by the Court; and it appearing that approval of the interim relief requested

in the DIP Motion is necessary to avoid immediate and irreparable harm to the Debtors and their

estates pending the Final Hearing, otherwise is fair and reasonable and in the best interests of the

Debtors’ and their estates, and is essential for the continued operations of the Debtors’ business

and the preservation of the value of the Debtors’ assets; and it appearing that the Debtors’ entry

                                                  5
DOCS_NY:48169.5 03703/001
                Case
                   Case
                     23-11131-TMH
                         23-11131 Doc
                                   Doc19-1
                                       75-1 Filed
                                             Filed08/10/23
                                                   08/14/23 Page
                                                             Page6 49
                                                                   of 60
                                                                      of 107




into the DIP Documents is a sound and prudent exercise of the Debtors’ business judgment; and

after due deliberation and consideration, and good and sufficient cause appearing therefor;

           BASED UPON THE RECORD ESTABLISHED AT THE INTERIM HEARING,

THE COURT HEREBY MAKES THE FOLLOWING FINDINGS OF FACT AND

CONCLUSIONS OF LAW:5

           A.       Petition Date. On August 9, 2023 (the “Petition Date”), each of the Debtors filed a

voluntary petition under chapter 11 of the Bankruptcy Code in the United States Bankruptcy Court

for the District of Delaware commencing these Chapter 11 Cases.

           B.       Debtors in Possession. The Debtors continue to manage and operate their

businesses and properties as debtors in possession pursuant to sections 1107 and 1108 of the

Bankruptcy Code. No trustee or examiner has been appointed in these Chapter 11 Cases.

           C.       Jurisdiction and Venue. The Court has jurisdiction over the Motion, these Chapter

11 Cases, and the parties and property affected hereby pursuant to 28 U.S.C. §§ 157 and 1334 and

the Amended Standing Order of Reference from the United States District Court for the District of

Delaware, dated February 29, 2012. Consideration of the Motion constitutes a core proceeding

pursuant to 28 U.S.C. § 157(b)(2). The Court may enter a final order consistent with Article III of

the United States Constitution. Venue for these Chapter 11 Cases and proceedings on the Motion

is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

           D.       Committee. As of the date hereof, the United States Trustee for the District of

Delaware (the “U.S. Trustee”) has not formed an official committee of unsecured creditors in these




5
    Findings of fact shall be construed as conclusions of law, and conclusions of law shall be construed as findings of
    fact, pursuant to Bankruptcy Rule 7052.


                                                           6
DOCS_NY:48169.5 03703/001
             Case
                Case
                  23-11131-TMH
                      23-11131 Doc
                                Doc19-1
                                    75-1 Filed
                                          Filed08/10/23
                                                08/14/23 Page
                                                          Page7 50
                                                                of 60
                                                                   of 107




Chapter 11 Cases pursuant to section 1102 of the Bankruptcy Code (any such committee, the

“Committee”).

        E.       Notice. The Interim Hearing was held pursuant to Bankruptcy Rule 4001(b)(2) and

(c)(2). As evidenced by the proofs of service filed on the docket for these Chapter 11 Cases,

proper, timely, adequate and sufficient notice of the Interim Hearing and the Motion has been

provided in accordance with the Bankruptcy Code, the Bankruptcy Rules, and the Local Rules,

and no further notice of the Motion or entry of this Interim Order shall be required.

        F.       Debtors’ Stipulations. Without prejudice to the rights of parties in interest, other

than the Debtors, but subject to the limitations thereon contained in Paragraphs 11 and 27 in the

Interim Order herein, the Debtors stipulate and agree, having considered and reviewed the facts

and circumstances and record, that the following states are true and correct (collectively,

Paragraphs F(i) through (vii) below are referred to herein as the “Debtors’ Stipulations”):

                 (i)        Foris Prepetition Secured Loans.

                            (a)    Pursuant to those certain (i) Amended and Restated Loan and

Security Agreement by and among Amyris, Inc. (“Amyris”), as borrower, Amyris Clean Beauty,

Inc. (“Clean Beauty”), Amyris Fuels, LLC (“Amyris Fuels”), and AB Technologies LLC, as

guarantors (“AB Technologies,” and together with Clean Beauty and Amyris Fuels, the

“Subsidiary Guarantors” or “Subsidiary Grantors,” as applicable herein), and Foris Ventures, LLC

(“Foris”), as lender, dated as of October 28, 2019, as amended by that certain Omnibus

Amendment Agreement, dated as of June 5, 2023, and as further amended, restated, supplemented

or otherwise modified from time to time, (ii) Amended and Restated Loan and Security Agreement

by and among Amyris, as borrower, the Subsidiary Guarantors, as guarantors, and Foris, as lender,

dated as of September 27, 2022, as amended by that certain Omnibus Amendment Agreement,



                                                    7
DOCS_NY:48169.5 03703/001
             Case
                Case
                  23-11131-TMH
                      23-11131 Doc
                                Doc19-1
                                    75-1 Filed
                                          Filed08/10/23
                                                08/14/23 Page
                                                          Page8 51
                                                                of 60
                                                                   of 107




dated as of June 5, 2023, and as further amended, restated, supplemented or otherwise modified

from time to time, (iii) Bridge Loan and Security Agreement by and among Amyris, as borrower,

the Subsidiary Guarantors, as guarantors, and Perrara Ventures, LLC (“Perrara”), as lender, dated

as of March 10, 2023, as amended by that certain Omnibus Amendment Agreement, dated as of

June 5, 2023, and as further amended, restated, supplemented or otherwise modified from time to

time, (iv) Loan and Security Agreement by and among Amyris, as borrower, the Subsidiary

Guarantors, as guarantors, and Anesma Group, LLC (“Anesma”), as lender, dated as of June 5,

2023, (v) Loan and Security Agreement by and among Amyris, as borrower, the Subsidiary

Guarantors, as guarantor, and Anjo Ventures, LLC (“Anjo”), as lender, dated June 29, 2023, and

(vi) Loan and Security Agreement by and among Amyris, as borrower, the Subsidiary Guarantors,

as guarantors, and Muirisc, LLC (“Muirisc”), and lender, dated as of August 2, 2023 (all of the

foregoing as further amended, supplemented, amended and restated, or otherwise modified prior

to the Petition Date, the “Foris Prepetition Secured Loans,” and collectively with any other

agreements and documents executed or delivered in connection with the Foris Prepetition Secured

Loans, including the Security Agreements (as defined herein), the “Foris Prepetition Secured Loan

Agreements”), and Foris, Perrara, Anesma, Anjo, and Muirisc (collectively, the “Foris Prepetition

Secured Lenders”), provided prepetition term loans to the Company.

                            (b)   As of the Petition Date, Amyris and the Subsidiary Guarantors were

justly and lawfully indebted and liable to the Foris Prepetition Secured Lenders pursuant to the

Foris Prepetition Secured Loan Agreements, without defense, counterclaim, or offset of any kind,

in the aggregate principal amount of at least $295,000,000, plus accrued and unpaid non-default

interest, any additional fees, costs, expenses (including any attorneys’, financial advisors’, and

other professionals’ fees and expenses), reimbursement obligations, indemnification obligations,



                                                   8
DOCS_NY:48169.5 03703/001
             Case
                Case
                  23-11131-TMH
                      23-11131 Doc
                                Doc19-1
                                    75-1 Filed
                                          Filed08/10/23
                                                08/14/23 Page
                                                          Page9 52
                                                                of 60
                                                                   of 107




contingent obligations, and other charges of whatever nature, whether or not contingent, whenever

arising, due, or owing, and all other Obligations (as defined in the Foris Prepetition Secured Loan

Agreements) owing, in each case under or in connection with the Foris Prepetition Secured Loan

Agreements without defense, counterclaim, or offset of any kind (but subject to liquidation of

unliquidated obligations) (collectively, the “Foris Prepetition Obligations”), which Foris

Prepetition Obligations has been guaranteed on a joint and several basis by each of the Subsidiary

Guarantors.

                            (c)    From and after the Petition Date, Amyris and the Subsidiary

Guarantors are justly and lawfully indebted and liable to the Foris Prepetition Secured Lenders

pursuant to the Foris Prepetition Secured Loan Agreements for accrued default interest, plus any

additional fees, costs, expenses (including any attorneys’, financial advisors’, and other

professionals’ fees and expenses), reimbursement obligations, indemnification obligations,

contingent obligations, and other charges of whatever nature, whether or not contingent, whenever

arising, due, or owing, and all other Obligations owing, in each case, under or in connection with

the Foris Prepetition Secured Loan Agreements after the Petition Date and without defense,

counterclaim, or offset of any kind (but subject to liquidation of unliquidated obligations).

                 (ii)       Foris Prepetition Loan Collateral. In connection with the Foris Secured

Prepetition Loan Agreements, Amyris and the Subsidiary Guarantors, as applicable, entered into

those certain (i) Security Agreement, by and between Amyris, the Subsidiary Grantors, and Foris,

dated as of September 27, 2022; (ii) Security Agreement, by and between Amyris, the Subsidiary

Grantors, and Perrara, dated as of March 10, 2023; (iii) Patent Security Agreement, by and between

Amyris, the Subsidiary Grantors, and Foris, dated as of June 5, 2023; (iv) Trademark Security

Agreement, by and between Amyris, the Subsidiary Grantors, and Foris, dated as of June 5, 2023;



                                                    9
DOCS_NY:48169.5 03703/001
             Case
               Case
                  23-11131-TMH
                     23-11131 Doc
                               Doc19-1
                                    75-1 Filed
                                            Filed
                                                08/10/23
                                                  08/14/23 Page
                                                             Page
                                                                1053
                                                                   of of
                                                                      60107




(v) Security Agreement, by and between Amyris, the Subsidiary Grantors, and Anesma, dated as

of June 5, 2023; (vi) Patent Security Agreement, by and between Amyris, the Subsidiary Grantors,

and Anesma, dated as of June 5, 2023; (vii) Trademark Security Agreement, by and between

Amyris, the Subsidiary Grantors, and Anesma, dated as of June 5, 2023; (viii) Patent Security

Agreement by and between Amyris, the Subsidiary Grantors, and Perrara, dated as of June 5, 2023;

(ix) Trademark Security Agreement by and between Amyris, the Subsidiary Grantors, and Perrara,

dated as of June 5, 2023; (x) Security Agreement by and between Amyris, the Subsidiary Grantors,

and Anjo dated as of June 29, 2023; (xi) Patent Security Agreement, by and between Amyris, the

Subsidiary Grantors, and Anjo, dated as of June 29, 2023; (xii) Trademark Security Agreement,

by and between Amyris, the Subsidiary Grantors, and Anjo, dated as of June 29, 2023; (xiii)

Security Agreement by and between Amyris, the Subsidiary Grantors, and Muirisc, dated as of

August 2, 2023; (xiv) Trademark Security Agreement, by and between Amyris, the Subsidiary

Grantors, and Muirisc, dated as of August 2, 2023; (xv) Patent Security Agreement, by and

between Amyris, the Subsidiary Grantors, and Muirisc, dated as of August 2, 2023; and (xvi)

Copyright Security Agreement, by and between Amyris, the Subsidiary Grantors, and Muirisc,

dated as of August 2, 2023 (all of the foregoing as further amended, supplemented, amended and

restated, or otherwise modified from time to time, the “Security Agreements”). Pursuant to the

Foris Prepetition Secured Loan Agreements, the Foris Prepetition Obligations are secured by valid,

binding, perfected first priority security interests in and liens (the “Foris Liens”) on the

“Collateral,” as defined in the Security Agreements (the “Prepetition Collateral”).

                 (iii)      Cash Collateral. Any and all of the Debtors’ cash, including the Debtors’

cash and other amounts on deposit or maintained in any account or accounts by the Debtors,

including any amounts generated by the collection of accounts receivable or other disposition of



                                                    10
DOCS_NY:48169.5 03703/001
             Case
               Case
                  23-11131-TMH
                     23-11131 Doc
                               Doc19-1
                                    75-1 Filed
                                            Filed
                                                08/10/23
                                                  08/14/23 Page
                                                             Page
                                                                1154
                                                                   of of
                                                                      60107




the Prepetition Collateral existing as of the Petition Date, and the proceeds of any of the foregoing

is the Foris Prepetition Secured Lenders’ cash collateral within the meaning of Bankruptcy Code

section 363(a) (the “Cash Collateral”).

                 (iv)       Bank Accounts. The Debtors acknowledge and agree that as of the Petition

Date, none of the Debtors has either opened or maintains any bank accounts other than the accounts

listed in the exhibit attached to any order authorizing the Debtors to continue to use the Debtors’

existing cash management system (the “Cash Management Order”).

                 (v)        Validity, Perfection, and Priority of Foris Liens and Prepetition

Obligations. Each of the Debtors acknowledges and agrees that: (a) as of the Petition Date, the

Foris Liens are valid, binding, enforceable, non-avoidable, and properly perfected liens on and

security interests in the Prepetition Collateral and were granted to, or for the benefit of, the Foris

Prepetition Secured Lenders for fair consideration and reasonably equivalent value; (b) as of the

Petition Date, the Foris Liens are subject and/or subordinate only to valid, perfected, and

unavoidable liens and security interests existing as of the Petition Date that are senior in priority

to the Foris Liens as permitted by the terms of the Foris Prepetition Secured Loan Agreements; (c)

the Foris Prepetition Obligations constitute legal, valid, binding, and non-avoidable obligations of

Amyris and the Subsidiary Guarantors enforceable in accordance with the terms of the applicable

Foris Prepetition Secured Loan Agreements; (d) no offsets, challenges, objections, defenses,

claims, or counterclaims of any kind or nature to any of the Foris Liens or Foris Prepetition

Obligations exist, and no portion of the Foris Liens or Foris Prepetition Obligations is subject to

any challenge or defense including impairment, set-off, right of recoupment, avoidance,

attachment, disallowance, disgorgement, reduction, recharacterization, recovery, subordination

(whether equitable or otherwise), attack, offset, defense, counterclaims, cross-claims, or “claim”



                                                    11
DOCS_NY:48169.5 03703/001
             Case
               Case
                  23-11131-TMH
                     23-11131 Doc
                               Doc19-1
                                    75-1 Filed
                                            Filed
                                                08/10/23
                                                  08/14/23 Page
                                                             Page
                                                                1255
                                                                   of of
                                                                      60107




(as defined in the Bankruptcy Code), pursuant to the Bankruptcy Code or applicable

nonbankruptcy law; (e) the Debtors and their estates have no claims, objections, challenges, causes

of actions, recoupments, counterclaims, cross-claims, setoff rights, and/or choses in action,

including “lender liability” causes of action, derivative claims, or avoidance claims under chapter

5 of the Bankruptcy Code, whether arising under applicable state law or federal law (including any

recharacterization, subordination, avoidance, disgorgement, recovery, or other claims arising

under or pursuant to sections 105, 510, or 541 through 553 of the Bankruptcy Code), against the

Foris Prepetition Secured Lenders, or any of their respective affiliates, agents, representatives,

attorneys, advisors, professionals, officers, directors, and employees arising out of, based upon, or

related to their loans under the Foris Prepetition Secured Loan Agreements, the Foris Prepetition

Obligations, or the Foris Liens; and (f) the Debtors waive, discharge, and release any right to

challenge any of the Foris Prepetition Secured Loans, the amount, allowance, character and

priority of the Debtors’ Obligations under the Foris Prepetition Secured Loans, and the validity,

binding, legal, enforceability, allowance, amount, characterization, extent and priority as to the

Foris Liens securing the Foris Prepetition Secured Loans.

                 (vi)       No Claims or Causes of Action. No claims or causes of action held by the

Debtors or their estates exist against, or with respect to, the Foris Prepetition Secured Lenders, the

Foris Prepetition Secured Loans, the Foris Prepetition Secured Loan Agreements, or under any

agreements, documents, facts or circumstances, by and among, or related to, the Debtors and the

Foris Prepetition Secured Lenders.

                 (vii)      Releases. Effective as of the date of entry of this Interim Order, as to the

Debtors only, subject solely to the rights and limitations set forth in Paragraphs 11 and 27 herein,

each of the Debtors and the Debtors’ estates, on its and their own behalf, on behalf of its and their



                                                     12
DOCS_NY:48169.5 03703/001
              Case
                Case
                   23-11131-TMH
                      23-11131 Doc
                                Doc19-1
                                     75-1 Filed
                                             Filed
                                                 08/10/23
                                                   08/14/23 Page
                                                              Page
                                                                 1356
                                                                    of of
                                                                       60107




respective past, present and future predecessors, heirs, successors, subsidiaries, and assigns,

hereby absolutely, unconditionally and irrevocably releases and forever discharges and acquits

the Foris Prepetition Secured Lenders, the DIP Secured Parties, and each of their respective

Representatives (as defined herein) (collectively, the “Released Parties”), from any and all (a)

obligations and liabilities to the Debtors (and their successors and assigns) and (b) claims,

counterclaims, demands, defenses, offsets, debts, accounts, contracts, liabilities, actions and causes

of action arising prior to the date of this Interim Order of any kind, nature or description, whether

matured or unmatured, known or unknown, asserted or unasserted, foreseen or unforeseen,

accrued or unaccrued, suspected or unsuspected, liquidated or unliquidated, pending or threatened,

arising in law or equity, upon contract or tort or under any state or federal law or otherwise, in

each case arising out of or related to (as applicable) the Foris Prepetition Secured Loan Agreements,

the DIP Documents, the obligations owing and the financial obligations made thereunder, the

negotiation thereof and of the transactions and agreements reflected thereby, and the obligations

and financial obligations made thereunder, in each case that the Debtors at any time had, now

have or may have, or that their predecessors, successors or assigns at any time had or hereafter

can or may have against any of the Released Parties for or by reason of any act, omission, matter,

cause or thing whatsoever arising at any time on or prior to the date of this Interim Order. For

the avoidance of doubt, nothing in this release shall relieve the DIP Lenders or the Debtors of

their Obligations under the DIP Documents from and after the date of this Interim Order.

        G.       Corporate Authority. Each Debtor has all requisite corporate power and authority

to execute and deliver the DIP Documents to which it is a party and to perform its obligations

thereunder.




                                                 13
DOCS_NY:48169.5 03703/001
              Case
                Case
                   23-11131-TMH
                      23-11131 Doc
                                Doc19-1
                                     75-1 Filed
                                             Filed
                                                 08/10/23
                                                   08/14/23 Page
                                                              Page
                                                                 1457
                                                                    of of
                                                                       60107




        H.       Findings Regarding the DIP Facility and Use of Cash Collateral.

                 (i)        The Debtors have an immediate and critical need to obtain the DIP Facility

and to use Cash Collateral (solely to the extent consistent with the Budget (subject to Permitted

Variances as set forth in this Interim Order and the DIP Documents)) to, among other things, (a)

permit the orderly continuation of their businesses; (b) maintain business relationships with

vendors, suppliers, and customers; (c) make payroll; (d) fund expenses of the Chapter 11 Cases;

and (e) satisfy other working capital, operational, and general corporate needs. The Debtors do

not have sufficient sources of working capital and financing to operate their businesses in the

ordinary course throughout the Chapter 11 Cases without access to the DIP Facility and authorized

use of Cash Collateral. In the absence of the DIP Facility and the use of Cash Collateral, the

Debtors’ business and estates would suffer immediate and irreparable harm. Access to the DIP

Facility will provide the Debtors with sufficient working capital and liquidity to operate during

these Chapter 11 Cases and is vital to the preservation and maintenance of the Debtors’ business

and assets.

                 (ii)       The Debtors are unable to obtain financing on more favorable terms from

sources other than the DIP Lenders under the DIP Documents and are unable to obtain adequate

unsecured credit allowable under section 503(b)(1) of the Bankruptcy Code as an administrative

expense. The Debtors also are unable to obtain secured credit allowable under sections 364(c)(1),

364(c)(2), and 364(c)(3) of the Bankruptcy Code without granting to the DIP Secured Parties, the

DIP Liens and the DIP Superpriority Claims (each as defined herein), in each case subject to the

Carve-Out to the extent set forth herein, under the terms and conditions set forth in this Interim

Order and the DIP Documents.




                                                    14
DOCS_NY:48169.5 03703/001
             Case
               Case
                  23-11131-TMH
                     23-11131 Doc
                               Doc19-1
                                    75-1 Filed
                                            Filed
                                                08/10/23
                                                  08/14/23 Page
                                                             Page
                                                                1558
                                                                   of of
                                                                      60107




                 (iii)      As a condition to entry into the DIP Documents, the extension of credit

under the DIP Facility, and authorization to use Cash Collateral, the Debtors, the DIP Secured

Parties, and the Foris Secured Prepetition Lenders have agreed that as of and commencing on the

date of the Interim Hearing, the Debtors shall utilize the proceeds of the DIP Collateral in

accordance with this Interim Order.

                 (iv)       The DIP Facility has been negotiated in good faith and at arm’s length

among the Debtors and the DIP Secured Parties, and all of the Debtors’ obligations and

indebtedness arising under, in respect of, or in connection with the DIP Facility and the DIP

Documents including, without limitation, all loans made to and guarantees issued by the Debtors

pursuant to the DIP Documents and all other obligations under the DIP Documents (collectively,

the “DIP Obligations”) shall be deemed to have been extended by the DIP Secured Parties in good

faith as that term is used in section 364(e) of the Bankruptcy Code and in express reliance upon

the protections offered by section 364(e) of the Bankruptcy Code. The DIP Obligations, the DIP

Liens, and the DIP Superpriority Claims shall be entitled to the full protection of section 364(e) of

the Bankruptcy Code in the event that this Interim Order or any provision hereof is vacated,

reversed, or modified on appeal or otherwise, and any liens or claims granted to, or payments made

to, or payments made to, the DIP Secured Parties hereunder arising prior to the effective date of

any such vacatur, reversal, or modification of this Interim Order shall be governed in all respects

by the original provisions of this Interim Order, including entitlement to all rights, remedies,

privileges, and benefits granted herein.

                 (v)        The Debtors have prepared and delivered to the DIP Secured Parties an

initial budget (the “Initial Budget”) covering the first 60 days of these Chapter 11 Cases, attached

hereto as Exhibit B. The Initial Budget reflects, among other things, the anticipated sources and



                                                   15
DOCS_NY:48169.5 03703/001
             Case
               Case
                  23-11131-TMH
                     23-11131 Doc
                               Doc19-1
                                    75-1 Filed
                                            Filed
                                                08/10/23
                                                  08/14/23 Page
                                                             Page
                                                                1659
                                                                   of of
                                                                      60107




uses of cash for each calendar week, in form and substance satisfactory to the DIP Secured Parties.

The Initial Budget may be modified, amended, and updated from time to time in accordance with

the DIP Documents, and once approved by the DIP Secured Parties, shall supplement and replace

the Initial Budget (the Initial Budget, and each subsequent approved budget, shall constitute

without duplication, the “Budget). The Debtors believe that the Initial Budget is reasonable under

the facts and circumstances of these Chapter 11 Cases. The DIP Secured Parties are relying, in

part, upon the Debtors’ agreement to comply with the Budget, the DIP Documents, and this Interim

Order in determining to enter into DIP Facility as provided for in this Interim Order.

                 (vi)       The Foris Prepetition Secured Lenders are entitled to the rights and benefits

of section 552(b) of the Bankruptcy Code and, subject to and upon entry of the Final Order, the

“equities of the case” exception under section 552(b) of the Bankruptcy Code shall not apply to

the Foris Prepetition Secured Lenders with respect to proceeds, product, offspring, or profits with

respect to any of the Prepetition Collateral.

                 (vii)      In light of the financing made available under the DIP Facility to the

Debtors to fund the ongoing working capital requirements to operate and maintain their businesses

in the ordinary course and preserve value, the DIP Secured Parties and the Foris Prepetition

Secured Lenders are entitled to the benefit of a waiver of the rights of the Debtors under section

506(c) of the Bankruptcy Code and the Debtors waive any right to surcharge the DIP Collateral,

and upon entry of the Final Order, to the extent provided therein, the Debtors waive any rights to

surcharge the Prepetition Collateral, in each case, pursuant to section 506(c) of the Bankruptcy

Code.

                 (viii)     The DIP Secured Parties and the Foris Prepetition Secured Lenders are

entitled to the rights and benefits of section 363(k) of the Bankruptcy Code and, subject to and



                                                     16
DOCS_NY:48169.5 03703/001
              Case
                Case
                   23-11131-TMH
                      23-11131 Doc
                                Doc19-1
                                     75-1 Filed
                                             Filed
                                                 08/10/23
                                                   08/14/23 Page
                                                              Page
                                                                 1760
                                                                    of of
                                                                       60107




upon entry of the Final Order, the DIP Secured Parties and the Foris Prepetition Secured Lenders

shall be entitled to credit bid their respective secured claims in connection with any sale of the DIP

Collateral.

        I.       Good Cause Shown; Best Interest. Good cause has been shown for entry of this

Interim Order, and entry of this Interim Order is in the best interests of the Debtors’ respective

estates and creditors as its implementation will, among other things, allow for the continued

operation of the Debtors’ existing business and enhance the value of the Debtors’ estates and

assets. Absent granting the relief sought by this Interim Order, the Debtors’ estates will be

immediately and irreparably harmed.

        J.       Immediate Entry. Sufficient cause exists for immediate entry of this Interim Order

pursuant to Bankruptcy Rules 4001(b)(2), (c)(2), and 6003. Absent granting the relief set forth in

this Interim Order, the Debtors’ estates will be immediately and irreparably harmed as they will

have no ability to pay employees or suppliers, honor contractual obligations, or otherwise maintain

operations and thus would be forced to liquidate. Entry into the DIP Facility and the use of

Prepetition Collateral (including Cash Collateral), in accordance with this Interim Order and the

DIP Documents are therefore in the best interests of the Debtors’ estates and consistent with the

Debtors’ sound exercise of their fiduciary duties.

        Based upon the foregoing findings and conclusions, the Motion and the record before the

Court with respect to the Motion, and after due consideration and good and sufficient cause

appearing therefor,




                                                 17
DOCS_NY:48169.5 03703/001
             Case
               Case
                  23-11131-TMH
                     23-11131 Doc
                               Doc19-1
                                    75-1 Filed
                                            Filed
                                                08/10/23
                                                  08/14/23 Page
                                                             Page
                                                                1861
                                                                   of of
                                                                      60107




        IT IS HEREBY ORDERED THAT:

        1.       DIP Facility Approved on Interim Basis. The DIP Motion is granted as set forth

herein on an interim basis, and the use of Cash Collateral on an interim basis is authorized, subject

to the terms of this Interim Order.

        2.       Objections Overruled. Any objections, reservations of rights, or other statements

with respect to entry of the Interim Order, to the extent not withdrawn or resolved, are overruled

on the merits. This Interim Order shall become effective immediately upon its entry.

        3.       Authorization of the DIP Facility and the DIP Documents.

                 (a)        The Debtors are hereby immediately authorized and empowered to execute,

deliver, enter into, and perform all of their obligations under the DIP Documents, and such

additional documents, instruments, certificates and agreements as may be reasonably required or

requested by the DIP Secured Parties to implement the terms or effectuate the purposes of this

Interim Order and the DIP Documents. In addition, the Debtors are authorized and empowered to

cause the non-Debtor subsidiaries to enter into any DIP Documents. To the extent not entered into

as of the date hereof, the Debtors and the DIP Secured Parties shall negotiate the DIP Documents

in good faith, and in all respects such DIP Documents shall be, subject to the terms of this Interim

Order and the Final Order, consistent with the terms of the DIP Credit Agreement and otherwise

acceptable to the DIP Secured Parties. Upon entry of this Interim Order, the Interim Order, the

DIP Credit Agreement, and other DIP Documents shall govern and control the DIP Facility. Upon

entry of this Interim Order and until execution and delivery of all DIP Documents required by the

DIP Secured Parties, the Debtors and the DIP Secured Parties shall be bound by this Interim Order

and all executed DIP Documents shall govern and control the DIP Facility. The DIP Secured

Parties are hereby authorized to execute and enter into its respective obligations under the DIP



                                                   18
DOCS_NY:48169.5 03703/001
             Case
               Case
                  23-11131-TMH
                     23-11131 Doc
                               Doc19-1
                                    75-1 Filed
                                            Filed
                                                08/10/23
                                                  08/14/23 Page
                                                             Page
                                                                1962
                                                                   of of
                                                                      60107




Documents, subject to the terms and conditions set forth therein and this Interim Order. Upon

execution and delivery thereof, the DIP Documents shall constitute valid and binding obligations

of the Debtors enforceable in accordance with their terms. To the extent there exists any conflict

among the terms and conditions of the DIP Motion, the DIP Documents, and this Interim Order,

the terms and conditions of this Interim Order shall govern and control. To the extent there is a

conflict between the terms and conditions of the DIP Motion and the DIP Documents, the terms

and conditions of the DIP Documents shall govern.

                 (b)        Upon entry of this Interim Order, the Borrowers are hereby authorized to

borrow, and the Guarantors are hereby authorized to guaranty, borrowings up to an aggregate

principal amount of the Initial Borrowings in DIP Loans, subject to the terms of the DIP Credit

Agreement and in accordance with this Interim Order.

                 (c)        In accordance with the terms of this Interim Order and the DIP Documents,

proceeds of the DIP Loans shall be used solely for the purposes permitted under the DIP

Documents and this Interim Order, and in accordance with the Budget (subject to Permitted

Variances as set forth in this Interim Order and the DIP Documents).

                 (d)        In furtherance of the foregoing and without further approval of this Court,

each Debtor is authorized, and the Automatic Stay imposed by section 362 of the Bankruptcy Code

is hereby lifted to the extent necessary to allow each Debtor, to perform all acts and to make,

execute, and deliver all instruments and documents (including, without limitation, the DIP Credit

Agreement, any security and pledge agreement, and any mortgage to the extent contemplated

thereby, or the DIP Credit Agreement), and to pay on the DIP Termination Date (as defined in the

DIP Credit Agreement) all fees (including all amounts owed to the DIP Lenders and the DIP Agent

under the DIP Documents), that may be reasonably required or necessary for the Debtors’



                                                     19
DOCS_NY:48169.5 03703/001
             Case
               Case
                  23-11131-TMH
                     23-11131 Doc
                               Doc19-1
                                    75-1 Filed
                                            Filed
                                                08/10/23
                                                  08/14/23 Page
                                                             Page
                                                                2063
                                                                   of of
                                                                      60107




performance of their obligations under the DIP Facility including, without limitation:

                            (1)    the execution, delivery, and performance of the DIP Documents,

                            including, without limitation, the DIP Credit Agreement, any security and

                            pledge agreement, and any mortgage to the extent contemplated thereby;

                            (2)    the execution, delivery, and performance of one or more

                            amendments, waivers, consents, or other modifications to and under the DIP

                            Documents (in each case in accordance with the terms of the applicable DIP

                            Documents and in such form as the Debtors and the DIP Secured Parties

                            may agree), it being understood that no further approval of the Court shall

                            be required for amendments, waivers, consents, or other modifications to

                            and under the DIP Documents or the DIP Obligations that do not shorten

                            the maturity of the extensions of credit thereunder or modify the

                            commitments or the rate of interest or other amounts payable thereunder;

                            (3)    the non-refundable payment as of the DIP Termination Date to each

                            of and/or on behalf of the DIP Secured Parties, as applicable, of the fees

                            referred to in the DIP Documents, including all fees and other amounts

                            owed to the DIP Agent and the DIP Lenders; and

                            (4)    the performance of all other acts required under or in connection

                            with the DIP Documents.

                 (e)        Upon entry of this Interim Order, the DIP Lenders shall have the right to

sell, assign, or otherwise transfer any interest in the DIP Facility, or any of the obligations

thereunder, or any portion thereof, and to syndicate the DIP Loans (or any portion thereof), to any

person or persons selected by each DIP Lender in its sole discretion and subject to the terms of the



                                                     20
DOCS_NY:48169.5 03703/001
             Case
               Case
                  23-11131-TMH
                     23-11131 Doc
                               Doc19-1
                                    75-1 Filed
                                            Filed
                                                08/10/23
                                                  08/14/23 Page
                                                             Page
                                                                2164
                                                                   of of
                                                                      60107




DIP Credit Agreement.

                 (f)        Without the prior written consent of the DIP Lender, the Borrowers shall

not sell, transfer, lease, encumber or otherwise dispose of any portion of the DIP Collateral or

interest in the DIP Facility, except as may be expressly permitted by the DIP Documents and this

Interim Order.

                 (g)        The Guarantors hereby are authorized and directed to jointly, severally, and

unconditionally guarantee, and upon entry of this Interim Order shall be deemed to have

guaranteed, in full, all of the DIP Obligations of the Borrowers.

                 (h)        DIP Obligations. Upon entry of this Interim Order and the execution of the

DIP Documents, the DIP Obligations and the DIP Liens shall constitute valid, binding, and non-

avoidable obligations of the Borrowers and Guarantors, enforceable against the Borrowers or

Guarantors or their estates in accordance with the terms of the DIP Documents and this Interim

Order, and any successors thereto, including and trustee appointed in the Chapter 11 Cases, or in

any case under chapter 7 of the Bankruptcy Code upon conversion of any of the Chapter 11 Cases,

or in any other proceedings superseding or related to any of the foregoing (collectively, the

“Successor Cases”). Upon execution and delivery of the DIP Documents, the DIP Obligations

will include all loans and any other indebtedness or obligations, contingent or absolute, which may

now or from time to time be owing by any of the Borrowers or Guarantors to any of the DIP

Secured Parties under, or secured by, the DIP Documents or this Interim Order, including all

principal, interest, costs, fees, expenses, premiums, indemnities and other amounts under the DIP

Documents.       No obligation, payment, transfer, or grant of security under the DIP Credit

Agreement, the other DIP Documents, or this Interim Order to the DIP Secured Parties shall be

stayed, restrained, voidable, avoidable, or recoverable under the Bankruptcy Code or under any



                                                     21
DOCS_NY:48169.5 03703/001
             Case
               Case
                  23-11131-TMH
                     23-11131 Doc
                               Doc19-1
                                    75-1 Filed
                                            Filed
                                                08/10/23
                                                  08/14/23 Page
                                                             Page
                                                                2265
                                                                   of of
                                                                      60107




applicable law (including without limitation, under sections 502(d), 548, or 549 of the Bankruptcy

Code or under any applicable state Uniform Fraudulent Transfer Act, Uniform Fraudulent

Conveyance Act, or similar statute or common law), or subject to any defense, reduction, setoff,

recoupment, or counterclaim. All DIP Obligations shall be allowed claims against the Debtors’

estates without the need to file a proof of claim.

        4.       Budget and Variance Reporting.

                 (a)        The Initial Budget, covering the first 60 days of these Chapter 11 Cases,

shall be approved pursuant to this Interim Order. The Debtors shall thereafter prepare an updated

Budget which shall be approved pursuant to the Final Order. By 5:00 p.m. Pacific Time on the

date that is two weeks after the date the Final Order approving the updated Budget is entered (or

such date as mutually agreed in writing (email being sufficient) by the Debtors and DIP Secured

Parties), and every two weeks thereafter, the Debtors shall prepare and provide the DIP Secured

Parties with an updated Budget. The DIP Agent, in its reasonable discretion, shall have the right

to approve or object to any such updated Budget by providing the Borrowers specific notice thereof

within three (3) business days after the delivery by the Borrowers of any such update or amendment

(“Updated Budget Notice Deadline”). To the extent the DIP Agent objects to the updated Budget

by the Updated Budget Notice Deadline, the then existing Budget shall continue to constitute the

applicable Budget until such time as an update or amendment is approved by the DIP Agent.

                            (b)    By 5:00 p.m. Pacific Time on August 16, 2023, and then on

Wednesday of every week thereafter, the Debtors shall deliver to the DIP Agent a Budget variance

report and reconciliation (the “Approved Budget Variance Report”) comparing on a line item by

line item basis: (x) total receipts for such period to total receipts for such period as set forth in the

Budget on a weekly and cumulative basis; (y) total disbursements for such period to total



                                                    22
DOCS_NY:48169.5 03703/001
             Case
               Case
                  23-11131-TMH
                     23-11131 Doc
                               Doc19-1
                                    75-1 Filed
                                            Filed
                                                08/10/23
                                                  08/14/23 Page
                                                             Page
                                                                2366
                                                                   of of
                                                                      60107




disbursements for such period as set forth in the Budget on a weekly and cumulative basis; together

with a statement certifying compliance with the Permitted Variances (as defined herein) for such

period (each a “Measuring Period”) and explaining in reasonable detail any Material Variance (as

defined herein) (each such report, a “Variance Report,” which shall be in a form satisfactory to the

DIP Agent). For purposes of each Measuring Period, the Borrowers shall calculate on a line item

by line item basis: (x) the numerical difference between total receipts for such period to total

receipts for such period as set forth in the Budget for the then applicable week and on a cumulative

basis (the “Receipts Variance”), and the percentage such Receipts Variance (as an absolute

amount) is of the applicable week and cumulative basis budgeted amount for receipts for such

Measuring Period (the “Receipts Variance Percentage”) and (y) the numerical amount by which

total disbursements for such Measuring Period are greater than total disbursements, respectively,

on a line item by line item basis, for such Measuring Period as set out in the Budget for the then

applicable week and on a cumulative basis for such Measuring Period (the “Disbursements

Variance”), and the percentage such Disbursements Variance (as an absolute amount) is of the

applicable week and cumulative budgeted amount for disbursements for such Measuring Period

(the “Disbursements Variance Percentage”). For purposes of this Interim Order, (w) “receipts”

shall not include any Initial Borrowing or Subsequent Borrowing under the DIP Facility or any

proceeds from the sale of DIP Collateral; (x) the calculation of the Disbursements Variance shall

exclude any amounts in the Budget related to professional fees for the Debtors and the Committee,

which, at all times, for purposes of any Initial Borrowing or Subsequent Borrowing under the DIP

Facility, shall not exceed amounts set forth in the then approved Budget, (y) a “Material Variance”

shall mean on a line item by line item basis with respect to each Measuring Period either (i) a

Receipts Variance Percentage greater than 15% or (ii) a Disbursements Variance Percentage



                                                23
DOCS_NY:48169.5 03703/001
             Case
               Case
                  23-11131-TMH
                     23-11131 Doc
                               Doc19-1
                                    75-1 Filed
                                            Filed
                                                08/10/23
                                                  08/14/23 Page
                                                             Page
                                                                2467
                                                                   of of
                                                                      60107




greater than 10%, and (z) “Permitted Variance” shall mean on a line item by line item basis with

respect to each Measuring Period: (i) if the Receipts Variance is a negative number, the Receipts

Variance Percentage shall not be greater than 25% measured on a four (4) week cumulative basis

and (ii) if the Disbursements Variance is a positive number, the Disbursements Variance

Percentage shall not be greater than (A) 20% measured on a two (2) week and cumulative basis

and (B) 15% measured on a four (4) week and cumulative basis. For purposes hereof, “line item

by line item” shall mean each line of the Budget (excluding any amounts in the Budget related to

professional fees for the Debtors and the Committee); provided, however, for line items labeled

“Other AP Disbursements”, “InterCo disbursements for Goods”, and “InterCo Loan”, “line item

by line item” shall be with references to the line items set forth in the supporting schedules

provided to the DIP Secured Parties in connection with the Budget.

        5.       Access to Records. The Debtors shall provide the advisors to the DIP Secured

Parties with all reporting and other information required to be provided to the DIP Agent or DIP

Lenders under the DIP Documents. In addition to, and without limiting, whatever rights to access

the DIP Secured Parties have under the DIP Documents, upon reasonable notice to Debtors’

counsel (email being sufficient), the Debtors shall permit representatives, agents, and employees

of the DIP Secured Parties to have reasonable access to (i) inspect the Debtors’ assets, and (ii) all

information (including historical information and the Debtors’ books and records) and personnel,

including regularly scheduled meetings as mutually agreed with senior management of the Debtors

and other company advisors (during normal business hours), and the DIP Secured Parties shall be

provided with access to all information they shall reasonably request, excluding any information

for which confidentiality is owed to third parties, information subject to attorney client or similar

privilege, or where such disclosure would not be permitted by any applicable requirements of law.



                                                 24
DOCS_NY:48169.5 03703/001
             Case
               Case
                  23-11131-TMH
                     23-11131 Doc
                               Doc19-1
                                    75-1 Filed
                                            Filed
                                                08/10/23
                                                  08/14/23 Page
                                                             Page
                                                                2568
                                                                   of of
                                                                      60107




        6.       Carve-Out.

                 (a)        Priority of Carve-Out. Subject to the terms and conditions contained in this

Paragraph 6, each of the DIP Liens, DIP Superpriority Claims, Foris Liens, Foris Prepetition

Obligations, Adequate Protection Liens, and Adequate Protection Superpriority Claims shall be

subject and subordinate to payment of the Carve-Out. The Carve-Out shall have such priority over

all assets of the Debtors, including any DIP Collateral, Prepetition Collateral, and any funds in the

account into which the DIP Loans are funded. The Carve-Out shall not reduce or affect in any

respect the obligations owing to the DIP Secured Parties or the Foris Prepetition Secured Lenders.

                 (b)        Definition of Carve-Out. As used in this Interim Order, the “Carve-Out”

means the sum of (i) all fees required to be paid to the Clerk of the Court and to the U.S. Trustee

under section 1930(a) of title 28 of the United States Code plus interest at the statutory rate

(without regard to the notice set forth in (iv) below); (ii) all reasonable fees and expenses up to

$100,000 incurred by a trustee under section 726(b) of the Bankruptcy Code (without regard to the

notice set forth in (iii) below); (iii) all obligations due and owing under any key employee incentive

plan and retention plan consistent with the Budget, consented to by the DIP Agent, and approved

by the Bankruptcy Court; (iv) to the extent allowed at any time, whether by interim order,

procedural order, or otherwise, and whether allowed before or after delivery of a Trigger Notice,

all unpaid fees and expenses (the “Allowed Professional Fees”) incurred by persons or firms

retained by the Debtors pursuant to section 327, 328, or 363 of the Bankruptcy Code (the “Debtors’

Professionals”) and the Committee pursuant to section 328 or 1103 of the Bankruptcy Code (the

“Committees’ Professionals” and, together with the Debtors’ Professionals, the “Professional

Persons”), but subject to the then Budget for each Professional Person, as approved by the DIP

Agent, for the period of time from the Petition Date to the date of a Trigger Notice; and (v) Allowed



                                                     25
DOCS_NY:48169.5 03703/001
               Case
                 Case
                    23-11131-TMH
                       23-11131 Doc
                                 Doc19-1
                                      75-1 Filed
                                              Filed
                                                  08/10/23
                                                    08/14/23 Page
                                                               Page
                                                                  2669
                                                                     of of
                                                                        60107




Professional Fees of the Debtors Professionals and Committee Professionals in an amount not to

exceed $750,000 incurred after the delivery of a Trigger Notice (this clause (v), the “Carve-Out

Cap”), less the amount of any prepetition retainers received by such Professional Persons and not

previously returned or applied to Allowed Professionals Fees; provided, however, nothing herein

shall be construed to impair any party’s ability to object to court approval of the fees, expenses,

reimbursement of expenses or compensation of the Debtors’ Professionals or the Committees’

Professionals. For purposes of this Paragraph 6, “Trigger Notice” shall mean a written notice

delivered by the DIP Agent to the U.S. Trustee and counsel to the Debtors and Committee

describing the Event of Default that is alleged to continue under the DIP Documents (or after the

payment in full of the DIP Obligations, delivered by the Prepetition Lenders under the Foris

Prepetition Secured Loan Agreements describing the reason for termination of the use of Cash

Collateral).

                 (c)        Carve-Out Account. On the day on which a Trigger Notice is given by the

DIP Agent, and prior to (and not conditioned upon, or subject to any delay on account of) the

payment to any of the DIP Agent, DIP Lenders or the Foris Prepetition Secured Lenders on account

of the DIP Obligations, the Foris Prepetition Obligations, any Adequate Protection Obligations (as

defined herein), claims or liens, or otherwise, the Debtors shall immediately, and be authorized

and required to, deposit, as soon as reasonably practicable, in a non-interest bearing trust fund

account of the Debtors’ general bankruptcy counsel for the benefit of Professional Persons not

subject to the control of the DIP Agent, DIP Lenders or the Foris Prepetition Secured Lenders (the

“Carve-Out Account”), an amount equal to the Carve-Out Cap. If any amounts remain in the

Carve-Out Account after payment of Professional Persons in accordance with the Carve-Out

(subject to the Budget), such amounts shall be returned to the DIP Agent and shall be subject to



                                                   26
DOCS_NY:48169.5 03703/001
             Case
               Case
                  23-11131-TMH
                     23-11131 Doc
                               Doc19-1
                                    75-1 Filed
                                            Filed
                                                08/10/23
                                                  08/14/23 Page
                                                             Page
                                                                2770
                                                                   of of
                                                                      60107




the DIP Liens and Adequate Protection Liens; provided that to the extent the DIP Loans are

indefeasibly paid in full at the time such amounts are to be returned, such amounts shall be returned

to the Foris Prepetition Secured Lenders. Prior to the date of delivery of a Trigger Notice, the

Debtors shall be authorized to make weekly deposits into the Carve-Out Account in accordance

with the Budget. Funds which are on deposit in the Carve-Out Account shall be available only to

satisfy obligations benefitting from the Carve-Out, and the DIP Agent, DIP Lenders and the Foris

Prepetition Secured Lenders, each on behalf of itself and the relevant secured parties, (i) shall not

sweep or foreclose on cash of the Debtors necessary to fund the Carve-Out Account, (ii) shall

subordinate their security interests and liens in the Carve-Out Account to the payment of the

Allowed Professional Fees in accordance with the Carve-Out and the Carve-Out Cap, and shall

only have a security interest upon, and shall only have a right of enforcement against, any residual

interest in the Carve-Out Account available following satisfaction in full in cash of all obligations

benefitting from the Carve-Out Account; and (iii) waive, and agree not to assert, any right of

disgorgement with respect to the payment of the Allowed Professional Fees.

                 (d)        Trust Fund Amounts. Notwithstanding the delivery and effectiveness of a

Trigger Notice, the Debtors shall be entitled to use Cash Collateral to pay payroll expenses that

have accrued through the date of the Trigger Notice and trust fund taxes that have accrued through

the date of the Trigger Notice, each in an amount included in the Budget through the date of the

Trigger Notice but which such amounts remain unpaid (the “Trust Fund Amounts”).

                 (e)        Compensation and Reimbursement of Expenses. Notwithstanding the

foregoing, so long as no Carve-Out Trigger Notice has been issued by the DIP Agent, the

Borrowers shall be permitted to pay compensation and reimbursement of expenses Allowed and

payable under sections 330 and 331 of the Bankruptcy Code but solely to the extent such amounts



                                                   27
DOCS_NY:48169.5 03703/001
             Case
               Case
                  23-11131-TMH
                     23-11131 Doc
                               Doc19-1
                                    75-1 Filed
                                            Filed
                                                08/10/23
                                                  08/14/23 Page
                                                             Page
                                                                2871
                                                                   of of
                                                                      60107




are incurred in accordance with and provide for in the Budget, as the same may be due and payable

and otherwise allowed and payable by order of the Bankruptcy Court, and the same shall not reduce

the Carve-Out amount.

                 (f)        Payment of Allowed Professional Fees. For the avoidance of doubt, the

Carve-Out shall be secured by a senior perfected first lien on the DIP Collateral, including the

Carve-Out Account, and the DIP Agent, DIP Lenders, and the Foris Prepetition Secured Lenders

shall have no right to seek disgorgement of any Allowed Professional Fees paid and allowed by a

final order, provided, however, that, in connection with the determination by the Bankruptcy Court

of the Allowed Professional Fees, the DIP Agent, DIP Lenders and Foris Prepetition Secured

Lenders agree that they will not challenge such allowance (or seek disgorgement) on account of

any administrative claim, or super-priority claim, they may have or assert; provided, further, that

all rights of the DIP Agent, DIP Lenders, and the Foris Prepetition Secured Lenders are expressly

reserved with respect to the reasonableness and allowance of any fees and expenses of any

Professional Person incurred in connection with the Chapter 11 Cases or any Successor Cases

under any chapter of the Bankruptcy Code.

                 (g)        No Direct Obligation To Pay Allowed Professional Fees. None of the DIP

Agent, DIP Lenders, or the Foris Prepetition Secured Lenders shall be responsible for the payment

or reimbursement of any fees or disbursements of any Professional Person incurred in connection

with the Chapter 11 Cases or any Successor Cases under any chapter of the Bankruptcy Code.

Nothing in this Interim Order or otherwise shall be construed to obligate the DIP Agent, the DIP

Lenders, or the Foris Prepetition Secured Lenders, in any way, to pay compensation to, or to

reimburse expenses of, any Professional Person or to guarantee that the Debtors have sufficient

funds to pay such compensation or reimbursement.



                                                   28
DOCS_NY:48169.5 03703/001
             Case
               Case
                  23-11131-TMH
                     23-11131 Doc
                               Doc19-1
                                    75-1 Filed
                                            Filed
                                                08/10/23
                                                  08/14/23 Page
                                                             Page
                                                                2972
                                                                   of of
                                                                      60107




        7.       DIP Superpriority Claims. Pursuant to, and to the extent provided by, section

364(c)(1) of the Bankruptcy Code, but subject to the Carve-Out, all of the DIP Obligations shall

constitute allowed superpriority administrative expense claims against each of the Debtors’ estates

(the “DIP Superpriority Claims”) (without the need to file any proof of claim) with priority over

any and all administrative expenses, Adequate Protection Claims, diminution claims, and all other

claims against the Debtors, now existing or hereafter arising, of any kind whatsoever, including,

without limitation, all administrative expenses of the kind specified in sections 503(b) and 507(b)

of the Bankruptcy Code, and over any and all administrative expenses or other claims arising under

sections 105, 326, 327, 328, 330, 331, 361, 362, 363, 364, 365, 503(b), 506(c), 507(a), 507(b),

726, 1113, or 1114 of the Bankruptcy Code or otherwise, which allowed claims shall for the

purposes of section 1129(a)(9)(A) of the Bankruptcy Code be considered administrative expenses

allowed under section 503(b) of the Bankruptcy Code and which shall be payable from and have

recourse to all prepetition and postpetition property of the Debtors and all proceeds thereof,

including, without limitation, subject to entry of the Final Order, to the extent provided therein,

any proceeds or property recovered in connection with the pursuit of claims or causes of action

arising under chapter 5 of the Bankruptcy Code (the “Avoidance Actions Proceeds”), subject only

to the payment of the Carve-Out. Except as set forth in this Interim Order or the Final Order, no

other superpriority claims shall be granted or allowed in these Chapter 11 Cases.

        8.       DIP Liens. As security for the DIP Obligations, effective and perfected upon the

date of this Interim Order, and without the necessity of the execution, recordation of filings by the

Debtors of mortgages, security agreements, control agreements, pledge agreements, financing

statements, or other similar documents, or the possession or control by the DIP Agent or any DIP

Lenders of, or over, any DIP Collateral, the following security interests and liens are hereby



                                                 29
DOCS_NY:48169.5 03703/001
             Case
               Case
                  23-11131-TMH
                     23-11131 Doc
                               Doc19-1
                                    75-1 Filed
                                            Filed
                                                08/10/23
                                                  08/14/23 Page
                                                             Page
                                                                3073
                                                                   of of
                                                                      60107




granted by the Debtors to the DIP Agent, for the benefit of the DIP Secured Parties, subject to (x)

the Permitted Liens (as defined in the DIP Credit Agreement) and (y) the Carve-Out (all such liens

and security interests granted to the DIP Agent, for the benefit of the DIP Lenders, pursuant to this

Interim Order and the DIP Documents, the “DIP Liens”):

                 (a)        First Priority Lien on Unencumbered Property. Pursuant to section

364(c)(2) of the Bankruptcy Code, a valid, binding, continuing, enforceable, non-avoidable,

automatically and properly perfected, first priority security interest in and lien upon all tangible

and intangible prepetition and postpetition property of the Debtors, whether existing on the

Petition Date or thereafter acquired, and the proceeds, products, rents, and profits thereof, that,

on or as of the Petition Date, is not subject to (i) a valid, perfected and non-avoidable lien or (ii)

a valid and non-avoidable lien in existence as of the Petition Date that is perfected subsequent to

the Petition Date as permitted by section 546(b) of the Bankruptcy Code, including, without

limitation, any and all unencumbered cash of the Debtors and any investment of cash, inventory,

accounts receivable, other rights to payment whether arising before or after the Petition Date,

contracts, properties, plants, fixtures, machinery, equipment, general intangibles, documents,

instruments, securities, goodwill, causes of action, insurance policies and rights, claims and

proceeds from insurance, commercial tort claims and claims that may constitute commercial tort

claims (known and unknown), chattel paper (including electronic chattel paper and tangible

chattel paper), interests in leaseholds, real properties, deposit accounts, patents, copyrights,

trademarks, trade names, rights under license agreements and other intellectual property, equity

interests of subsidiaries, joint ventures and other entities, wherever located, and the proceeds,

products, rents and profits of the foregoing, whether arising under section 552(b) of the

Bankruptcy Code or otherwise (the “Prepetition Unencumbered Collateral”), in each case other



                                                  30
DOCS_NY:48169.5 03703/001
             Case
               Case
                  23-11131-TMH
                     23-11131 Doc
                               Doc19-1
                                    75-1 Filed
                                            Filed
                                                08/10/23
                                                  08/14/23 Page
                                                             Page
                                                                3174
                                                                   of of
                                                                      60107




than the Avoidance Actions Proceeds (but, for the avoidance of doubt, subject to entry of the

Final Order, to the extent provided therein, the Prepetition Unencumbered Collateral shall include

the Avoidance Actions Proceeds).

                 (b)        Liens Priming the Foris Liens. Pursuant to section 364(d)(1) of the

Bankruptcy Code, a valid, binding, continuing, enforceable, non-avoidable, automatically and

properly perfected, first priority priming security interest in and lien upon the Prepetition

Collateral, including, without limitation, all tangible and intangible prepetition and postpetition

property of the Debtors subject to the Foris Liens, regardless of where located, regardless of

whether or not any liens on such assets are voided, avoided, invalidated, lapsed, or unperfected

(the “Priming Liens”), which Priming Liens shall prime in all respects the interests of the Foris

Prepetition Secured Lenders arising from the current and future liens of the Foris Prepetition

Secured Lenders (the “Primed Liens”). The Foris Prepetition Secured Lenders have consented to

the Primed Liens.

                 (c)        Liens Junior to Certain Other Liens. Pursuant to section 364(c)(3) of the

Bankruptcy Code, a valid, binding, continuing, enforceable, non-avoidable, automatically and

properly perfected, security interest in and lien upon all tangible and intangible prepetition and

postpetition property of the Debtors that is subject to (i) valid, perfected and non-avoidable senior

liens in existence immediately prior to the Petition Date (other than the Primed Liens) or (ii) valid

and non-avoidable senior liens (other than the Primed Liens) in existence immediately prior to

the Petition Date that are perfected subsequent to the Petition Date, as permitted by section

546(b) of the Bankruptcy Code (the “Other Encumbered Prepetition Collateral”), which shall be

(x) immediately junior and subordinate to any valid, perfected and non-avoidable liens (other

than the Primed Liens) in existence immediately prior to the Petition Date, and (y) any such valid



                                                    31
DOCS_NY:48169.5 03703/001
             Case
               Case
                  23-11131-TMH
                     23-11131 Doc
                               Doc19-1
                                    75-1 Filed
                                            Filed
                                                08/10/23
                                                  08/14/23 Page
                                                             Page
                                                                3275
                                                                   of of
                                                                      60107




and non-avoidable liens in existence immediately prior to the Petition Date that are perfected

subsequent to the Petition Date as permitted by section 546(b) of the Bankruptcy Code; provided

that nothing in the foregoing clauses (i) and (ii) shall limit the rights of the DIP Secured Parties

under the DIP Documents to the extent such liens are not permitted thereunder. For the avoidance

of doubt, the DIP Liens shall be junior and subordinate to any properly perfected first priority

security interest in and lien upon any Other Encumbered Prepetition Collateral arising under that

certain Loan and Security Agreement dated as of October 11, 2022, as amended and restated by

that certain Amendment and Restatement Agreement dated as of December 12, 2022 (as further

amended, restated, supplemented or otherwise modified from time to time, the “DSM LSA”), by

and among Amyris, certain subsidiaries thereof as guarantors, and DSM Finance B.V. (“DSM”);

and

                 (d)        Liens Senior to Certain Other Liens. The DIP Liens shall not be (i) subject

or subordinate to or made pari passu with (A) any lien or security interest that is avoided and

preserved for the benefit of the Debtors or their estates under section 551 of the Bankruptcy Code,

(B) unless otherwise provided for in the DIP Documents or in this Interim Order, any liens or

security interests arising after the Petition Date, including, without limitation, any liens or security

interests granted in favor of any federal, state, municipal or other governmental unit (including

any regulatory body), commission, board or court for any liability of the DIP Secured Parties, or

(C) any intercompany or affiliate liens of the Debtors or its non-Debtor affiliates or security

interests of the Debtors; or (ii) subordinated to or made pari passu with any other lien or security

interest under section 363 or 364 of the Bankruptcy Code granted after the date hereof.

        9.       Adequate Protection for the Foris Prepetition Secured Lenders. The Foris

Prepetition Secured Lenders are entitled, pursuant to sections 361, 363(e) and 364(d)(1) of the



                                                     32
DOCS_NY:48169.5 03703/001
             Case
               Case
                  23-11131-TMH
                     23-11131 Doc
                               Doc19-1
                                    75-1 Filed
                                            Filed
                                                08/10/23
                                                  08/14/23 Page
                                                             Page
                                                                3376
                                                                   of of
                                                                      60107




Bankruptcy Code, to adequate protection of their interests in all Prepetition Collateral (including

Cash Collateral) in an amount equal to the aggregate diminution in the value as of the Petition Date

of their interests in the Prepetition Collateral (including Cash Collateral), which diminution is as a

result of, or arises from, or is attributable to, the sale, lease or use by the Debtors of the Prepetition

Collateral, the priming of the Foris Liens by the DIP Liens pursuant to the DIP Documents and

this Interim Order, the grant of any other lien under section 364 of the Bankruptcy Code or

the stay of the Foris Prepetition Secured Lenders’ rights under the Prepetition Collateral, the

payment of any amounts under the Carve-Out or pursuant to this Interim Order, the Final Order or

any other order of the Court or provision of the Bankruptcy Code or otherwise, and the imposition

of the Automatic Stay (“Adequate Protection” and the resulting claims, “Adequate Protection

Claims”). In consideration of the foregoing, the Foris Prepetition Secured Lenders are hereby

granted the following as Adequate Protection for, and to secure repayment of an amount equal

to such Adequate Protection Claims, and as an inducement to the Foris Prepetition Secured Lenders

to consent to the priming of the Foris Liens and use of the Prepetition Collateral (including

Cash Collateral) (collectively, the “Adequate Protection Obligations”):

                 (a)        Prepetition Adequate Protection Liens. The Foris Prepetition Secured

Lenders are hereby granted (effective and perfected upon the date of this Interim Order and

without the necessity of the execution of any mortgages, security agreements, pledge agreements,

financing statements or other agreements) in the amount of their Adequate Protection Claims,

a valid, perfected replacement security interest in and lien upon all of the DIP Collateral (the

“Adequate Protection Liens”), including upon entry of the Final Order, all Avoidance Actions

Proceeds, in each case subject and subordinate only to (A) the DIP Liens, (B) the Carve-Out, and

(C) Permitted Liens or any valid and non-avoidable senior liens (other than the Primed Liens) in



                                                   33
DOCS_NY:48169.5 03703/001
             Case
               Case
                  23-11131-TMH
                     23-11131 Doc
                               Doc19-1
                                    75-1 Filed
                                            Filed
                                                08/10/23
                                                  08/14/23 Page
                                                             Page
                                                                3477
                                                                   of of
                                                                      60107




existence immediately prior to the Petition Date that are perfected subsequent to the Petition Date.

For the avoidance of doubt, the Adequate Protection Liens shall be junior and subordinate to any

properly perfected first priority security interest in and lien upon any Other Encumbered

Prepetition Collateral in favor of DSM under the DSM LSA.

                 (b)        Adequate Protection Superpriority Claims. The Foris Prepetition Secured

Lenders are hereby granted, subject to the Carve-Out, an allowed superpriority administrative

expense claim to the fullest extent provided by sections 503(b) and 507(b) of the Bankruptcy Code

in each of the Chapter 11 Cases in an amount equal to the Adequate Protection Obligations that

are not secured by the Adequate Protection Liens (the “Adequate Protection Superpriority

Claims”). The Adequate Protection Superpriority Claims shall be ahead of and senior to any and

all other administrative expense claims of any kind specified or ordered pursuant to any provision

of the Bankruptcy Code, but junior to the DIP Superpriority Claims and subject to and subordinate

to the Carve-Out and shall have recourse to and be payable from all prepetition or postpetition DIP

Collateral, including, subject to entry of the Final Order, to the extent provided therein, any

Avoidance Action Proceeds. The Foris Prepetition Secured Lenders shall not receive or retain any

payments, property or other amounts in respect of the Adequate Protection Superpriority Claims

under section 507(b) of the Bankruptcy Code granted hereunder unless and until the DIP

Obligations have been indefeasibly paid in full.

                 (c)        Adequate Protection Payments. The Debtors are authorized and directed to

pay, without the necessity of filing fee applications with, or seeking approval of, the Court or in

compliance with the U.S. Trustee fee guidelines, all reasonable and documents fees, costs, and

expenses of (i) Goodwin Procter LLP and Troutman Pepper Hamilton Sanders LLP, counsel to the

Foris Prepetition Secured Lenders, (ii) CR3 Partners LLC, financial advisor to the Foris Prepetition



                                                    34
DOCS_NY:48169.5 03703/001
              Case
                Case
                   23-11131-TMH
                      23-11131 Doc
                                Doc19-1
                                     75-1 Filed
                                             Filed
                                                 08/10/23
                                                   08/14/23 Page
                                                              Page
                                                                 3578
                                                                    of of
                                                                       60107




Secured Lenders, and (iii) any other professionals necessary to represent the interests of the Foris

Prepetition Secured Lenders in connection with these Chapter 11 Cases whether arising on, prior

to or after the Petition Date (all payments referenced herein, collectively, the “Adequate Protection

Payments”); provided that all Adequate Protection Payments shall be deferred until the DIP

Termination Date.

                 (d)        Right to Seek Additional Adequate Protection. This Interim Order is without

prejudice to, and does not constitute a waiver of, expressly or implicitly, the rights of the Foris

Prepetition Secured Lenders to request further or alternative forms of Adequate Protection at any

time or the rights of the Debtors or any other party to contest such request.

                 (e)        Other Covenants. The Debtors shall (i) contemporaneously provide the

Foris Prepetition Secured Lenders and the DIP Agent with all reports, documents and other

information required to be delivered to the DIP Lenders and DIP Agent under the DIP Loan

Documents and this Interim Order and (ii) use Cash Collateral in accordance with the Budget.

        10.      Reservation of Rights of the DIP Agent, DIP Lenders, and Foris Prepetition

Secured Lenders. Subject in all cases to the Carve-Out, notwithstanding any other provision in this

Interim Order or the DIP Documents to the contrary, the entry of this Interim Order is without

prejudice to, and does not constitute a waiver of, expressly or implicitly, or otherwise impair: (a)

any of the rights of any of the Foris Prepetition Secured Lenders to seek any other or supplemental

relief in respect of the Debtors including the right to seek additional Adequate Protection at and

following the Final Hearing; (b) any of the rights of the DIP Secured Parties or the Foris Prepetition

Secured Lenders under the Bankruptcy Code or under non-bankruptcy law, including, without

limitation, the right of any of the DIP Secured Parties or the Foris Prepetition Secured Lenders to

(i) request modification of the Automatic Stay of section 362 of the Bankruptcy Code, (ii) request



                                                     35
DOCS_NY:48169.5 03703/001
              Case
                Case
                   23-11131-TMH
                      23-11131 Doc
                                Doc19-1
                                     75-1 Filed
                                             Filed
                                                 08/10/23
                                                   08/14/23 Page
                                                              Page
                                                                 3679
                                                                    of of
                                                                       60107




dismissal of any of the Chapter 11 Cases, conversion of any of the Chapter 11 Cases to cases under

chapter 7, or appointment of a chapter 11 trustee or examiner with expanded powers in any of the

Chapter 11 Cases, (iii) seek to propose, subject to the provisions of section 1121 of the Bankruptcy

Code, a chapter 11 plan or plans; or (c) any other rights, claims, or privileges (whether legal,

equitable, or otherwise) of any of the DIP Secured Parties or the Foris Prepetition Secured Lenders.

The delay in or failure of the DIP Secured Parties and/or the Foris Prepetition Secured Lenders to

seek relief or otherwise exercise their rights and remedies shall not constitute a waiver of any of

the DIP Secured Parties’ or the Foris Prepetition Secured Lenders’ rights and remedies.

        11.      Reservation of Certain Committee and Third Party Rights and Bar of Challenges

and Claims. The Debtors’ Stipulations, admissions, agreements, waivers, and releases contained

in this Interim Order, shall be binding upon the Debtors, their estates, and any of their respective

successors (including, without limitation, any chapter 7 or chapter 11 trustee or examiner

appointed or elected for any of the Debtors) in all circumstances and for all purposes. The Debtors’

Stipulations, admissions, agreements, waivers, and releases contained in this Interim Order shall

be binding upon all other parties in interest, including any Committee and any other person acting

on behalf of the Debtors’ estates, unless and to the extent such Committee or party in interest with

requisite standing (in each case, to the extent requisite standing is obtained pursuant to an order of

this Court entered prior to the expiration of the Challenge Period (as defined herein) and subject

in all respects to any agreement or applicable law that may limit or affect such entity’s right or

ability to do so) has timely and properly filed an adversary proceeding or contested matter (i)

before 75 calendar days after entry of this Interim Order, each subject to further extension by

written agreement of the Debtors, the DIP Agent, and the Foris Prepetition Secured Lenders, (in

each case, a “Challenge Period” and the date of expiration of each Challenge Period being a



                                                 36
DOCS_NY:48169.5 03703/001
             Case
               Case
                  23-11131-TMH
                     23-11131 Doc
                               Doc19-1
                                    75-1 Filed
                                            Filed
                                                08/10/23
                                                  08/14/23 Page
                                                             Page
                                                                3780
                                                                   of of
                                                                      60107




“Challenge Period Termination Date”); (ii) seeking to avoid, object to, or otherwise challenge the

findings or Debtors’ Stipulations regarding: (a) the validity, binding, legal, enforceability,

allowance, amount, characterization, extent and priority as to Foris Prepetition Secured Lenders

under the Foris Prepetition Secured Loan Agreements; (b) the validity, enforceability, allowability,

priority, characterization, secured status, or amount of the Foris Prepetition Obligations; or (c)

otherwise asserting or prosecuting any action for preferences, fraudulent transfers or conveyances

subordination, recharacterization, avoidance power claims under the Bankruptcy Code or

applicable state or federal law, other avoidance power claims or other claims, counterclaims or

causes of action, objections, contests or defenses (collectively, the “Challenges”) against the Foris

Prepetition Secured Lenders or their respective subsidiaries, affiliates, officers, directors,

managers, principals, employees, or agents, and the respective successors and assigns thereof,

in each case in their respective capacity as such (each, a “Representative” and, collectively,

the “Representatives”) in connection with any matters directly or indirectly related to, arising from,

or connected with the Foris Prepetition Secured Loan Agreements, and Foris Prepetition

Obligations, the Foris Liens, and the Prepetition Collateral, and the negotiation, implementation

and facts and circumstances related to any of the foregoing and (iii) in which there is a final non-

appealable order entered in favor of the plaintiff sustaining any such Challenge in any such timely

filed adversary proceeding or contested matter; provided, however, that any pleadings filed in

connection with any Challenge shall set forth with specificity the basis for such challenge or claim,

and any challenges or claims not so specified prior to the expiration of the Challenge Period shall

be deemed forever waived, released, and barred, including any amended or additional claims that

may or could have been asserted thereafter through an amended complaint under Fed. R. Civ. P.

15 or otherwise. If the Chapter 11 Cases convert to cases under chapter 7, or if a chapter 11 trustee



                                                 37
DOCS_NY:48169.5 03703/001
             Case
               Case
                  23-11131-TMH
                     23-11131 Doc
                               Doc19-1
                                    75-1 Filed
                                            Filed
                                                08/10/23
                                                  08/14/23 Page
                                                             Page
                                                                3881
                                                                   of of
                                                                      60107




is appointed, in each case prior to the end of the Challenge Period, the Challenge Period shall be

extended solely for the chapter 7 or chapter 11 trustee to 30 days after the respective appointment

of any such trustee to the extent the Challenge Period had not expired prior the appointment of

such trustee. Upon the expiration of the Challenge Period Termination Date without the filing of

a Challenge (or if any such Challenge is filed and overruled): (a) any and all such Challenges by

any party (including the Committee, any chapter 11 trustee, and/or any examiner or other estate

representative appointed or elected in these Chapter 11 Cases, and any chapter 7 trustee and/or

examiner or other estate representative appointed or elected in any Successor Case) shall be

deemed to be forever barred; (b) the Foris Prepetition Obligations shall constitute allowed claims,

not subject to counterclaim, setoff, recoupment, reduction, subordination, recharacterization,

defense, or avoidance for all purposes in these Chapter 11 Cases and any Successor Cases; (c) the

Foris Liens shall be deemed to have been, as of the Petition Date, legal, valid, binding, enforceable

and perfected secured claims, not subject to recharacterization, subordination, or avoidance; and

(d) all of the Debtors’ Stipulations and admissions contained in this Interim Order, including the

Debtors’ Stipulations, and all other waivers, releases, affirmations, and other stipulations regarding

the validity, binding, legal, enforceability, allowance, amount, characterization, priority, and

extent as to the Foris Prepetition Secured Lenders’ claims, liens, and interests contained in this

Interim Order shall be of full force and effect and forever binding upon the Debtors, the Debtors’

estates, and all creditors, interest holders, and other parties in interest in these Chapter 11 Cases

and any Successor Cases. If any such adversary proceeding or contested matter is timely and

properly filed under the Bankruptcy Rules and remains pending and the Chapter 11 Cases are

converted to a case under chapter 7, the chapter 7 trustee may continue to prosecute such adversary

proceeding or contested matter on behalf of the Debtors’ estates. Furthermore, if any such



                                                 38
DOCS_NY:48169.5 03703/001
             Case
               Case
                  23-11131-TMH
                     23-11131 Doc
                               Doc19-1
                                    75-1 Filed
                                            Filed
                                                08/10/23
                                                  08/14/23 Page
                                                             Page
                                                                3982
                                                                   of of
                                                                      60107




adversary proceeding or contested matter is timely and properly filed under the Bankruptcy Rules,

the stipulations and admissions contained in this Interim Order, including the Debtors’

Stipulations, shall nonetheless remain binding and preclusive on any Committee and any other

person or entity except to the extent that such stipulations and admissions were expressly

challenged in such adversary proceeding or contested matter prior to the Challenge Period

Termination Date. Nothing in this Interim Order vests or confers on any person (as defined in the

Bankruptcy Code), including, without limitation, any Committee appointed in the Chapter 11

Cases, requisite standing or authority to pursue any cause of action belonging to the Debtors or

their estates, including, without limitation any challenges (including a Challenge) with respect to

the Foris Prepetition Secured Loan Agreements, the Foris Liens, and the Foris Prepetition

Obligations, and a separate order of the Court conferring such requisite standing on any Committee

or other party-in-interest shall be a prerequisite for the prosecution of a Challenge by such

Committee or such other party-in-interest. Notwithstanding the foregoing, to the extent a motion

seeking standing to commence a Challenge is timely filed and attaches a draft complaint setting

forth the legal and factual bases of the proposed Challenge prior to the expiration of the Challenge

Period and the Challenge Period expires before such motion is ruled upon by this Court, the

Challenge Period will be tolled solely with respect to the Challenges asserted in the draft complaint

until the earlier of (x) the thirtieth (30th) day following the filing of such motion (which may be

extended by Court order or written agreement of the DIP Agent, Debtors and movant, in each case,

to accommodate the Court’s calendar) or (y) three (3) business days from the entry of an order

ruling on such motion. If standing is denied by the Court, the Challenge Period shall be deemed

to have expired with respect to such Challenges; provided, however nothing herein shall limit the

Foris Prepetition Secured Lenders’ right to seek an expedited ruling on any such motion.



                                                 39
DOCS_NY:48169.5 03703/001
              Case
                Case
                   23-11131-TMH
                      23-11131 Doc
                                Doc19-1
                                     75-1 Filed
                                             Filed
                                                 08/10/23
                                                   08/14/23 Page
                                                              Page
                                                                 4083
                                                                    of of
                                                                       60107




        12.      DIP Termination Date. On the DIP Termination Date, (a) all DIP Obligations shall

be immediately due and payable, and all commitments to extend credit under the DIP Facility will

terminate; (b) all authority to use Cash Collateral shall cease; provided, however, that during the

Remedies Notice Period (as defined below), the Debtors may use Cash Collateral to fund the

Carve-Out and Trust Fund Amounts in accordance with the Budget (subject to the Permitted

Variances); and (c) the DIP Secured Parties shall be otherwise entitled to exercise rights and

remedies under the DIP Documents in accordance with Paragraph 15 of this Interim Order.

        13.      Events of Default. The occurrence of any of the following events, unless waived by

the DIP Agent in accordance with the terms of the DIP Documents, shall constitute an event of

default (collectively, the “Events of Default”): (a) the failure of the Debtors to perform, in any

material respect, any of the terms, provisions, conditions, covenants, or obligations under this

Interim Order; (b) the failure of the Debtors to comply with the Milestones (as defined herein); or

(c) the occurrence of an “Event of Default” under the DIP Credit Agreement.

        14.      Milestones. The failure of the Debtors to comply with any of the Milestones (as

defined in, and set forth in, Section 7.25 of the DIP Credit Agreement) shall (a) constitute an Event

of Default under (i) the DIP Credit Agreement and (ii) this Interim Order, (b) result in the automatic

termination of the Debtors’ authority to use Cash Collateral under this Interim Order, and (c)

permit the DIP Agent, subject to the terms of Paragraph 15 hereof (as applicable), to exercise the

rights and remedies provided for in this Interim Order and the DIP Documents.

        15.      Rights and Remedies upon Event of Default. Immediately upon the occurrence and

during the continuation of an Event of Default, notwithstanding the Automatic Stay, which is lifted

with respect to the provisions of this paragraph, without any application, motion, or notice to,

hearing before, or order from the Court, but subject to the terms of this Interim Order, the DIP



                                                 40
DOCS_NY:48169.5 03703/001
              Case
                Case
                   23-11131-TMH
                      23-11131 Doc
                                Doc19-1
                                     75-1 Filed
                                             Filed
                                                 08/10/23
                                                   08/14/23 Page
                                                              Page
                                                                 4184
                                                                    of of
                                                                       60107




Agent may declare (any such declaration shall be referred to herein as a “Termination

Declaration”) (i) all DIP Obligations owing under the DIP Documents to be immediately due and

payable, (ii) the termination, reduction or restriction of any further commitment to extend credit

to the Debtors to the extent any such commitment remains under the DIP Facility, (iii) the

termination of the DIP Facility and the DIP Documents as to any future liability or obligation of

the DIP Agent and the DIP Lenders, but without affecting any of the DIP Liens or the DIP

Obligations, and (iv) the termination of the Debtors’ ability to use Cash Collateral, except for

payment of the Trust Fund Amounts and funding of the Carve-Out Account and any obligations

to fund the Carve-Out through the delivery of the Carve-Out Trigger Notice to the Borrowers (the

date which is the earliest to occur of any such date a Termination Declaration is delivered and the

DIP Termination Date shall be referred to herein as the “Termination Date” and the remedies set

forth in clauses (i) through (v) hereof, the “Automatic Remedies”). The Termination Declaration

shall not be effective until notice has been provided by electronic mail (or other electronic means)

to counsel to the Debtors, counsel to any Committee, and the U.S. Trustee.

        16.       With respect to all rights and remedies of the DIP Agent, the DIP Lenders and the

Foris Prepetition Secured Lenders other than the Automatic Remedies, the Automatic Stay in the

Chapter 11 Cases otherwise applicable to the DIP Agent, the DIP Lenders, and the Foris

Prepetition Secured Lenders is hereby modified so that five (5) business days after the date a

Termination Declaration is delivered (the “Remedies Notice Period”), the DIP Agent shall be

entitled to exercise all of its rights and remedies (other than the Automatic Remedies) in

accordance with the DIP Documents and this Interim Order to satisfy the DIP Obligations, DIP

Liens, and Adequate Protection Obligations subject to the Carve-Out. During the Remedies Notice

Period, the Debtors, the Committee (if appointed), and/or any party in interest shall be entitled to



                                                 41
DOCS_NY:48169.5 03703/001
              Case
                Case
                   23-11131-TMH
                      23-11131 Doc
                                Doc19-1
                                     75-1 Filed
                                             Filed
                                                 08/10/23
                                                   08/14/23 Page
                                                              Page
                                                                 4285
                                                                    of of
                                                                       60107




seek an emergency hearing within the Remedies Notice Period with the Court. Upon expiration

of the Remedies Notice Period, the DIP Agent and the Foris Prepetition Secured Lenders shall be

permitted to exercise all remedies set forth herein, and in the DIP Documents, the Foris Prepetition

Secured Loan Agreements and as otherwise available at law without further order of or application

or motion to this Court consistent with this Interim Order; provided that the Foris Prepetition

Secured Lenders shall be permitted to exercise remedies to the extent available solely with respect

to the Debtors’ use of Cash Collateral and the Adequate Protection Obligations. In the event the

Debtors request a hearing (after providing no less than five (5) business days’ prior notice), at

which the Debtors seek to prevent the DIP Agent from exercising any of its rights and remedies

that arise after an Event of Default (except for those provided for in the DIP Agent remedies), the

sole issue before the Bankruptcy Court at such hearing shall be whether an Event of Default has

occurred and has not been waived. No other issue or argument shall be relevant to any opposition

to enforcement of the DIP Agent’s rights.

        17.      Limitation on Charging Expenses Against Collateral. No expenses of

administration of the Chapter 11 Cases or any future proceeding that may result therefrom,

including liquidation in bankruptcy or other proceedings under the Bankruptcy Code, shall be

charged against or recovered from (a) the Prepetition Collateral or the Foris Prepetition Secured

Lenders, subject to entry of the Final Order, to the extent provided therein, or (b) the DIP Collateral

(except to the extent of the Carve-Out), the DIP Agent or the DIP Lenders, in each case, pursuant

to sections 105(a) or 506(c) of the Bankruptcy Code or any similar principle of law or equity,

without the prior written consent of the DIP Agent, the DIP Lenders, and the Foris Prepetition

Secured Lenders, as applicable, and no such consent shall be implied from any other action,




                                                  42
DOCS_NY:48169.5 03703/001
              Case
                Case
                   23-11131-TMH
                      23-11131 Doc
                                Doc19-1
                                     75-1 Filed
                                             Filed
                                                 08/10/23
                                                   08/14/23 Page
                                                              Page
                                                                 4386
                                                                    of of
                                                                       60107




inaction, or acquiescence by the DIP Agent, the DIP Lenders, or the Foris Prepetition Secured

Lenders.

        18.      Use of Cash Collateral. The Debtors are hereby authorized to use all Cash

Collateral of the Foris Prepetition Secured Lenders, but solely for the purposes set forth in this

Interim Order and in accordance with the Budget (subject to Permitted Variances as set forth in

this Interim Order and the DIP Documents) including, without limitation, to make payments on

account of the Adequate Protection Obligations provided for in this Interim Order, from the date

of this Interim Order through and including the Termination Date.

        19.      Expenses and Indemnification.

                 (a)        The Debtors are hereby authorized and directed to pay, in accordance with

this Interim Order, the principal, interest, fees, payments, expenses, and other amounts described

in the DIP Documents as such amounts become due and without need to obtain further Court

approval, including, without limitation, all fees and other amounts owed to the DIP Lenders or the

DIP Agent, the reasonable and documented fees and disbursements of counsel and other

professionals to the extent set forth in Paragraphs 3(d) and 9(c) of this Interim Order, whether or

not such fees arose before or after the Petition Date, all to the extent provided in this Interim Order

or the DIP Documents; provided that payment of such fees, expenses, and other disbursements

shall be deferred to the DIP Termination Date; and further provided that payment shall be made

after at least ten (10) days’ notice (which may be via email) of an invoice has been provided to the

Debtors, the U.S. Trustee, and the Committee.

                 (b)        The Foris Prepetition Secured Lenders and the DIP Secured Parties have

acted in good faith and without negligence, misconduct, or violation of public policy or law, in

respect of all actions taken by them in connection with or related in any way to negotiating,



                                                    43
DOCS_NY:48169.5 03703/001
              Case
                Case
                   23-11131-TMH
                      23-11131 Doc
                                Doc19-1
                                     75-1 Filed
                                             Filed
                                                 08/10/23
                                                   08/14/23 Page
                                                              Page
                                                                 4487
                                                                    of of
                                                                       60107




implementing, documenting, or obtaining requisite approvals of the DIP Facility and the use of

Cash Collateral, including in respect of the granting of the DIP Liens and the Adequate Protection

Obligations, any challenges or objections to the DIP Facility or the use of Cash Collateral, the DIP

Documents, the Interim Order, and all other documents related to and all transaction contemplated

by the foregoing. Accordingly, without limitation to any other right to indemnification, the DIP

Secured Parties and their Representatives and the Foris Prepetition Secured Lenders and their

Representatives shall be and hereby are indemnified (as applicable) as provided in the DIP

Documents. The Debtors agree that no exception or defense in contract, law, or equity exists as

of the date of this Interim Order to any obligation set forth, as the case may be, in this Paragraph

19 or in the DIP Documents to indemnify and/or hold harmless the DIP Secured Parties, and the

Foris Prepetition Secured Lenders and any such defenses that may be in existence as of the date of

this Interim Order are hereby waived, except in the case of bad faith, fraud, or gross negligence.

        20.      No Third Party Rights. Except as explicitly provided for herein, this Interim Order

does not create any rights for the benefit of any third party, creditor, equity holder, or any direct,

indirect, or incidental beneficiary.

        21.      Section 507(b) Reservation. Subject to the Carve-Out, nothing herein shall impair

or modify the application of section 507(b) of the Bankruptcy Code in the event that the Adequate

Protection provided to the Foris Prepetition Secured Lenders is insufficient to compensate for any

diminution in the value as of the Petition Date of their interests in the Prepetition Collateral

(including Cash Collateral) during the Chapter 11 Cases. Nothing contained herein shall be

deemed a finding by the Court, or an acknowledgment by any of the Foris Prepetition Secured

Lenders that the Adequate Protection granted herein does in fact adequately protect any of the




                                                 44
DOCS_NY:48169.5 03703/001
              Case
                Case
                   23-11131-TMH
                      23-11131 Doc
                                Doc19-1
                                     75-1 Filed
                                             Filed
                                                 08/10/23
                                                   08/14/23 Page
                                                              Page
                                                                 4588
                                                                    of of
                                                                       60107




Foris Prepetition Secured Lenders against any diminution in the value as of the Petition Date of

their respective interests in the Prepetition Collateral (including the Cash Collateral).

        22.      Insurance. Upon entry of this Interim Order and to the fullest extent provided by

applicable law, the DIP Agent (on behalf of the DIP Secured Parties) and the Foris Prepetition

Secured Lenders, shall be, and shall be deemed to be, without any further action or notice, named

as additional insured and loss payee on each insurance policy maintained by the Debtors that in

any way relates to the DIP Collateral.

        23.      No Waiver for Failure to Seek Relief. The failure or delay of the DIP Agent or the

DIP Lenders to exercise rights and remedies under this Interim Order, the DIP Documents, or

applicable law, as the case may be, shall not constitute a waiver of their respective rights hereunder,

thereunder, or otherwise.

        24.      Perfection of the DIP Liens and Adequate Protection Liens.

                 (a)        Without in any way limiting the automatic validity and effective perfection

of the DIP Liens and Adequate Protection Liens granted herein, the DIP Agent, the DIP Lenders,

and the Foris Prepetition Secured Lenders are hereby authorized, but not required, to file or record

(and to execute in the name of the Borrowers and Guarantors and the Foris Prepetition Secured

Lenders (as applicable), as their true and lawful attorneys, with full power of substitution, to the

maximum extent permitted by law) financing statements, trademark filings, patent filings,

copyright filings, other intellectual property filings, mortgages, deposit account control

agreements, notices of lien or similar instruments in any jurisdiction, or to take possession of or

control over cash or securities, or to amend or modify security documents, or to subordinate

existing liens and any other similar action or action in connection therewith or take any other action

in order to document, validate and perfect the liens and security interests granted hereunder (the



                                                     45
DOCS_NY:48169.5 03703/001
             Case
               Case
                  23-11131-TMH
                     23-11131 Doc
                               Doc19-1
                                    75-1 Filed
                                            Filed
                                                08/10/23
                                                  08/14/23 Page
                                                             Page
                                                                4689
                                                                   of of
                                                                      60107




“Perfection Actions”). Whether or not the DIP Agent, on behalf of the DIP Secured Parties, or the

Foris Prepetition Secured Lenders shall take such Perfection Actions, the liens and security

interests shall be deemed valid, perfected, allowed, enforceable, non-avoidable, and not, subject

to challenge, dispute, or subordination, at the time and on the date of entry of this Interim Order.

If the DIP Agent and the Foris Prepetition Secured Lenders determine to take any Perfection

Actions, the Debtors shall cooperate and assist in any such execution and/or filings as reasonably

requested by the DIP Agent, and the Automatic Stay shall be modified to allow such Perfection

Actions to be taken.

                 (b)        A certified copy of this Interim Order may, at the direction of the DIP

Agent, and/or the Foris Prepetition Secured Lenders, be filed with or recorded in filing or recording

offices by the DIP Agent and the Foris Prepetition Secured Lenders in addition to or in lieu of such

financing statements, mortgages, notices of lien, or similar instruments, and all filing offices are

hereby authorized to accept such certified copy of this Interim Order for filing and recording;

provided, however, that notwithstanding the date of any such filing, the date of such perfection

shall be the date of this Interim Order.

                 (c)        Any provision of any lease or other license, contract or other agreement that

requires (i) the consent or approval of one or more landlords, licensor, contract counterparty or

other parties or (ii) the payment of any fees or obligations to any governmental entity, in order for

any Debtor to pledge, grant, sell, assign, or otherwise transfer any such leasehold interest, license,

contracts, or other rights, or the proceeds thereof, or other collateral related thereto, is hereby

deemed to be inconsistent with the applicable provisions of the Bankruptcy Code, subject to

applicable law. Any such provision shall have no force and effect with respect to the granting of

the DIP Liens and the Adequate Protection Liens on such leasehold interest, license, contract or



                                                     46
DOCS_NY:48169.5 03703/001
              Case
                Case
                   23-11131-TMH
                      23-11131 Doc
                                Doc19-1
                                     75-1 Filed
                                             Filed
                                                 08/10/23
                                                   08/14/23 Page
                                                              Page
                                                                 4790
                                                                    of of
                                                                       60107




other rights, or the proceeds thereof, of any assignment and/or sale thereof by any Debtor in

accordance with the terms of the DIP Credit Agreement or this Interim Order, subject to applicable

law.

        25.      Credit Bidding. The DIP Agent shall have the right to credit bid up to the full

amount of the DIP Obligations in any sale of the DIP Collateral. The Foris Prepetition Secured

Lenders shall have the right to credit bid (either directly or through one or more acquisition

vehicles), up to the full amount of the Foris Prepetition Obligations pursuant to section 363(k) of

the Bankruptcy Code, subject to the rights and limitations set forth in Paragraphs 11 and 27 of this

Interim Order, without the need to further Court order authorizing the same and whether any such

sale is effectuated through section 363 or 1129 of the Bankruptcy Code, by a chapter 7 trustee

under section 725 of the Bankruptcy Code, or otherwise.

        26.      Preservation of Rights Granted Under this Interim Order.

                 (a)        Unless and until all DIP Obligations are indefeasibly paid in full, in cash,

and all commitments to extend credit under the DIP Facility are terminated, unless the DIP Lenders

agree otherwise, the Foris Prepetition Secured Lenders shall: (i) have no right to and shall take no

action to foreclose upon, or recover in connection with, the liens granted thereto pursuant to the

Foris Prepetition Secured Loan Agreements or this Interim Order, or otherwise seek to exercise or

enforce any rights or remedies against such DIP Collateral; and (ii) not file any further financing

statements, trademark filings, copyright filings, mortgages, notices of lien or similar instruments,

or otherwise take any action to perfect their security interests in the DIP Collateral, except as set

forth in Paragraph 24 herein.

                 (b)        In the event this Interim Order or any provision hereof is vacated, reversed,

or modified on appeal or otherwise, any liens or claims granted to the DIP Secured Parties or the



                                                     47
DOCS_NY:48169.5 03703/001
             Case
               Case
                  23-11131-TMH
                     23-11131 Doc
                               Doc19-1
                                    75-1 Filed
                                            Filed
                                                08/10/23
                                                  08/14/23 Page
                                                             Page
                                                                4891
                                                                   of of
                                                                      60107




Foris Prepetition Secured Lenders hereunder arising prior to the effective date of any such vacatur,

reversal, or modification of this Interim Order shall be governed in all respects by the original

provisions of this Interim Order, including entitlement to all rights, remedies, privileges, and

benefits granted herein, and the Foris Prepetition Secured Lenders shall be entitled to all the rights,

remedies, privileges, and benefits afforded in section 364(e) of the Bankruptcy Code.

                 (c)        Unless and until all DIP Obligations, Foris Prepetition Obligations, and

Adequate Protection Payments are indefeasibly paid in full, in cash, and all commitments to extend

credit under the DIP Facility are terminated, the Debtors irrevocably waive the right to seek and

shall not seek or consent to, directly or indirectly (i) except as permitted under the DIP Documents

or, if not provided for therein, with the prior written consent of the DIP Agent and (x) any

modification, stay, vacatur, or amendment of this Interim Order or (y) a priority claim for any

administrative expense or unsecured claim against any of the Debtors (now existing or hereafter

arising of any kind or nature whatsoever, including, without limitation, any administrative expense

of the kind specified in sections 503(b), 507(a), or 507(b) of the Bankruptcy Code) in any of the

Chapter 11 Cases, pari passu with or senior to the DIP Superpriority Claims, the Adequate

Protection Superpriority Claims, or the Foris Prepetition Obligations, or (z) any other order

allowing use of the DIP Collateral; (ii) except as permitted under the DIP Documents (including

the Carve-Out), any lien on any of the DIP Collateral with priority equal or superior to the DIP

Liens, the Adequate Protection Liens or the Foris Liens, as applicable; (iii) the use of Cash

Collateral for any purpose other than as permitted in the DIP Documents and this Interim Order;

(iv) except as set forth in the DIP Documents, the return of goods pursuant to section 546(h) of the

Bankruptcy Code (or other return of goods on account of any prepetition indebtedness) to any

creditor of any Debtor; (v) an order converting or dismissing any of the Chapter 11 Cases; (vi) an



                                                    48
DOCS_NY:48169.5 03703/001
             Case
               Case
                  23-11131-TMH
                     23-11131 Doc
                               Doc19-1
                                    75-1 Filed
                                            Filed
                                                08/10/23
                                                  08/14/23 Page
                                                             Page
                                                                4992
                                                                   of of
                                                                      60107




order appointing a chapter 11 trustee in any of the Chapter 11 Cases; or (vii) an order appointing

an examiner with enlarged powers in any of the Chapter 11 Cases.

                 (d)        Notwithstanding any order dismissing any of the Chapter 11 Cases entered

at any time, (x) the DIP Liens, the DIP Superpriority Claims, the Adequate Protection Liens, the

Adequate Protection Obligations and the Adequate Protection Superpriority Claims, and the other

administrative claims granted pursuant to this Interim Order, shall continue in full force and effect

and shall maintain their priorities as provided in this Interim Order until all DIP Obligations and

Adequate Protection Obligations are indefeasibly paid in full, in cash (and such DIP Liens, DIP

Superpriority Claims, Adequate Protection Liens, Adequate Protection Obligations and Adequate

Protection Superpriority Claims, and the other administrative claims granted pursuant to this

Interim Order, shall, notwithstanding such dismissal, remain binding on all parties in interest); and

(y) to the fullest extent permitted by law the Court shall retain jurisdiction, notwithstanding such

dismissal, for the purposes of enforcing the claims, liens, and security interests referred to in clause

(x) above.

                 (e)        Except as expressly provided in this Interim Order or in the DIP Documents,

the DIP Liens, the DIP Obligations, and the Adequate Protection Obligations, and all other rights

and remedies of the DIP Agent, the DIP Lenders, and the Foris Prepetition Secured Lenders

granted by the provisions of this Interim Order and the DIP Documents shall survive, and shall not

be modified, impaired, or discharged by (i) the entry of an order converting any of the Chapter 11

Cases to a case under chapter 7, dismissing any of the Chapter 11 Cases, terminating the joint

administration of these Chapter 11 Cases or by any other act or omission, (ii) the entry of an order

approving the sale of any Prepetition Collateral or DIP Collateral pursuant to section 363(b) of the

Bankruptcy Code, or (iii) the entry of an order confirming a chapter 11 plan in any of the Chapter



                                                     49
DOCS_NY:48169.5 03703/001
              Case
                Case
                   23-11131-TMH
                      23-11131 Doc
                                Doc19-1
                                     75-1 Filed
                                             Filed
                                                 08/10/23
                                                   08/14/23 Page
                                                              Page
                                                                 5093
                                                                    of of
                                                                       60107




11 Cases and, pursuant to section 1141(d)(4) of the Bankruptcy Code, the Debtors have waived

any discharge as to any remaining DIP Obligations or Adequate Protection Obligations. The terms

and provisions of this Interim Order and the DIP Documents shall continue in these Chapter 11

Cases, in any Successor Cases if these Chapter 11 Cases cease to be jointly administered, or in any

superseding chapter 7 cases under the Bankruptcy Code. The DIP Liens, the DIP Obligations and

the Adequate Protection Obligations and all other rights and remedies of the DIP Secured Parties

and the Foris Prepetition Secured Lenders granted by the provisions of this Interim Order shall

continue in full force and effect until the DIP Obligations and the Adequate Protection Obligations

are indefeasibly paid in full, in cash (or, with respect to the DIP Obligations, otherwise satisfied in

a manner agreed to by the DIP Lenders and the DIP Agent).

                 (f)        Other than as set forth in this Interim Order, neither the DIP Liens nor the

Adequate Protection Liens shall be made subject to or pari passu with any lien or security interest

granted in any of the Chapter 11 Cases or arising after the Petition Date, and neither the DIP Liens

nor the Adequate Protection Liens shall be subject or junior to any lien or security interest that is

avoided and preserved for the benefit of the Debtors’ estates under Bankruptcy Code section 551.

        27.      Limitation on Use of DIP Facility Proceeds, DIP Collateral, and Cash Collateral.

Notwithstanding any other provision of this Interim Order or any other order entered by the Court,

no DIP Loans, DIP Collateral, Prepetition Collateral (including Cash Collateral) or any portion of

the Carve-Out, may be used directly or indirectly, including, without limitation through

reimbursement of professional fees of any non-Debtor party (a) in connection with the

investigation, threatened initiation or prosecution of any claims, causes of action, adversary

proceedings or other litigation or challenges (i) against any of the DIP Secured Parties, the Foris

Prepetition Secured Lenders, or their Representatives, or any action purporting to do the foregoing



                                                     50
DOCS_NY:48169.5 03703/001
             Case
               Case
                  23-11131-TMH
                     23-11131 Doc
                               Doc19-1
                                    75-1 Filed
                                            Filed
                                                08/10/23
                                                  08/14/23 Page
                                                             Page
                                                                5194
                                                                   of of
                                                                      60107




in respect of the DIP Obligations, the DIP Liens, Foris Prepetition Obligations, and/or the

Adequate Protection Obligations or (ii) challenging the validity, binding, legal, enforceability,

allowance, amount, characterization, extent and priority or asserting any defense, counterclaim or

offset with respect to, the DIP Obligations, the Adequate Protection Obligations, the Foris

Prepetition Secured Loans and/or the liens, claims, rights, or security interests securing or

supporting the DIP Obligations and the Adequate Protection Obligations granted under this Interim

Order, the Final Order, the DIP Documents or the Foris Prepetition Secured Loan Agreements in

respect of the Foris Prepetition Secured Loans, including, in the case of each (i) and (ii), without

limitation, for lender liability, recharacterization, subordination, derivative claims, or pursuant to

section 105, 510, 544, 547, 548, 549, 550 or 552 of the Bankruptcy Code, applicable non-

bankruptcy law or otherwise (provided that, notwithstanding anything to the contrary herein,

the proceeds of the DIP Loans and/or DIP Collateral (including Cash Collateral) may be used

by the Committee to investigate (but not to prosecute or initiate the prosecution of, including the

preparation of any complaint or motion on account of) (A) the claims and liens of the Foris

Prepetition Secured Lenders and (B) potential claims, counterclaims, causes of action or defenses

against the Foris Prepetition Secured Lenders (together, the “Investigation”), up to an aggregate

cap of no more than $50,000 (the “Investigation Budget”), (b) to prevent, hinder, or otherwise delay

or interfere with the Foris Prepetition Secured Lenders’, or the DIP Agent’s, or the DIP Secured

Parties’, as applicable, enforcement or realization on the Foris Prepetition Obligations, Foris

Liens, Prepetition Collateral, Adequate Protection Obligations, DIP Obligations, DIP Liens, DIP

Collateral, and the liens, claims and rights granted to such parties under the Interim Order or Final

Order, as applicable, each in accordance with the DIP Documents, the Foris Prepetition Secured

Loan Agreements or this Interim Order; (c) to seek to modify any of the rights and remedies



                                                 51
DOCS_NY:48169.5 03703/001
              Case
                Case
                   23-11131-TMH
                      23-11131 Doc
                                Doc19-1
                                     75-1 Filed
                                             Filed
                                                 08/10/23
                                                   08/14/23 Page
                                                              Page
                                                                 5295
                                                                    of of
                                                                       60107




granted to the Foris Prepetition Secured Lenders, the DIP Agent or the DIP Lenders under this

Interim Order, the Foris Prepetition Secured Loan Agreements or the DIP Documents, as

applicable; (d) to apply to the Court for authority to approve superpriority claims or grant liens

(other than the liens permitted pursuant to the DIP Documents) or security interests in the DIP

Collateral or any portion thereof that are senior to, or on parity with, the DIP Liens, DIP

Obligations, a nd Adequate Protection Obligations, or (e) to pay or to seek to pay any amount on

account of any claims arising prior to the Petition Date unless such payments are approved or

authorized by the Court, agreed to in writing by the DIP Lenders, expressly permitted under this

Interim Order or permitted under the DIP Documents (including the Budget, subject to t he

Permitted Variance), in each case unless all DIP Obligations, Foris Prepetition Secured Loans,

Adequate Protection Obligations, and claims granted to the DIP Agent, DIP Lenders and Foris

Prepetition Secured Lenders under this Interim Order, have been refinanced or paid in full

in cash or otherwise agreed to in writing by the DIP Secured Parties and the Foris Prepetition

Secured Lenders.

        28.      Conditions Precedent. No DIP Lenders shall have any obligation to make any DIP

Loan under the respective DIP Documents unless all of the conditions precedent to the making of

such extensions of credit under the applicable DIP Documents have been satisfied in full or waived

in accordance with such DIP Documents.

        29.      Binding Effect; Successors and Assigns. The DIP Documents and the provisions of

this Interim Order, including all findings herein, shall be binding upon all parties in interest in

these Chapter 11 Cases, including without limitation, the DIP Secured Parties, the Foris Prepetition

Secured Lenders, any Committee appointed in these Chapter 11 Cases, and the Debtors and their

respective successors and assigns (including any chapter 7 or chapter 11 trustee hereinafter



                                                52
DOCS_NY:48169.5 03703/001
                 Case
                   Case
                      23-11131-TMH
                         23-11131 Doc
                                   Doc19-1
                                        75-1 Filed
                                                Filed
                                                    08/10/23
                                                      08/14/23 Page
                                                                 Page
                                                                    5396
                                                                       of of
                                                                          60107




appointed or elected for the estate of any of the Debtors, an examiner appointed pursuant to section

1104 of the Bankruptcy Code, or any other fiduciary appointed as a legal representative of any of

the Debtors or with respect to the property of the estate of any of the Debtors) and shall inure to

the benefit of the DIP Secured Parties and the Foris Prepetition Secured Lenders; provided that,

except to the extent expressly set forth in this Interim Order, the Foris Prepetition Secured Lenders

shall have no obligation to permit the use of Cash Collateral or to extend any financing to any

chapter 7 trustee or similar responsible person appointed for the estates of the Debtors. In

determining to make any loan (whether under the DIP Credit Agreement, a promissory note or

otherwise) to permit the use of Cash Collateral or in exercising any rights or remedies as and when

permitted pursuant to this Interim Order or the DIP Documents, the DIP Secured Parties and the

Foris Prepetition Secured Lenders shall not (i) be deemed to be in control of the operations of the

Debtors, or (ii) owe any fiduciary duty to the Debtors, their respective creditors, shareholders, or

estates.

           30.     Limitation of Liability. Subject to entry of the Final Order, to the extent provided

therein, in determining to make any loan under the DIP Documents, permitting the use of Cash

Collateral, or in exercising any rights or remedies as and when permitted pursuant to this Interim

Order or the DIP Documents, the DIP Secured Parties and the Foris Prepetition Secured Lenders

shall not, solely by reason thereof, be deemed in control of the operations of the Debtors or to be

acting as a “responsible person” or “owner or operator” with respect to the operation or

management of the Debtors (as such terms, or any similar terms, are used in the United States

Comprehensive Environmental Response, Compensation and Liability Act, 29 U.S.C. §§ 9601 et

seq. as amended, or any similar federal or state statute). Furthermore, nothing in this Interim Order

or in the DIP Documents shall in any way be construed or interpreted to impose or allow the



                                                    53
DOCS_NY:48169.5 03703/001
              Case
                Case
                   23-11131-TMH
                      23-11131 Doc
                                Doc19-1
                                     75-1 Filed
                                             Filed
                                                 08/10/23
                                                   08/14/23 Page
                                                              Page
                                                                 5497
                                                                    of of
                                                                       60107




imposition upon the DIP Secured Parties, or the Foris Prepetition Secured Lenders of any liability

for any claims arising from the prepetition or post-petition activities of any of the Debtors.

        31.      No Requirement to File Claim for DIP Obligations. Notwithstanding anything to

the contrary contained in any prior or subsequent order of the Court, including, without limitation,

any order establishing a deadline for the filing of proofs of claim or requests for payment of

administrative expenses under section 503(b) of the Bankruptcy Code, the DIP Secured Parties

and the Foris Prepetition Secured Lenders shall not be required to file any proof of claim or request

for payment of administrative expenses with respect to any of the DIP Obligations, Adequate

Protection Obligations, all of which shall be due and payable in accordance with the DIP

Documents without the necessity of filing any such proof of claim or request for payment of

administrative expenses, and the failure to file any such proof of claim or request for payment of

administrative expenses shall not affect the validity, binding, legal, enforceability, allowance,

amount, characterization, extent and priority as to any of the DIP Documents or of any

indebtedness, liabilities, or obligations arising at any time thereunder or under this Interim Order,

or prejudice or otherwise adversely affect the DIP Secured Parties’ or the Foris Prepetition Secured

Lenders’ respective rights, remedies, powers, or privileges under any of the DIP Documents, this

Interim Order, or applicable law. The provisions set forth in this paragraph are intended solely for

the purpose of administrative convenience and shall not affect the substantive rights of any party-

in-interest or their respective successors-in-interest.

        32.      No Requirement to File Claim for Foris Prepetition Obligations. Notwithstanding

anything to the contrary contained in any prior or subsequent order of the Court, including, without

limitation, any order establishing a deadline for the filing of proofs of claim or requests for

payment of administrative expenses under section 503(b) of the Bankruptcy Code, no Foris



                                                  54
DOCS_NY:48169.5 03703/001
              Case
                Case
                   23-11131-TMH
                      23-11131 Doc
                                Doc19-1
                                     75-1 Filed
                                             Filed
                                                 08/10/23
                                                   08/14/23 Page
                                                              Page
                                                                 5598
                                                                    of of
                                                                       60107




Prepetition Secured Lender shall be required to file any proof of claim or request for payment of

administrative expenses with respect to any of the Foris Prepetition Obligations; and the failure to

file any such proof of claim or request for payment of administrative expenses shall not affect the

validity, binding, legal, enforceability, allowance, amount, characterization, extent and priority as

to any of the Foris Prepetition Secured Loan Agreements or of any indebtedness, liabilities, or

obligations arising at any time thereunder or prejudice or otherwise adversely affect the Foris

Prepetition Secured Lenders’ rights, remedies, powers, or privileges under any of the Foris

Prepetition Secured Loan Agreements, this Interim Order, or applicable law. The provisions set

forth in this paragraph are intended solely for the purpose of administrative convenience and shall

not affect the substantive rights of any party-in-interest or their respective successors-in-interest.

        33.      No Marshaling. In no event shall (a) the DIP Agent or the DIP Secured Parties

with respect to the DIP Collateral and the DIP Obligations, or the Foris Prepetition Secured

Lenders with respect to the Adequate Protection Obligations, or (b) the Foris Prepetition Secured

Lenders with respect to the Prepetition Collateral or the Foris Prepetition Obligations, subject to

entry of a Final Order, to the extent provided therein, in each case, be subject to the equitable

doctrine of “marshaling” or any other similar doctrine.

        34.      Equities of the Case. Subject to entry of the Final Order, to the extent provided

therein, in no event shall the “equities of the case” exception in section 552(b) of the Bankruptcy

Code apply to the Foris Prepetition Secured Lenders with respect to proceeds, product, offspring,

or profits of any of the Prepetition Collateral.

        35.      Joint and Several Liability. Nothing in this Interim Order shall be construed to

constitute a substantive consolidation of any of the Debtors’ estates, it being understood, however,




                                                   55
DOCS_NY:48169.5 03703/001
              Case
                Case
                   23-11131-TMH
                      23-11131 Doc
                                Doc19-1
                                     75-1 Filed
                                             Filed
                                                 08/10/23
                                                   08/14/23 Page
                                                              Page
                                                                 5699
                                                                    of of
                                                                       60107




that the Debtors and the Guarantors shall be jointly and severally liable for the obligations

hereunder and all DIP Obligations in accordance with the terms hereof and of the DIP Documents.

        36.      Discharge. Subject to entry of the Final Order, to the extent provided therein, the

DIP Obligations and the obligations of the Debtors with respect to the Adequate Protection

provided herein shall not be discharged by the entry of an order confirming any plan of

reorganization in any of the Chapter 11 Cases, notwithstanding the provisions of section 1141(d)

of the Bankruptcy Code, unless such obligations have been indefeasibly paid in full in cash (other

than contingent indemnification obligations for which no claim has been asserted), on or before

the effective date of such plan of reorganization, or each of the DIP Secured Parties and the Foris

Prepetition Secured Lenders as applicable, has to otherwise agreed in writing; provided, that the

DIP Facility, at the sole option of the DIP Lenders may be continued and/or converted into an exit

term facility financing, subject to and in accordance with the DIP Credit Agreement.

        37.      Payments Held In Trust. Except as expressly permitted in this Interim Order or the

DIP Documents, and subject to the Carve-Out, in the event that any person or entity receives any

payment on account of a security interest in DIP Collateral, receives any DIP Collateral or any

proceeds of the DIP Collateral, or receives any other payment with respect thereto from any other

source prior to all DIP Obligations, Adequate Protection Obligations, and Foris Prepetition

Obligations, in accordance with the DIP Documents and the Foris Prepetition Secured Loan

Agreements, such person or entity shall be deemed to have received, and shall hold, any such

payment or proceeds of the DIP Collateral in trust for the benefit of the DIP Secured Parties and

the Foris Prepetition Secured Lenders and shall immediately turn over such proceeds to them in

accordance with their relative priority, or as otherwise instructed by this Court, for application in




                                                 56
DOCS_NY:48169.5 03703/001
                Case
                   Case
                     23-11131-TMH
                         23-11131 Doc
                                   Doc19-1
                                       75-1 Filed
                                             Filed08/10/23
                                                   08/14/23 Page
                                                             Page57100
                                                                    of 60
                                                                       of 107




accordance with the DIP Credit Agreement, the Foris Prepetition Secured Loan Agreements and

this Interim Order.

          38.      Final Hearing. The Final Hearing on the Motion shall be held on [DATE], at

[TIME], prevailing Eastern Time. Any objections or responses to entry of a final order on the

Motion shall be filed on or before 4:00 p.m., prevailing Eastern Time, on [DATE] and shall be

served on: (a) proposed counsel to the Debtors, Pachulski Stang Ziehl & Jones LLP, 919 N. Market

Street,    17th     Floor,   Wilmington,     DE    19801,    Attn:   Richard    M.    Pachulski,    Esq.

(rpachulski@pszjlaw.com) and Debra I. Grassgreen, Esq. (dgrassgreen@pszjlaw.com); (c)

counsel to the DIP Lenders, DIP Agent and the Foris Prepetition Secured Lenders, Goodwin

Procter LLP, 620 Eighth Avenue, New York, NY 10018, Attn: Michael H. Goldstein, Esq.

(mgoldstein@goodwinlaw.com) and Alexander Nicas, Esq. (anicas@goodwinlaw.com); (d) co-

counsel to the DIP Lenders, the DIP Agent and the Foris Prepetition Secured Lenders, Troutman

Pepper Hamilton Sanders LLP, Hercules Plaza, Suite 5100, 1313 N. Market Street, P.O. Box 1709,

Wilmington, DE 19899; Attn: David M. Fournier, Esq. (david.fournier@troutman.com); (e) the

Office of the U.S. Trustee for the District of Delaware (Attn. John Schanne); and (f) counsel to the

Committee (if any). In the event no objections to entry of the Final Order on the Motion are timely

received, this Court may enter such Final Order without need for the Final Hearing.

          39.      Effect of this Interim Order. This Interim Order shall constitute findings of fact and

conclusions of law pursuant to Bankruptcy Rule 7052 and shall take effect and be enforceable

immediately upon execution hereof.

          40.      Retention of Jurisdiction. The Court retains exclusive jurisdiction with respect to

all matters arising from or related to the implementation of this Interim Order.




                                                    57
DOCS_NY:48169.5 03703/001
              Case
                 Case
                   23-11131-TMH
                       23-11131 Doc
                                 Doc19-1
                                     75-1 Filed
                                           Filed08/10/23
                                                 08/14/23 Page
                                                           Page58101
                                                                  of 60
                                                                     of 107




        41.      Reservations to Final Order. Notwithstanding language in this Interim Order that

provides that certain relief is subject to or conditioned upon entry of a Final Order, such provisions

are not intended to be automatically effective and are without prejudice to rights of parties in

interest to object to the relief on a final basis and the Court’s authority to determine the final relief.




                                                   58
DOCS_NY:48169.5 03703/001
            Case
               Case
                 23-11131-TMH
                     23-11131 Doc
                               Doc19-1
                                   75-1 Filed
                                         Filed08/10/23
                                               08/14/23 Page
                                                         Page59102
                                                                of 60
                                                                   of 107




                                      Exhibit A

                                DIP Credit Agreement




DOCS_NY:48169.5 03703/001
ACTIVE/124251608
            Case
               Case
                 23-11131-TMH
                     23-11131 Doc
                               Doc19-1
                                   75-1 Filed
                                         Filed08/10/23
                                               08/14/23 Page
                                                         Page60103
                                                                of 60
                                                                   of 107




                                      Exhibit B

                                       Budget




DOCS_NY:48169.5 03703/001
ACTIVE/124251608
            CaseCase
                23-11131-TMH
                     23-11131 Doc
                              Doc 19-2
                                  75-1 Filed
                                       Filed 08/10/23
                                             08/14/23 Page
                                                      Page 1104
                                                             of 2of 107




                                             EXHIBIT 2

                            Plan Scenario Budget through December 31, 2023




                                                    2
DOCS_NY:48137.7 03703/001
                                                            CaseCase
                                                                23-11131-TMH
                                                                     23-11131 Doc
                                                                              Doc 19-2
                                                                                  75-1 Filed
                                                                                       Filed 08/10/23
                                                                                             08/14/23 Page
                                                                                                      Page 2105
                                                                                                             of 2of 107
Exhibit 2 - Plan Scenario



Amyris, Inc., et al.
                                  Week 1      Week 2      Week 3      Week 4      Week 5      Week 6      Week 7      Week 8      Week 9      Week 10     Week 11     Week 12     Week 13     Week 14     Week 15     Week 16     Month
$ thousands                       14-Aug      21-Aug      28-Aug      4-Sep       11-Sep      18-Sep      25-Sep      2-Oct       9-Oct       16-Oct      23-Oct      30-Oct       6-Nov      13-Nov      20-Nov      27-Nov      Dec-23      Total

Operating cash flows
Receipts                            2,631       1,280       3,440       3,191       3,191       2,408       2,574       2,773       2,683        2,683       2,683       6,091       7,256       7,256       7,256       4,864      6,746     69,006
Other receipts                        -           -           -           -           -           480         -           -           -            -           -           -           -         2,000         -           -          -        2,480
Total Receipts                      2,631       1,280       3,440       3,191       3,191       2,888       2,574       2,773       2,683        2,683       2,683       6,091       7,256       9,256       7,256       4,864      6,746     71,486

Payments per First day orders       (2,500)     (2,500)     (2,500)     (2,500)     (2,500)     (2,500)        -           -           -           -           -           -           -           -           -           -          -       (15,000)
Other AP disbursements              (2,343)     (2,343)     (2,343)     (2,059)     (5,468)     (5,510)     (5,141)     (5,220)     (5,215)     (5,257)     (5,257)     (4,273)     (5,122)     (5,116)     (5,158)     (5,211)   (17,595)    (88,631)
InterCo Disbursements for Goods     (3,063)     (1,932)     (1,932)     (2,357)     (2,158)     (2,440)     (1,761)     (1,434)     (1,434)     (1,434)     (1,434)     (1,434)     (1,741)     (1,741)     (1,741)     (1,741)    (5,787)    (35,563)
InterCo Loan                        (7,623)     (6,071)     (6,018)     (5,414)     (4,501)     (4,777)     (4,532)     (3,113)     (3,114)     (3,574)     (3,465)     (1,810)     (1,849)     (2,385)     (2,182)     (1,826)    (7,553)    (69,806)
Payroll                             (6,000)        (65)     (4,832)       (865)     (4,832)        (65)     (4,832)       (865)     (4,832)        (65)        (65)     (4,832)       (865)     (4,832)        (65)     (4,832)    (8,594)    (51,336)
Insurance                              -           -           -        (1,500)        -           -           -           -           -           -           -           -           -           -           -           -          -        (1,500)
Rent                                (1,457)        -           -        (1,457)        -           -           -        (1,457)        -           -           -           -        (1,457)        -           -           -       (1,457)     (7,285)
Total disbursements                (22,986)    (12,911)    (17,624)    (16,152)    (19,459)    (15,291)    (16,266)    (12,089)    (14,595)    (10,330)    (10,221)    (12,349)    (11,033)    (14,074)     (9,145)    (13,609)   (40,987)   (269,122)

Total Operating cash flows         (20,354)    (11,631)    (14,184)    (12,961)    (16,268)    (12,404)    (13,692)     (9,316)    (11,912)     (7,647)     (7,538)     (6,258)     (3,778)     (4,819)     (1,889)     (8,745)   (34,240)   (197,635)

Financing cash flows
Financing                          30,000          -       40,000          -           -       40,000          -           -       35,000          -           -        25,000         -           -           -        20,000        -      190,000
Total financing cash flows         30,000          -       40,000          -           -       40,000          -           -       35,000          -           -        25,000         -           -           -        20,000        -      190,000

Restructuring costs
Employee Separation costs             (754)        -           (83)        -           -          (773)        -           -           -           -           -           -           -           -           -           -          -        (1,610)
Board member fees                      -          (168)        -           -           -          (168)        -           -           -          (168)        -           -           -           -          (168)        -         (168)       (838)
UST / Court / Deposit fees            (200)        -           -           -           -           -           -           -           -           -          (250)        -           -           -           -           -         (250)       (700)
KEIP / KERP                            -           -           -           -           -           -           -           -           -           -           -        (2,000)        -           -           -           -       (3,500)     (5,500)
Professional fees                      -           -        (3,085)        -           -           -        (4,720)        -           -           -           -        (4,518)        -           -           -        (3,389)    (4,045)    (19,757)
Total Restructuring costs             (954)       (168)     (3,168)        -           -          (941)     (4,720)        -           -          (168)       (250)     (6,518)        -           -          (168)     (3,389)    (7,963)    (28,404)

Net Cash flow                       8,692      (11,798)    22,648      (12,961)    (16,268)    26,656      (18,412)     (9,316)    23,088       (7,815)     (7,788)     12,224      (3,778)     (4,819)     (2,057)      7,866    (42,203)    (36,040)

Cash roll-forward
Beginning cash                     10,853       19,545      7,747       30,395      17,434      1,166       27,822       9,410         94       23,182      15,367       7,579      19,804      16,026      11,207       9,151     17,017      10,853
(+) / (-) Net cash flow             8,692      (11,798)    22,648      (12,961)    (16,268)    26,656      (18,412)     (9,316)    23,088       (7,815)     (7,788)     12,224      (3,778)     (4,819)     (2,057)      7,866    (42,203)    (36,040)
Ending cash                        19,545        7,747     30,395       17,434       1,166     27,822        9,410          94     23,182       15,367       7,579      19,804      16,026      11,207       9,151      17,017    (25,186)    (25,186)
            CaseCase
                23-11131-TMH
                     23-11131 Doc
                              Doc 19-3
                                  75-1 Filed
                                       Filed 08/10/23
                                             08/14/23 Page
                                                      Page 1106
                                                             of 2of 107




                                             EXHIBIT 3

                            Sale Scenario Budget through December 31, 2023




                                                    3
DOCS_NY:48137.7 03703/001
                                                            CaseCase
                                                                23-11131-TMH
                                                                     23-11131 Doc
                                                                              Doc 19-3
                                                                                  75-1 Filed
                                                                                       Filed 08/10/23
                                                                                             08/14/23 Page
                                                                                                      Page 2107
                                                                                                             of 2of 107
Exhibit 3 - Sale Scenario



Amyris, Inc., et al.
                                  Week 1      Week 2      Week 3      Week 4      Week 5      Week 6      Week 7      Week 8      Week 9      Week 10     Week 11     Week 12     Week 13     Week 14     Week 15     Week 16     Month
$ thousands                       14-Aug      21-Aug      28-Aug      4-Sep       11-Sep      18-Sep      25-Sep      2-Oct       9-Oct       16-Oct      23-Oct      30-Oct       6-Nov      13-Nov      20-Nov      27-Nov      Dec-23      Total

Operating cash flows
Receipts                            2,631       1,280       3,440       3,191       3,191       2,408       2,574       2,773       2,683        2,683       2,683       4,946       5,943       5,943       5,943       4,216      4,726     61,255
Other receipts                        -           -           -           -           -           480         -           -           -            -           -           -           -         2,000         -           -          -        2,480
Total Receipts                      2,631       1,280       3,440       3,191       3,191       2,888       2,574       2,773       2,683        2,683       2,683       4,946       5,943       7,943       5,943       4,216      4,726     63,735

Payments per First day orders       (2,500)     (2,500)     (2,500)     (2,500)     (2,500)     (2,500)        -           -           -           -           -           -           -           -           -           -          -       (15,000)
Other AP disbursements              (2,343)     (2,343)     (2,343)     (2,059)     (5,468)     (5,510)     (5,273)     (4,544)     (4,538)     (4,580)     (4,580)     (3,675)     (4,541)     (4,535)     (4,577)     (4,625)   (16,047)    (81,582)
InterCo Disbursements for Goods     (3,063)     (1,932)     (1,932)     (2,357)     (2,158)     (2,440)     (1,761)     (1,414)     (1,414)     (1,414)     (1,414)       (988)       (991)       (991)       (991)       (991)    (2,136)    (28,385)
InterCo Loan                        (7,623)     (6,071)     (6,018)     (5,414)     (4,501)     (4,777)     (4,532)     (1,574)     (1,575)     (2,035)     (1,926)     (1,452)     (1,247)     (1,783)     (1,579)     (1,224)    (4,374)    (57,705)
Payroll                             (6,000)        (65)     (4,832)       (865)     (4,832)        (65)     (4,832)       (865)     (4,832)        (65)        (65)     (4,832)       (865)     (4,832)        (65)     (4,832)   (10,594)    (53,336)
Insurance                              -           -           -        (1,500)        -           -           -           -           -           -           -           -           -           -           -           -          -        (1,500)
Rent                                (1,457)        -           -        (1,457)        -           -           -        (1,457)        -           -           -           -        (1,457)        -           -           -       (1,457)     (7,285)
Total disbursements                (22,986)    (12,911)    (17,624)    (16,152)    (19,459)    (15,291)    (16,398)     (9,854)    (12,360)     (8,095)     (7,986)    (10,946)     (9,100)    (12,141)     (7,212)    (11,671)   (34,608)   (244,794)

Total Operating cash flows         (20,354)    (11,631)    (14,184)    (12,961)    (16,268)    (12,404)    (13,824)     (7,081)     (9,677)     (5,412)     (5,302)     (6,001)     (3,157)     (4,198)     (1,269)     (7,455)   (29,882)   (181,059)

Financing cash flows
Financing                          30,000          -       40,000          -           -       40,000          -           -       35,000          -           -        25,000         -           -           -        20,000        -      190,000
Total financing cash flows         30,000          -       40,000          -           -       40,000          -           -       35,000          -           -        25,000         -           -           -        20,000        -      190,000

Restructuring costs
Employee Separation costs             (754)        -           (83)        -           -          (773)        -           -           -           -           -           -           -           -           -           -          -        (1,610)
Board member fees                      -          (168)        -           -           -          (168)        -           -           -          (168)        -           -           -           -          (168)        -         (168)       (838)
UST / Court / Deposit fees            (200)        -           -           -           -           -           -           -           -           -          (250)        -           -           -           -           -         (250)       (700)
KEIP / KERP                            -           -           -           -           -           -           -           -           -           -           -        (2,000)        -           -           -           -       (3,500)     (5,500)
Professional fees                      -           -        (3,085)        -           -           -        (4,720)        -           -           -           -        (4,468)        -           -           -        (3,089)    (3,420)    (18,782)
Total Restructuring costs             (954)       (168)     (3,168)        -           -          (941)     (4,720)        -           -          (168)       (250)     (6,468)        -           -          (168)     (3,089)    (7,338)    (27,429)

Net Cash flow                       8,692      (11,798)    22,648      (12,961)    (16,268)    26,656      (18,544)     (7,081)    25,323       (5,579)     (5,552)     12,532      (3,157)     (4,198)     (1,436)      9,456    (37,220)    (18,488)

Cash roll-forward
Beginning cash                     10,853       19,545      7,747       30,395      17,434      1,166       27,822       9,277      2,196       27,520      21,941      16,388      28,920      25,763      21,565      20,129     29,585      10,853
(+) / (-) Net cash flow             8,692      (11,798)    22,648      (12,961)    (16,268)    26,656      (18,544)     (7,081)    25,323       (5,579)     (5,552)     12,532      (3,157)     (4,198)     (1,436)      9,456    (37,220)    (18,488)
Ending cash                        19,545        7,747     30,395       17,434       1,166     27,822        9,277       2,196     27,520       21,941      16,388      28,920      25,763      21,565      20,129      29,585     (7,635)     (7,635)
